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                   EXHIBIT 12
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 1             IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
 2                      ATLANTA DIVISION
 3      MARK ANDREWS,

 4       Plaintiff,
                                              Case No.
 5      V.                                    1:22-cv-04259-SDG

 6      DINESH D'SOUZA, et
        al. ,
 7
         Defendants.
 8
 9           *********************************************

             CONFIDENTIAL ORAL AND VIDEOTAPED DEPOSITION
10                                OF
                            GREGG PHILLIPS
11                        SEPTEMBER 17, 2024
             *********************************************
12
                   ORAL AND VIDEOTAPED DEPOSITION of GREGG
13           PHILLIPS, produced as a witness at the
             instance of the Plaintiff, and duly sworn,
14           was taken in the above-styled and numbered
             cause on September 17, 2024, from 9:37 a.m.
15           to 4:29 p.m. , before Mendy A. Schneider, CSR,
             RPR, in and for the State of Texas, recorded
16           by machine shorthand, at the offices of
             Greenberg Traurig LLP, 1000 Louisiana,
17           Houston, Texas, pursuant to the Federal Rules
             of Civil Procedure and the provisions stated
18           on the record or attached hereto; that the
             deposition shall be read and signed.
19
20           NY 6909303
21
22
23
24
25


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 1                        APPEARANCES
 2
           FOR THE PLAINTIFF:
 3            LEA HABER KUCK
              QUINN   BALLIETT
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              One Manhattan West
 5            New York, New       York 10001-8602
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 6
 7         FOR THE DEFENDANTS TRUE THE VOTE, GREGG
           PHILLIPS, AND       CATHERINE ENGELBRECHT:
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              GREENBERG TRAURIG LLP
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              Atlanta, Georgia 30305
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              Jake.Evans@gtlaw.com
11
12         FOR THE DEFENDANTS DINESH D'SOUZA AND D'SOUZA
           MEDIA:
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              AUSTIN C. VINING (Remote)
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              404.832.7534
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16
17         ALSO PRESENT:
            BOBETTE ELLIS, The Videographer
18          CATHERINE ENGELBRECHT
19
20
21
22
23
24
25


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           exhibits are reflected in the manner in which
19         they were read into the record and do not
           necessarily denote an exact quote from the
20         document.)
21
22
23
24
25


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1                             THE VIDEOGRAPHER:                 We are now

2                   on the record.            My name is Bobette

3                   Ellis, videographer representing the

4                   firm Veritext.

5                             Today's date is Tuesday,

6                   September twenty- -- or September 17,

7                   2024.     The time is 9:37 a.m.

8                             This is the deposition of Gregg

9                   Phillips taken in the matter of Mark

10                  Andrews versus Dinesh D'Souza, et al.

11                            The court reporter today is

12                  Mendy Schneider representing the firm

13                  Veritext.

14                            Will counsel please state their

15                  appearances, after which the court

16                  reporter will swear in the witness.

17                            MS. KUCK:           For the plaintiff,

18                  Lea Haber Kuck.

19                            MS. BALLIETT:                 Also from the

20                  plaintiff, Quinn Balliett.

21                            MS. QIN:          Also for the

22                  plaintiff, Sonia Qin.

23                            MR. EVANS:            Jake Evans for

24                  defendants True the Vote, Gregg

25                  Phillips, and Catherine Engelbrecht.


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1                             MS. HYLAND:            Amanda Hyland for

2                   defendant Dinesh D'Souza and D'Souza

3                   Media.

4                             MS. KUCK:           We should also put

5                   on the record that Ms. Engelbrecht is

6                   also present in the room over                          over

7                   plaintiff's objection.

8                             So I want it on the record that

9                   she is here and she is listening in

10                  before her testimony tomorrow.

11                            MR. EVANS:            And that's fine.                I

12                  also put -- this is Jake Evans -- on

13                  the record that no discussion was had

14                  for plaintiff's counsel and defense

15                  counsel about any objection to Mr.

16                  Ms. Engelbrecht being present.

17                            I'm looking at a Bell -- a

18                  link, the Co Systems [verbatim] case,

19                  which is with the cite 111 -- or

20                  112 F.R.D. 154.

21                            The rule of sequestration does

22                  not authorize exclusion of a party to

23                  the case.

24                            The rules of evidence apply to

25                  depositions, and therefore


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1                   Ms. Engelbrecht has a right to be

2                   here.

3                             MS. KUCK:           Understood.

4                             And also we have listening in

5                   by telephone Mr. Vining, who is also

6                   for defendants.

7                             MS. HYLAND:            Yes.      Austin

8                   Vining is on the phone just listening

9                   and he represents Dinesh D'Souza and

10                  D'Souza Media.

11                            MS. KUCK:           Okay.      Mr. Vining,

12                  you're not recording this, are                     you?

13                            MR. VINING:            I am not recording

14                  this.

15                            MS. KUCK:           Okay.      Can I have a

16                  representation that you won't?

17                            MR. VINING:            I will not record

18                  this.

19                            MS. KUCK:           Okay.      Thank     you.

20                            Are    you alone?

21                            MR. VINING:            I am alone.

22                            MS. KUCK:           Okay.      And are       you

23                  on a speakerphone?

24                            MR. VINING:            I have AirPods in.

25                            MS. KUCK:           Okay.      Understood.


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 1                  Okay.

 2                               GREGG PHILLIPS,

 3         having been first duly sworn, testified as

 4         follows:

 5                            EXAMINATION

 6         BY MS. KUCK:

 7                  Q.         Good morning, Mr. Phillips.

 8                  A.         Good morning.

 9                  Q.        My name is Lea Haber Kuck.                    I

10         am one of the attorneys for Mark Andrews, who

11         is the plaintiff in this case.

12                             Could you also state your

13         current address.

14                  A.

15

16                  Q.        How many times have you been

17         deposed before?

18                  A.        Many.      I was a commissioner in

19         Health and Human Services, and part of my job

20         was representing the department.                        So...

21                  Q.        Okay.      And for what state was

22         that?

23                  A.         Texas and Mississippi.

24                  Q•        All right.          Would you say more

25         than ten times?


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1                   A.         Yes.

2                   Q.         More than 20?

3                   A.         I don't know.

4                   Q.         Okay.      Let's say 10 to 20.

5                              And when -- when -- when was

6          that?

7                   A.         Years ago.           A couple decades

8          ago.

9                   Q•         Okay.      Have      you testified in

10         any nondeposition settings?

11                  A.         Yes.

12                  Q•         Okay.      Can you -- can you

13         describe those for me.

14                  A.         I don't have immediate recall

15         of -- of them, but, I mean, same -- same

16         scenario.

17                  Q.         Okay.      Have      you ever given

18         expert testimony?

19                  A.         No.

20                  Q.         Okay.      Has any court ever found

21         that you are not a credible witness?

22                  A.         No.

23                  Q.         Do you understand that you are

24         under oath today?

25                  A.         Yes.


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1                   Q.         And you understand that your

2          testimony today carries the same weight as

3          your testimony before a judge or a jury?

4                   A.         Yes.

5                   Q.         Okay.      Is there any reason you

6          may not be able to give accurate testimony

7          today?

8                   A.         No.

9                   Q•         Any reason your memory might be

10         less sharp than usual today?

11                  A.         A little bit older than most of

12         you is one thing, but I also have metastatic

13         bone cancer and that causes some challenges

14         occasionally.

15                  Q.         Okay.      I'm sorry to hear that.

16                             And is           does that condition

17         in any way prevent you from giving your best

18         testimony today?

19                  A.         I don't know how to answer.

20         Can you rephrase it?

21                  Q.        Is -- does that condition

22         prevent you from               from testifying today to

23         the best of your abilities?

24                  A.         I -- I don't know because I --

25         occasionally I get like really, really tired


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1          and kind of lose -- lose, you know, my line

2          of thought, but I don't know if that's going

3          to happen or not.           So...

4                   Q.        Okay.      So one of the things

5          today was that I'll take a break every hour

6          or so.        But if you need a break sooner than

7          that or you feel like you're tired, we can

8          break when you need to.

9                             And -- and if you feel that

10         you're in a condition where you can't give me

11         a complete answer, let me -- let me know and

12         we'll deal with that.

13                  A.        Okay.

14                  Q.        All right.          Are you under the

15         influence of any drugs or any other

16         substances that would prevent you from giving

17         your testimony today?

18                  A.        No.

19                  Q.        Any -- any of your cancer

20         treatments that might impair your ability to

21         give testimony?

22                            And, again, I don't want to

23         breach any privacy or have you get into it.

24         If there are things, just let me know.

25                  A.        Not -- not that -- not that I'm


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1          aware of.

2                   Q.        Okay.

3                   A.        I'll let you know --

4                   Q.        Okay.

5                   A.            if it changes.

6                   Q.        I appreciate that.               Thanks.

7                             So just a few other ground

8          rules for the rest of the day.

9                             We -- everything we say today

10         is being recorded and transcribed by a court

11         reporter and a videographer.

12                            And you're aware of that?

13                  A.        Yes.

14                  Q.        For our court reporter's

15         benefit, please answer my questions verbally.

16                            For example, she can't pick up

17         a nod of your head or a shake, so just make

18         sure we have all the answers verbal.

19                  A.        Yes.

20                  Q.        And also for the sake of the

21         court reporter, please let's not try and talk

22         over each other.           I don't foresee that we'll

23         have that problem, but just, again, to keep

24         in mind we want to keep her life easy.

25                            And if my question is unclear,


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1          please let me know.               And if you don't ask me

2          to clarify, I'll assume you understood my

3          question.          Okay?

4                   A.          Okay.

5                   Q.          And throughout the deposition

6          your counsel may object to certain of my

7          questions.          Unless your counsel specifically

8          instructs you not to answer my question, you

9          still must answer it.

10                              Do you understand that?

11                  A.          Yeah.

12                  Q.          And are      you aware that there's

13         a protective order in this case,

14         confidentiality order?

15                  A.          I am not.

16                  Q.          Okay.      Did you speak with

17         anyone today about the testimony -- I'm

18         sorry.

19                              Did you speak with anyone about

20         the testimony you expect to give today in

21         preparation?

22                  A.          We -- I met with my lawyer and

23         I reviewed documents.

24                  Q.          Okay.      And by your lawyer do

25         you mean Mr. Evans?


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1                   A.        Yes.

2                   Q.        And how long did you prepare?

3                   A.        We had a -- maybe a four- or

4          five-hour discussion yesterday and I --

5                             MR. EVANS:          Don't talk about

6                   anything that we discussed.

7          (BY MS. KUCK)

8                   Q.        I don't want to know the

9          substance.

10                  A.        I've read -- I've read

11         documents for, you know, a few weeks in

12         advance.

13                  Q.        Okay.      And the documents that

14         you read a few weeks in advance, were they --

15         where did those documents come from?

16                  A.        From -- from the law firm.

17                  4 •       From Mr. -- Mr. Evans provided

18         you with those documents?

19                  A.        Yes.

20                  Q.        Did any of those documents

21         cause you to remember things that you hadn't

22         remembered before you looked at them?

23                  A.        Not particularly.

24                  Q.        Mr. Phillips, what do you do

25         for a living?


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1                   A.        I own several businesses,

2          mostly in the technology space.

3                   Q.        Could you list those for me.

4                   A.        CoverMe, KLOK, OpSec, and

5          Ground Fusion.

6                   Q.        What does CoverMe do?

7                   A.        We use advanced analytics to

8          help patients in hospitals find a pain

9          source.

10                  Q.        And what about KLOK?

11                            What does that business do?

12                  A.        It is a private -- we've built

13         a privacy hub that allows people to not -- or

14         it -- it prevents people from being tracked

15         on their phone.

16                  Q.        Tracked by whom?

17                  A.        Anybody.

18                  Q.        And when did you set up that

19         business?

20                  A.        Which one are we discussing?

21                  Q.        We're talking about KLOK.

22                  A.        KLOK.

23                            I'm going to say a couple of

24         years ago.

25                  Q•        Before or after the 2000 Mules


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1          film came out?

2                   A.         I don't know.

3                   Q.         Okay.

4                   A.         Maybe slightly after.

5                   Q.         And what does Ground Fusion do?

6                   A.         Ground Fusion is a -- a

7          combination of a -- a large database, a

8          fusion center, that collects data from

9          various sources and several apps that access

10         that data.

11                  Q.         Except for the people who

12         you've prevented from being tracked on their

13         phones in      your other business.

14                             Fair to say?

15                             MR. EVANS:          Objection;

16                  misstates testimony.                    Assumes facts

17                  not in evidence.

18         (BY MS. KUCK)

19                  Q•         All right.          I'll strike that.

20                  A.         Also not related.

21                  Q.        I'll strike the question.

22                             Can   you describe             your

23         educational background.

24                  A.         I have a bachelor of science

25         degree from the University of Alabama in


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1          commerce and business administration.

2                   Q.         Okay.      Do you have any advanced

3          degrees?

4                   A.         No.

5                   Q.         The 2000 Mules film says you

6          have a deep background in election

7          intelligence.

8                              What is election intelligence?

9                   A.         Information relative to

10         elections.

11                  Q.         Can   you be more specific.

12                  A.         Everything from voter roles to

13         voter history to attributes about voters.

14                             The analysis of, you know,

15         elections, what happened, how they turned

16         out, how they're going.

17                  Q.         Do you have any training in

18         data analytics?

19                  A.         Well, I own a -- a company

20         that's -- two companies that are in the data

21         analytics business.

22                  Q.         Right.

23                  A.         So, yeah.

24                  Q.         Right.       So what -- and that's

25         what I'm trying to get at.


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1                              You have a B.S. generally and

2          I'm trying to get at how                  you got from there

3          into very specific data analytic business.

4                   A.         I was part of a team that

5          Deloitte Consulting and their global

6          outsourcing unit that built a healthcare

7          analytics program, and that was my first

8          introduction to it.

9                   Q.         Okay.       And when         was that?

10                  A.         1996.

11                  Q.         Do    you have any -- any cyber

12         security training?

13                  A.         No.

14                  Q.         Any forensics training?

15                  A.         Through operations, yes.

16                  Q.         What do       you mean "through

17         operations"?

18                  A.         Having conducted forensic

19         analysis investigations.

20                  Q.         And    was that also at Deloitte?

21                  A.         No.     That's been           throughout -

22         throughout my career in healthcare and                           with

23         law enforcement, with others.

24                  Q.         And    what -- what experience do

25         you have in law enforcement?
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1                   A.        Working with federal and local

2          jurisdictions on specific cases.

3                   Q.        All right.          And in what

4          capacity?

5                   A.        As a -- as an analyst and

6          consultant.

7                   Q.        And who -- what -- what law

8          enforcement agencies have employed you?

9                   A.        Well, let's be clear about

10         employing.

11                  Q.        Okay.

12                  A.        We work with the FBI, but we're

13         not employed by the FBI.

14                  Q.        Okay.      So in what capacity do

15         you work with the FBI?

16                  A.        As a -- a -- sharing data

17         and -- and providing analysis as requested.

18                  Q.        And they sometimes request your

19         analysis?

20                  A.        Yes.

21                  Q.        In what area?

22                  A.        Mostly forensics, but --

23                  Q.        Yeah, I know forensics.                  But

24         what -- we've talked about healthcare.                         We've

25         talked about elections.                I'm asking what


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1          area.

2                   A.         Could be murders, trafficking,

3          all sorts of possibility.

4                   Q.         And you -- the FBI has come to

5          you and asked you for assistance in those

6          cases?

7                   A.         Yes.

8                   Q.         When -- when was that?

9                   A.         I -- across a period of years.

10                  Q.         Okay.      When did you first start

11         working with the FBI?

12                  A.         I don't recall.

13                  Q.         After you left Deloitte?

14                  A.         Yes.

15                  Q.         What year did you leave

16         Deloitte?

17                  A.         2003, I think.

18                  Q.         Okay.      And then where did you

19         go after Deloitte?

20                  A.         To work for Governor Perry at

21         the Health and Human Services Commission in

22         Texas.

23                  Q•         All right.           How long were you

24         there?

25                  A.         Couple years.


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1                   Q•        Say 2003 to 2005, maybe?

2                   A.        That sounds about right.

3                   Q•        Okay.      And where did you go

4          next?

5                   A.        Rejoined my -- my company,

6          CoverMe.

7                   Q.        So is that -- that's when you

8          started the company?

9                   A.        No.     The company was started in

10         1995.

11                  Q.        Okay.      Before you were at

12         Deloitte?

13                  A.        Right.

14                  Q.        What else did you do before you

15         went to Deloitte?

16                  A.        Before I went to Deloitte?

17         I've worked in politics, campaigns, parties,

18         PACs.

19                            I -- I was a trader at Merrill

20         Lynch for -- for a number of years.

21                  Q.        All right.          And then so you

22         said after you left the -- the first

23         government position you went back to CoverMe.

24                            And then where did you go after

25         that?


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1                   A.         After I left the first

2          government position in '95, I started the

3          predecessors to CoverMe.

4                              And then the employees ran the

5          company while I was in Texas.                     And I just

6          rejoined the company after I left my                             my

7          employ with the State.

8                   Q.         Okay.      You said when            you were

9          in -- before '95 what did you do before you

10         set up CoverMe?

11                  A.         I was in the governor's cabinet

12         in Mississippi.

13                  Q.         Okay.      And then -- so you went

14         back to CoverMe for how long?

15                  A.         Still there.

16                  Q.         Okay.      And then did you have

17         any other positions following you rejoining?

18                             Did you have any other

19         government positions?

20                  A.         No.

21                  Q.         When -- when were you at the

22         Health and Human Services?

23                  A.         From 2003 to 2005; and in

24         Mississippi from '92 to '95.

25                  Q.         Okay.      And at what point in


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1          that chronology did you start working with

2          law enforcement?

3                   A.        After 2012.

4                   Q.        And how -- what happened in

5          2012?

6                   A.        Nothing.

7                   Q.        Oh.     How do you remember it was

8          after 2012?

9                   A.        Because I was working on

10         building the CoverMe operations out.

11                  Q.        Okay.

12                  A.        Building our system.

13                  Q.        Other than the four businesses

14         that we just talked about, CoverMe, KLOK,

15         OpSec, and Ground Fusion, are there any other

16         companies that you                in which you currently

17         hold any position?

18                  A.        No.

19                  Q.        Any LLPs where you are a

20         partner?

21                  A.        No.

22                  Q.        A limited partner?

23                  A.        No.

24                  Q.        No.

25                            Any PACs that you hold a


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1          position at?

2                   A.        We've recently started a super

3          PAC.

4                   Q.        What's called?

5                   A.        PIT PAC, P-I-T P-A-C.

6                   Q.        Okay.      And when you say "we,"

7          who are you referring to?

8                   A.        Me and my partner, Catherine

9          Engelbrecht.

10                  Q.        And what does that PAC do?

11                  A.        Supports pro -- pro -- pro

12         freedom and pro faith candidates.

13                  Q.        How much of your time is

14         devoted to that PAC work?

15                  A.        It just started last week.

16                  Q.        Last week?

17                  A.        So little -- little to nothing

18         so far.

19                  Q.        Okay.      And there -- are there

20         any other businesses that you're working with

21         Ms. Engelbrecht in?

22                  A.        No.

23                  Q         Any other entities that you --

24                  A.        Let me -- can you rephrase

25         the -- that question.


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1                   Q          Yeah.       Yeah.

2                              Are there any other companies

3          or entities in         which      you are        working with

4          Ms. Engelbrecht?

5                   A.         CoverMe.

6                   Q.         Okay.

7                   A.         And KLOK.

8                   Q.         And are there any LLPs, other

9          than     the ones we mentioned, that you and

10         Ms. Engelbrecht have together?

11                  A.         No.

12                  Q.         So let's focus on OpSec.

13                             What does that company do?

14                  A.         Consulting.

15                  Q.         What kind of consulting?

16                  A.         Election information and data

17         consulting.

18                  Q.         And -- and without naming

19         specific names, generally who are its

20         clients?

21                  A.         For-profits, campaigns,

22         not-for-profits.

23                  Q.         And OpSec is a for-profit

24         company?

25                  A.         Correct.


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1                   Q.         How many people does it employ?

2                   A.         We employ no one.               Everything

3          is on contract.

4                   Q.         Okay.      And has that always been

5          the case?

6                   A.         Yes.

7                   Q.         What is your relationship with

8          TTV?     True -- when I say "TTV," I'm going to

9          mean True the Vote.

10                  A.         OpSec is a contract.

11                  Q.         And is that currently the case?

12                  A.         Yes.

13                  Q.         When did OpSec first start

14         doing business with TTV?

15                  A.         Summer of 2020.

16                  Q.         And was that -- that first

17         project, was that the one that led to the

18         2000 Mules film?

19                  A.         No.

20                  Q•         What was that project?

21                  A.         Working on the 2020 elections.

22                  Q.         What type of work?

23                  A.         Call centers and analytics

24         analysis of a variety of types.

25                  Q.         And, again, that would have


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1          been work performed by contractors hired by

2          OpSec, correct?

3                   A.         Yes.

4                   Q.         Because      you don't have any

5          employees?

6                   A.         Yes.

7                   Q.         And then there was also the --

8          the geospatial project that led to the

9          2000 Mules that you worked on with TTV,

10         right?

11                  A.         Yes.

12                  Q.         Were there -- have you -- have

13         OpSec done any other business with TTV?

14                  A.         Any other than what?

15                  Q.         Other than those two projects,

16         the 2020 project and the 2000

17                  A.         We -- we still -- we still work

18         with them on the first one.

19                  Q.         On the first one?

20                  A.         Right.

21                  Q•         Although now we're past the

22         2020.

23                             So now you're doing the same

24         thing for the upcoming elections?

25                  A.         Yes.


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1                   Q.         And did you do similar work for

2          the midterm elections in 2022?

3                   A.         On a limited basis.                 I was -- I

4          was sick at the time.

5                   Q.         Okay.      Have      you -- have        you

6          personally ever held any position at TTV?

7                   A.         No.

8                   Q.         Have    you ever been on their

9          board of directors?

10                  A.         Yes.

11                  Q.         When was that?

12                  A.         2015 to January of 2017.

13                  Q.         Have    you ever been employed as

14         a researcher for TTV?

15                  A.         No.

16                  Q.         Other than through OpSec --

17         well, no, strike that.

18                             Do you receive any compensation

19         from TTV?

20                  A.         No.

21                  Q.         Have    you ever?

22                  A.         No.

23                  Q.         Has OpSec?

24                  A.         We receive payment on

25         contracts.


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1                   Q•         Okay.      Okay.        Do any of your

2          other businesses do work for TTV?

3                   A.         No.

4                   Q.         What is your relationship with

5          Dinesh D'Souza?

6                   A.         We worked with them on the 2000

7          Mules movie.

8                   Q.         How did you meet them -- meet

9          him?

10                  A.         I was introduced to him by

11         Ms. Engelbrecht.

12                  Q.         Okay.      And had you               so before

13         the 2000 Mules project, had you ever worked

14         with him before?

15                  A.         No.

16                  Q.         Did you know him before at all?

17                  A.         No.

18                  Q•         Are   you in contact with him

19         now?

20                  A.         No.

21                  Q.         When was the last time you were

22         in contact with him?

23                  A.         During the premiere process.                     I

24         think the last premiere was in Las Vegas and

25         I saw him there.            And that was it.


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 1                  Q.         So you're talking about the

 2         premiere of the film in the                       in the summer

 3         of 2021?

 4                  A.        '22.

5                   Q.        '22?

 6                  A.         Right.

 7                  Q.         Have    you ever             other than on

8          the 2000 Mules project, have                     you ever worked

 9         with Salem Media Group?

10                  A.         No.

11                  Q•         Are    you in contact with them

12         today?

13                  A.         No.

14                  Q.         When was the last time you had

15         contact with anyone from there?

16                  A.         I don't recall.              I would say at

17         the premiere.         I have no idea.

18                  Q.         I'm going to mark as

19         Exhibits 3, 4,        and 5, the first amended

20         complaint in this action, a supplemental

21         complaint, and the answer of the TTV

22         defendants.

23                             So 3   will be the first amended

24         complaint.

25              (Marked Plaintiff Exhibit Nos. 3-5.)


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1                              MS. KUCK:          I'm just going to

2                   put this here for a moment.

3                              MR. EVANS:           Thank    you.

4                              MS. KUCK:          And I'm going to be

5                   marking these plaintiff's deposition

6                   exhibits, and hopefully then we will

7                   not be repeating them, Jake, as we go

8                   along so that -

9                              MR. EVANS:           Yeah.      That's fine.

10                             MS. KUCK:          -- we won't re-mark

11                  everything for Ms. Engelbrecht's

12                  deposition.

13                             Supplemental complaint is going

14                  to be -- No. 4 is the supplemental

15                  complaint.

16                             And then No. 5 is going to be

17                  the True the Vote defendants' answer

18                  to plaintiff's first amended complaint

19                  and supplemental complaint.

20                             MR. EVANS:          Ms. Kuck may have

21                  said this, but you have an opportunity

22                  to look at these documents, too,

23                  before     you testify.

24                             THE WITNESS:            Okay.

25                     (Discussion off the record.)


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1          (BY MS. KUCK)

2                   Q.         Have    you ever seen these

3          documents before, Mr. Phillips?

4                   A.         I can't say that I've ever seen

5          them printed out, but I believe I've seen

6          them --

7                              MR. EVANS:           Just for -- yeah

8                   clarity, if we can identify which

9                   documents you're referring to.

10                             MS. KUCK:          I'm referring to

11                  Exhibits 3, 4, and 5, which are the

12                  first amended complaint filed in this

13                  action, the supplemental complaint

14                  filed in this action, and the True the

15                  Vote defendants' answer to plaintiff's

16                  first amended complaint, and

17                  supplemental complaint which was filed

18                  in this action.

19                             And I understand that these are

20                  thick documents and I've just given

21                  them to     you.

22         (BY MS. KUCK)

23                  Q.         But do you recall seeing a

24         complaint filed in this action?

25                  A.         Yes.


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1                   Q.        Okay.      And there was an answer

2          filed on behalf of you, TTV, and

3          Ms. Engelbrecht, correct?

4                   A.        Yes.

5                   Q•        Did you authorize your lawyers

6          to file that on your behalf?

7                   A.        Yes.

8                   Q.        Okay.      And did you review it

9          before it was filed?

10                  A.        Yes.

11                  Q.        And without giving me any

12         substance of the discussions, did you discuss

13         the allegations in the complaint and your

14         responses with your counsel before the answer

15         was filed on your behalf?

16                            Again, it's a yes or no.                  I

17         don't want to know what the substance was.

18                  A.        No.

19                  Q.        You didn't have any discussions

20         with them?

21                  A.        I don't recall.

22                  Q•        I want to mark --

23                  A.        Can I re- -

24                  Q.        Sure.      Absolutely.

25                  A.        I actually think we did have a


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1          conversation about that, but I don't recall

2          when or the substance.

3                             MR. EVANS:          And you can't give

4                   any substance to the conversation.

5                   A.        Yeah.      I can't --

6          (BY MS. KUCK)

7                   Q.        Right.

8                   A.        Yeah, I can't remember.

9                   Q.        You believe you may have but

10         you can't remember?

11                  A.        Right.

12                  Q.        Okay.      And I want to mark as

13         Exhibit 6 the -- the interrogatories.

14                  (Marked Phillips Exhibit No. 6.)

15         (BY MS. KUCK)

16                  Q.        I want to mark as plaintiff's

17         deposition Exhibit 6 the Gregg Phillips'

18         second amended responses to plaintiff's first

19         set of interrogatories.

20                            MS. KUCK:         As you promised.

21         (BY MS. KUCK)

22                  Q•        Mr. Phillips, have you seen

23         this document before?

24                  A.        Yes.

25                  Q•        And if you look on the


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1                   A.        Are you talking about 6?

2                   Q.        6, yes.        Mr.            it's your

3          amended responses to the interrogatories.

4                   A.        Yes.

5                   Q.        Okay.      And if you look at the

6          last page, second-to-last page, is that

7          your -- your signature?

8                   A.        Yes.

9                   Q•        Okay.      And you understood that

10         you verified these interrogatories and stated

11         they were best -- they were true and correct

12         to the best of your knowledge, information,

13         and belief, right?

14                  A.        Yes.

15                  Q.        And did you provide the

16         information reflected in these responses to

17         your attorneys?

18                  A.        I'm sure, some of it.                  It's a

19         big document, so I don't know.

20                  Q.        Did you review it before you

21         signed it?

22                  A.        Yes.

23                  Q.        And you assured yourself that

24         everything in there was accurate?

25                  A.        Yes.


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1                    Q.        Were    you asked to search for

2          documents in connection with this matter?

3                    A.        Yes.

4                    Q.        And what steps did you take?

5                    A.        I provided access to my -- all

6          my accounts to my counsel.

7                    Q.        When    you say "all your

8          accounts," what that are                 you referring to?

9                    A.        E-mail.

10                   Q.        Anything else?

11                   A.        Whatever is                  yeah.

12                   Q.        Were OpSec's files searched?

13                   A.        As it relates to me, yes.

14                   Q.        I don't know what you mean as

15         it relates to        you.

16                   A.        Well, this is me personally,

17         so. . .


18                   Q.        Right.       So what I'm saying is,

19         though, when        you were             when      you were asked

20         to provide documents to your -- I assume                           you

21         provided the documents to                  your attorneys to

22         look through them.

23                   A.        Yes.

24                   Q.        Did you provide any documents

25         you had from OpSec's files or are those kept


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1          separately and you didn't access those?

2                   A.        No, they would have had access

3          to everything.

4                   Q.        Okay.      Do any of your e-mail

5          accounts autodelete?

6                   A.        I have no idea.

7                   Q.        Okay.      Do you know if you have

8          any -- your text autodelete?

9                   A.        I don't know.

10                  Q.        Did you provide any text

11         messages that you have?

12                            Did you provide access to

13         your -- to your counsel to review those?

14                  A.        Yes.

15                  Q.        Did you provide them with

16         information from your social media accounts?

17                  A.        I think we did, yes.

18                  Q.        Okay.      And did you provide them

19         with access to information from Open.Ink,

20         Open.Ink?

21                  A.        If -- yes.

22                  Q.        And once this lawsuit was

23         filed, did you take any steps to preserve any

24         documents, e-mails, texts, information?

25                  A.        I did as instructed by our


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1          attorneys.

2                    Q•        Did your attorneys instruct

3          you --

4                              MR. EVANS:          Objection.          Any

5                    communications between counsel are

6                    privileged.

7          (BY MS. KUCK)

8                    Q.        Okay.      So let me just ask              you

9          what steps.         I know     you said it's -- don't

10         tell me what your attorney said.                        Just tell

11         me what you did.

12                   A.        I don't recall.              It's been a

13         while.

14                   Q.        Are   you aware of any documents

15         that would have been called for in this case

16         but have since been destroyed?

17                   A.        No.

18                   Q.        Just so we have everything

19         marked in case we need it, I'm going to mark

20         as Plaintiff's Deposition 7 the TTV

21         defendants' second amended document

22         responses.

23                  (Marked Plaintiff Exhibit No. 7.)

24         (BY MS. KUCK)

25                   Q.        You can set that aside for a


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1          moment.       I just want to have it ready to go

2          in case we need it.

3                   A.        So we're still on 6?

4                   Q.        I'm not -- you can set them all

5          aside for the moment.

6                   A.        Oh.

7                   Q.        As you know, we are -- we're

8          here today to discuss the film 2000 Mules,

9          which alleges that fraud occurred in the 2020

10         presidential election.

11                            Can you tell me where the

12         number 2000 comes from?                The 2000 Mules?

13         Tell -

14                  A.        I had nothing to do with the

15         naming of the movie.

16                  Q.        Okay.      And you have no idea

17         where -- where the name came from?

18                  A.        No.     We had no -- we had no

19         editorial control over the movie.

20                  Q.        And you never discussed with

21         Mr. D'Souza where the name 2000 Mules came

22         from?

23                  A.        No.

24                  Q•        Do you have an understanding of

25         what it meant?


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1                   A.        No.

2                   4 •       You have no understanding?

3                             MR. EVANS:          Objection; asked

4                   and answered.

5          (BY MS. KUCK)

6                   Q.        Okay.      The research that you

7          did to the -- in connection with the                           well,

8          strike that.

9                             The research that you did that

10         led to the making of the film, did you

11         identify people that you called -- that you

12         labeled mules?

13                            MR. EVANS:          And one second.

14                            Objection; mischaracterizes

15                  evidence.       Assumes facts not in

16                  evidence.

17                            Okay.

18                            MS. KUCK:         Well, I'm trying to

19                  get the facts and the evidence, so...

20                            MR. EVANS:          Well, then, don't

21                  characterize the beginning of the

22                  question.       Just ask the question.

23         (BY MS. KUCK)

24                  Q.        Let's start over.

25                            You did -- you performed


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1          certain geospatial data analysis that led to

2          or that -- strike that.

3                             You worked on certain

4          geospatial data analysis that was used in the

5          film 2000 Mules, correct?

6                   A.        Yes, but it has nothing to do

7          with this case.

8                   Q.        That's not my question.

9                             My question is:               Is that

10         correct?

11                  A.        Yes.

12                  Q.        Okay.      And in the course of

13         that research, did you identify people who

14         you referred to as mules?

15                  A.        No.

16                  Q.        Did you           in the context of

17         the film, so that we're on the same page, how

18         do you define mule in that context?

19                  A.        Mule broadly in our -- in the

20         context was someone that was improperly

21         making -- placing ballots in drop boxes.

22                  Q.        Okay.      And when you say

23         "improperly," what do you mean?

24                  A.        Breaking a rule, a process, a

25         law, et cetera.


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1                   Q.        Did you have certain criteria

2          that you used to determine whether somebody

3          was a mule?

4                   A.        I don't understand the

5          question.

6                   Q.        You didn't -- did you classify

7          certain individuals                I'm not saying by

8          name, but did you classify certain people as

9          mules?

10                  A.        What do you mean by "classify"?

11                  Q.        Did you call them mules?

12                  A.        Well, we didn't.              I mean, that

13         was all related to the movie.                    That had

14         nothing to do with our analysis.                        Our

15         analysis were very limited.

16                            We were to provide some video

17         and some limited analysis to Dinesh.                          We had

18         nothing to do with the production or the

19         names or anything.

20                  Q.        Have you ever used the term

21         "mule"?

22                  A.        Ever?      Sure.

23                  Q.        Okay.      And in the context of

24         election intelligence, have you used the term

25         "mule"?


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1                    A.           Yes, but not related to the

2          movie.

3                    Q.           You never used the term "mule"

4          in connection           with the movie?

5                    A.           I said not related to the

6          movie.         You said "connected."                 I don't even

7          understand         your question.

8                    Q.           Okay.      So let's -- let's do

9          this.

10                   A.           So have I ever said the word

11         "mule"?         Yes.

12                                MR. EVANS:           Hold on.        Wait

13                   until a question is pending.

14         (BY MS. KUCK)

15                   Q.           Let's go       with..

16                                MS. KUCK:          Can      you give me

17                   DD 0073.

18                        (Discussion off the record.)

19                                MS. KUCK:          Let me mark as

20                   Plaintiff's Deposition Exhibit No. 8,

21                   a multiple-page document bearing

22                   control numbers TTV 009901 through

23                   9906.

24                  (Marked Plaintiff Exhibit No. 8.)

25


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 1          (BY MS. KUCK)

 2                   Q.         Do you recognize this document?

 3                   A.         Yes.

 4                   Q.         Okay.      What is it?

 5                   A.         It's an agreement between OpSec

 6          and True the Vote for the provision of

 7          geospatial analysis.

 8                   Q.         And what prompted the -- what

 9          prompted this -- this data                       the geospatial

10          data analysis project?

11                              Where did the idea come from?

12                   A.         I -- it's two questions.

13                   Q.         Okay.

14                   A.         Can --

15                   Q.         Where did the idea for this

16          project come from?

17                   A.         True the Vote and -- or

18          Catherine Engelbrecht and I discussed and

19          decided it was an appropriate thing to do

20          given the public's interest in the election

23.         results.

22                   Q.         When did it begin?

23                   A.        It says here it was dated 12/1

24          of 2020.

25                   Q.         Okay.      And is that consistent


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 1         with your recollection of when it started?

 2                  A.        I don't have any recollection.

 3                  Q.        All right.          The -- the proposal

 4         provides that OpSec is to be paid

 5         for this project up front.

 6                            Did -- do you see that?

 7                  A.        Yes.

 8                  Q.        Okay.      And -- and did TTV pay

 9         OpSec?

10                  A.        Yes.

11                  Q.        At the time the agreement was

12         executed?

13                  A.        I don't recall.

14                  Q.        But you know they paid it?

15                  A.        Yes.

16                  Q.        And it says that the -- in

17         the -- the top, the objective is to analyze

18         historic and near real-time behavioral

19         mobility data to assist True the Vote in

20         analyzing possible election process diversion

21         in the form of ballot harvesting in the

22         following states.

23                            And then it says GA, which I

24         take to mean Georgia; AZ, which I understand

25         to mean Arizona; TX, which I understand to be


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1          Texas; PA, which I would understand to mean

2          Pennsylvania; MI, Michigan; and WI,

3          Wisconsin.

4                              Do     you see that?

5                   A.         Yes.

6                   Q.         Okay.         And did I get the states

7          right?

8                   A.         Yes.

9                   Q.         And how         were those states

10         chosen?

11                  A.         I don't recall.

12                  Q.         Who chose them?

13                  A.         Me and -- and Ms. Engelbrecht.

14                  Q•         Okay.         And     you don't --         you

15         have no recollection as to why you chose

16         those states?

17                             MR. EVANS:             Objection; asked

18                  and answered.

19         (BY MS. KUCK)

20                  Q.         You can answer.

21                             You have no recollection as to

22         how the states were chosen?

23                  A.         No.       No.       Sorry.

24                  Q.         Okay.         And did           you

25         ultimately -- did OpSec ultimately complete


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1          its analysis for all of these states?

2                   A.         Yes, with the exception of

3          if you'll look down, it actually breaks down

4          actual cities.

5                   Q.         Right.

6                   A.         And the answer to that question

7          is yes as it relates to those.

8                              As it relates to the entire

9          states, the answer is no.

10                             So I'm not sure what your

11         question is.

12                  Q.         Okay.      So you did -- you

13         completed your analysis for the cities that

14         are listed in Paragraph 1?

15                  A.         Yes.

16                  Q.         And it also talks about

17         suspected ballot harvesting organizations.

18                             Do you see that?

19                  A.         No.     Where is it?

20                  Q.         One -- Paragraph 1.2.                 In bold

21         it says:       "Geofence suspected ballot

22         harvesting organizations."

23                  A.         Yes, I see that.

24                  Q•         Okay.      Who chose those

25         organizations?


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1                   A.        I don't recall.               I know there

2          were a bunch of people reporting a bunch of

3          things to us, so I'm sure it came from

4          citizen reports.

5                   Q.        Okay.      Can you identify any of

6          the ballot harvesting organizations that's

7          that are referred to there?

8                   A.        No.     We didn't identify -- we

9          didn't identify -- in our analysis we didn't

10         identify any people or specific

11         organizations.

12                  Q.        Then how did you geofence them?

13                            It says:        "Geofence suspected

14         ballot harvesting organizations."

15                  A.        That's not what you asked.

16                            You asked me did -- how did we

17         identify them.

18                            They would have been identified

19         by the fact that they showed up in the

20         geospatial analysis.              We didn't identify them

21         first.

22                  Q.        I guess I'm having a sort of

23         chicken-and-egg problem.

24                            So explain that for me.

25                            How did you -- how did you know


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1          where to put your geofence?

2                   A.        Well, we had been provided,

3          from citizens or whomever, various things to

4          look at.      But that's not what -- that's not a

5          complete view of what one would do in a                            in

6          an analysis like that.

7                   Q.        Okay.

8                   A.        I mean, you -- you look at the

9          data as the base, not the targets as the

10         base.

11                  Q         You looked at the data as the

12         base.

13                            And then how did the data show

14         you which were suspected ballot harvesting

15         organizations?

16                  A.        The -- the voters or the -- the

17         IMEI codes, the phones that were identified

18         being near drop boxes were also identified

19         being near certain other locations.

20                  Q.        Okay.      And then you researched

21         to see if those locations had organizations

22         there that might participate in ballot

23         harvesting?

24                  A.        Eventually we would have gotten

25         to that, but not in the beginning.


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1                   Q.        Okay.      And you -- you did not

2          in any way use any of the                        well, strike

3          that.

4                             So in coming up with which

5          organizations were suspected of ballot

6          harvesting and you drew a geofence around

7          them, did you incorporate any of the other

8          tips you were getting or was it solely on the

9          data?

10                  A.        It likely would have been

11         solely on the data.

12                  Q.        And who -- who at OpSec --

13         well, strike that.

14                            Both Paragraphs 1 and 2 say

15         that OpSec group -- the first one says:

16         "...will build a mobile device behaviorable

17         database."

18                            Who at the OpSec group was

19         involved in building that database?

20                  A.        A number of our contractors,

21         including Red Metrics.

22                  Q•        Okay.      What other ones?

23                  A.        I do not recall.

24                  Q•        You have no recollection?

25                  A.        I don't.


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1                   Q•         Did you pay those contractors?

2                   A.         If       sometimes we did.

3          Sometimes we don't.              I mean, some of it is

4          pro bono work.           You guys know that.

5                   Q.         And I assume at some point you

6          must have had communications with those

7          contractors?

8                   A.         Our -- our communications

9          are -- are internally and generally not

10         written.       Mostly spoken.

11                  Q.         So you would call a contractor

12         and say do this and then they would call you

13         back and give        you the results.

14                             Is that what you're saying?

15                  A.         That's a -- that's a terrible

16         oversimplification for our work, but if you

17         want to say it that way, it's fine.

18                  Q•         Well, I'm trying to get at

19         how -- so you communicate -- did you

20         communicate with these contractors only

21         orally?

22                  A.         Mostly, yes.

23                  Q.         Did they -- any -- Red Metrics,

24         for example, did they send you invoices?

25                  A.         I don't recall.              Probably not.


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1                   Q.        Okay.        Did you pay them?

2                   A.        Yes.

3                   Q.        How did you pay them?

4                   A.        Via wire.

5                   Q.        Okay.        Do you have records of

6          those payments?

7                   A.        Do I have records today of

8          those payments?           No.

9                   Q•        What happened to the records?

10                  A.        I wouldn't -- I wouldn't have

11         kept the records.           Why would I keep them?

12                  Q•        Taxes.        Financial statement?

13                            MR. EVANS:          There's no question

14                  pending.

15         (BY MS. KUCK)

16                  Q.        Your position is you have

17         absolutely no records today of your

18         communications with any of these contractors.

19         Is that correct?

20                            MR. EVANS:          Objection;

21                  misstates facts and prior testimony.

22                            MS. KUCK:         Okay.       So if I'm

23                  misstating it, he can tell me.

24         (BY MS. KUCK)

25                  Q.        Is it your testimony that today
                                                                                     I
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1          you have absolutely no records of your

2          communication with any of the contractors who

3          worked on this project?

4                   A.        We provided all requested

5          information to -- to our firm, to the law

6          firm.

7                   Q         That wasn't my question.

8                             My question is:               Do you have

9          any records?

10                            Regardless of what you did with

11         them, is it your testimony you have no

12         records today of any communications with the

13         contractors who worked on the project?

14                            MR. EVANS:          Objection; asked

15                  and answered.

16                            And give me one second to

17                  object and then that way we -- she can

18                  ask and then maybe two seconds, me

19                  object, and then you answer.

20                            THE WITNESS:            Okay.

21         (BY MS. KUCK)

22                  Q.        Okay.      And I'll read the

23         question back.

24                            My question is:               Do you have

25         records?


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1                              Regardless of what you did to

2          them, with them, is it your testimony that

3          you have no records today of any

4          communications with the contractors who

5          worked on the project?

6                   A.         I provided --

7                              MR. EVANS:           Let me renew my

8                   objection also.

9                              Thank    you.

10                  A.         I provided all information that

11         we had available to our attorneys.

12         (BY MS. KUCK)

13                  Q.         And was there information that

14         you provided?

15                  A.         I don't -- I don't recall.

16                  Q.         Okay.

17                             MS. KUCK:          Was any of that

18                  information produced, Mr. Evans?

19                             MR. EVANS:          I can't recall off

20                  the top of my head, but we can look.

21                  We will absolutely look.

22                             We're not trying to be

23                  obstructionistic here.

24         (BY MS. KUCK)

25                  Q.         If there were any


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1          communications with any of these contractors

2          who you don't remember, other than Red

3          Metrics, you would have given them to your

4          lawyers and then Mr. Evans and I can work out

5          what happened to those, right?

6                   A.        Yes.

7                   Q•        Do you remember how many other

8          contractors there were?

9                   A.        I don't.

10                  Q.        Where did you -- and you

11         purchased certain geospatial data for use in

12         this project; am I right?

13                  A.        No, I didn't purchase --

14                  Q.        Okay.      Well, did you -- I'm

15         sorry.        Strike that.

16                            Was there data purchased

17         from -- from vendors that was then used by

18         these contractors for the analysis that

19         resulted in this project?

20                  A.        Look, I don't want to be

21         difficult but I'll say it again and I'll

22         answer the question, but this has nothing to

23         do with this case.

24                  Q.        Understood.

25                  A.        Okay.
                                                                                     i
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1                   Q.         I understand that's your

2          position.

3                   A.         Okay.

4                   Q.         But you can still answer my

5          question.

6                   A.         What was the question?

7                   Q.         The question was                    well, tell

8          me how you did this.

9                              You had -- you had these

10         contractors who were analysts; am I right?

11                  A.         Among other things, yes.

12                  Q.         Okay.      And did OpSec give them

13         data to analyze?

14                  A.         No.

15                  Q•         Okay.      Where did they get the

16         data?

17                  A.         They purchased it.

18                  Q.         They purchased it?

19                  A.         Yes.

20                  Q.         And did you tell them what data

21         to purchase?

22                  A.         We -- we worked together to

23         identify the areas of interest and -- and

24         what we could afford.                And so we worked with

25         them to get it done, yeah.


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1                   Q.         Okay.      But you did that all

2          orally?

3                   A.         Yes.

4                   Q.         Was -- this research that you

5          did in this project, did it have any --

6                   A.         Which project?

7                   Q.         In the project that we are

8          referring to, we've been discussing.

9                   A.         The section -- or No. 8 here?

10                  Q.         In Exhibit No. 8.

11                  A.         Okay.

12                  Q.         Did that -- did that research

13         have anything to do with the research that

14         you did in 2016 relating to voter fraud in

15         that election?

16                  A.         No.

17                  Q.         Did you at one time have an app

18         called VoteStand?

19                  A.         Yes.

20                  Q.         Do you still -- do you still

21         promote that app?

22                  A.         It's         no.      It's been rebuilt

23         and renamed.         It's now called VoteAlert.

24                  Q.         And what is that app?

25                  A.         Think of it as Instagram for


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1          for voting, for elections.                       Take a picture,

2          take a video, make a post.

3                   Q.         Of what?

4                   A.         Whatever people see.

5                   Q.         When    you say whatever people

6          see --

7                   A.         Whatever citizens are upset

8          about or concerned about.

9                   Q.         And what do they do with those

10         pictures?

11                  A.         They come to us through the

12         app.

13                  Q.         And then what do               you do with

14         those pictures?

15                  A.         Well, we're not doing it right

16         this second so we're not doing anything with

17         it right now.

18                  Q.         What did you do with it in

19         connection with the 2020 election?

20                  A.         We didn't do it in 2020

21         election.

22                  Q.         Okay.      Have      you ever done it

23         with any election?

24                  A.         Yeah.      2012 and 2016.

25                  Q.         Okay.      You plan to do it in


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1          2024 as well?

2                   A.        Under VoteAlert, yes.

3                   Q.        Okay.      And what -- so --

4                   A.        It's not related to this topic,

5          though.

6                   Q.        Understood.           I understand

7          that's your position.

8                   A.        No, it's not related to this

9          topic.

10                  Q.        Okay.

11                  A.        It's not my position.                 It's the

12         truth.

13                  Q         I understand your testimony.

14                            When VoteAlert receives these

15         pictures or whatever information people send,

16         what does it do with them?

17                  A.        Mrs. Engelbrecht's team handles

18         all of the administrative side as to what

19         happens, whether it's approved, whether it's

20         uploaded, whatever.

21                            We built the app is what I'm

22         telling you.

23                  Q•        You built the app, but you

24         don't administer it?

25                  A.        Right.


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1                    Q•        Okay.      Does True the Vote

2          administer it?

3                    A.        Yes.

4                    Q•        Okay.      Okay.        Let's mark as

5          Exhibit 9 a multiple-page document bearing

6          TTV 006817 through TTV 006853.

7                   (Marked Plaintiff Exhibit No. 9.)

8          (BY MS. KUCK)

9                    Q.        Okay.      So if you could take a

10         look at this document.

11                   A.        Which one?

12                   Q.        Number 9.

13                   A.        Okay.

14                   Q.        If you could look at Exhibit 9,

15         the cover page appears to be an e-mail from

16         Ms. Engelbrecht to Debbie D'Souza.

17                   A.        Uh-huh.

18                   Q.        Do you recognize the documents

19         attached to this e-mail?

20                   A.        Yeah, I do.

21                   Q.        Okay.      What are those

22         documents?

23                   A.        These documents were working

24         papers from a -- an intervention that True

25         the Vote was considering in a -- in another


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1          lawsuit.

2                   Q.         Okay.         And were they ever filed

3          in the other lawsuit?

4                   A.         No.

5                   Q.         Why not?

6                   A.         I have no idea.

7                   Q•         If you go to the page that says

8          at the bottom TTV 006843.

9                   A.         43?

10                  Q.         Uh-huh.

11                  A.         Okay.

12                  Q.         That's -- that is titled

13         "Affidavit of Gregg Phillips in Support of

14         True the Vote, Inc.'s Motion to Intervene. H

15                             Do     you see that?

16                  A.         Yes.

17                  Q.         Did      you review this draft

18         affidavit?

19                  A.         I don't think so.                  I never even

20         saw it.

21                  Q.         You've never seen it before?

22                  A.         Doesn't -- doesn't ring a bell.

23                  Q.         Okay.         Do    you know who prepared

24         it?

25                  A.        I do not.


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1                   Q.        Okay.      Let's go to -- let's go

2          to the page number TTV _006846.

3                   A.        Okay.

4                   Q.        Under the Heading 16, it says:

5          "OpSec group was engaged by True the Vote to

6          conduct an analysis of mobile device

7          geospatial and temporal data in the state of

8          Georgia."

9                             Do you see that?

10                  A.        Yes.

11                  Q.        And is that correct?

12                  A.        That was -- yeah.              That was the

13         contract we just looked at.

14                  Q.        That's the contract we just

15         looked at?

16                  A.        Uh-huh.

17                  Q.        Okay.      And then if you turn the

18         page and you look at Paragraph 18, it says:

19         "To conduct its analysis, OpSec group

20         utilized commercially available mobile device

21         geospatial and temporal data."

22                            Do you see that?              Is that

23         correct?

24                  A.        Yes.

25                  Q.        Okay.      Where did that data come
                                                                                     I
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1          from?

2                   A.          We just answered that.

3                   Q.          It came from Red Metrics?

4                   A.          Vendors.

5                   Q.          Right.

6                   A.          Yeah.

7                   Q.          And any -- can you identify any

8          vendor other than Red Metrics?

9                   A.          Well, they would have bought it

10         from any number of vendors of the data.

11                  Q.          Okay.      So Red Metrics bought

12         the data.          OpSec didn't buy the data?

13                  A.          Correct.

14                  Q.          Did any of your other

15         contractors or vendors buy the data?

16                  A.          In this case, no.

17                  Q.          Okay.      So all the data was

18         bought by Red Metrics?

19                  A.          As far as I remember.

20                  Q.          And then what was the role of

21         the other contractors?

22                  A.          Analysis.          There's lots of

23         different pieces that go to analysis.                           I

24         mean, they would have conducted some

25         analysis.


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1                              They would have worked on

2          the -- the creation of the -- the creation

3          and execution of the work plan.

4                              It could have been any number

5          of things.

6                   Q.         So in the next paragraph, it

7          says:     "OpSec group analyzed in excess of 25

8          terabytes"

9                   A.         Can   you tell me where you are?

10         19?

11                  Q•         Paragraph 20.

12                  A.         Okay.      All right.           I'm with

13         you.

14                  Q          Okay.

15                            "OpSec group analyzed in excess

16         of 25 terabytes of data consisting of over

17         1.2 trillion mobile device pings that were

18         collected over a period of 97 days from

19         October 1, 2020, through January 5, 2021,

20         defined as the study period."

21                             Is that correct?

22                  A.         The number looks a little small

23         to me, the 1.2 trillion.

24                  Q.         Okay.

25                  A.         And the dates, I think it


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1          actually went back into September.                       But,

2          again, I never signed this document.                        I've

3          never seen it before.

4                    Q.       No, I understand that.                 I'm

5          just sort of using it as                     I'm using it to

6          get your understanding.                I don't want to rely

7          on the document if things are inaccurate in

8          here, so I want to make sure it's

9          consistent --

10                   A.       I've never seen the document,

11         so. . .

12                   Q        Okay.      Understood.

13                            And when it -- but -- but OpSec

14         group itself didn't do the analysis, you

15         hired other people to do the analysis for

16         you?

17                   A.       We were the prime.

18                   Q.       The prime.

19                            And when you say "we," it's

20         only you, right?           You don't employ anybody

21         else?

22                   A.       No, but we have other

23         contractors that work with us.

24                   Q•       Okay.      So you're saying --

25                   A.       We were the prime contractor.


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1                   Q.        And other than Red Metrics, you

2          can't identify any of the subcontractors?

3                   A.        No.

4                   Q.        If you look at Paragraph 23

5                   A.        Okay.

6                   Q•            it says:          "By

7          cross-referencing mobile devices" -- well,

8          strike that.

9                             If you can just read

10         Paragraph 23, and then tell me if anything in

11         there is inaccurate.

12                  A.        "By cross-referencing mobile

13         device spatial geospatial data against these

14         drop box geofences, OpSec group is able to

15         identify over 500,000 mobile devices that had

16         traveled within 500 feet of a drop box during

17         the study period.           It was from this defined

18         data set that OpSec began to apply analytic

19         methods more tightly defining proximities to

20         identify patterns."

21                  Q.        Is that correct?

22                  A.        Mostly correct.

23                  Q•        Okay.      And then if you would go

24         to Paragraph 26, which is on the next page.

25                            It says:        "To further narrow


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1          our investigation, we matched devices that

2          were found within 100 feet of one or more

3          drop box location on at least ten occasions

4          and were within 100 feet of an organization

5          of interest multiple times during the study

6          period."

7                              Is that a correct description

8          of       of your project?

9                   A.         No.

10                  Q.         Why not?

11                  A.         It's -- it's not enough.

12         It's -- it specifically seems to be talking

13         about Atlanta.

14                  Q.         Okay.

15                  A.         And the 100 feet was                    it

16         makes the implication for whoever wrote this

17         seems to be that they didn't understand what

18         we were doing because what we were doing was

19         excluding.         We started at 500,000 -

20                  Q.         Right.

21                  A.         -- as you saw previously.

22                  Q.         Yeah.

23                  A.         And so we were trying to

24         exclude, get the number smaller, not larger.

25                             This seems to be implying that


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1          we were trying to make it be larger.

2                   Q•         Well, if you went to 500 and

3          then     you went to 100, it would be smaller,

4          right?

5                   A.         Not necessarily.

6                   Q.         Why?

7                   A.         It depends.           There's all sorts

8          of parameters around that, because you would

9          want to know what we -- what we were

10         specifically looking at.                  This -- this calls

11         for speculation, actually.

12                  Q.         Okay.

13                  A.         And whoever                  whoever wrote

14         this had no idea what they were saying.

15                  Q.         Okay.      Well, where do you think

16         they got the information from?

17                  A.         No clue.

18                  Q.         Do you know who wrote it?

19                  A.         I do not.

20                  Q.         Who prepared -- do you have any

21         idea --

22                             MR. EVANS:          Slow down.          Give me

23                  an opportunity to object.

24         (BY MS. KUCK)

25                  Q.         Do you have any knowledge of


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1          who prepared the               these papers?

2                              MR. EVANS:          Objection; asked

3                   and answered.

4          (BY MS. KUCK)

5                   Q.         You can answer.

6                   A.         I don't know.

7                   Q.         Did you ever discuss any of

8          these papers with Ms. Engelbrecht?

9                   A.         I doubt it.

10                  Q.         Okay.

11                  A.         These are working papers.

12         These were never filed.

13                  Q.         Right.

14                             Were    you aware they were

15         provided to Ms. D'Souza?

16                  A.         No.

17                  Q.         Were    you aware they were

18         provided to Fox News?

19                  A.         No.

20                  Q.         If you would go to page marked

21         TTV 006821, which is right at the beginning.

22                  A.         Okay.

23                  Q.         This seems to be talking about

24         the analysis that was done in Atlanta.                           Is

25         that correct?


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1                   A.        A limited piece of it, yeah.

2                   Q.        What do you mean "a limited

3          piece of it"?

4                   A.        This isn't the full analysis.

5                   Q.        Of what -- what -- how -- why

6          do you say that?

7                   A.        This is just -- this is just

8          locations of where somebody thought drop

9          boxes were.

10                  Q.        And you're saying that there

11         were more than these drop boxes, there are

12         309 -- well, strike that.

13                            Is it correct that 309 drop

14         boxes from December 1, 2020, through Election

15         Day January 5, 2021, were geofenced and the

16         analysis was done?

17                  A.        I have no idea where 309 came

18         from.

19                  Q.        Okay.      What about the period of

20         time?     Is that correct.

21                  A.        No.     As I said -- it doesn't

22         look like it.         This looks like just during

23         the -- I don't know what this is.

24                  Q.        Okay.      If you would look at the

25         next page, it says "Organizations of


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1          interest."

2                             Do you see that?

3                   A.        Uh-huh.

4                   Q.        Are those the suspected ballot

5          harvesting locations that were referred to in

6          the project proposal we talked about?

7                   A.        No.     This is a -- this looks to

8          be like a preliminary document that somebody

9          got their hands on and cited it as fact.

10                  Q.        Well, did             did you          did

11         your project identify any of these

12         organizations as --

13                  A.        I don't recall.               We weren't

14         focused on names.           We were focused on

15         addresses.

16                  Q.        Okay.      So you             you have

17         you can't testify as to whether these were

18         suspected organizations involved in ballot

19         trafficking as -- as referenced in the

20         project proposal we talked about?

21                  A.        No.

22                            MR. EVANS:          Objection.         You got

23                  to wait.        You gotta give me -- you

24                  need to listen to the question.                     Let's

25                  pause.     And then allow me an


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1                   opportunity to object.

2                              THE WITNESS:               Got it.

3                              MR. EVANS:             Objection; asked

4                   and answered.

5          (BY MS. KUCK)

6                   Q.         Okay.         If you would turn              to the

7          next page, there's a -- there's a map.

8                              Have      you ever seen that before?

9                   A.         I don't recall.

10                  Q.         Do     you recognize it?

11                  A.         Don't even know                 what it is.

12                  Q.         Huh?

13                  A.         Don't know what it is.

14                  Q.         You know          where it came from?

15                             MR. EVANS:             Objection; asked

16                  and answered.

17                             MS. KUCK:             No, he says he

18                  doesn't know what it is.                      I asked if

19                  he knew     where it came from.

20                  A.         I answered that as well.

21         (BY MS. KUCK)

22                  Q.         Is the answer no?

23                  A.         Yes.

24                  Q.         Let's go to the next page,

25         006824.


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1                              Have    you ever seen that chart

2          before?

3                   A.         Doesn't ring a bell.

4                   Q.         Okay.      Do you -- do             you

5          understand the reference to 242 devices?

6                   A.         Yes.

7                   Q•         Okay.      What does that refer to?

8                   A.         The final number in the Atlanta

9          area that were included in the analysis that

10         we turned over to the FBI.

11                  Q.         And for what -- what period of

12         time did that cover?

13                  A.         I'm not sure.                I haven't seen

14         this before.

15                  Q.         So as you sit here now, you

16         can't tell me the -- whether the 242 were in

17         connection with the runoff or the general

18         election?

19                  A.         I don't know.

20                  Q.         Okay.      If you wanted to refresh

21         your memory on that, how would you do it?

22                  A.         I couldn't.           I mean, you would

23         have to rebuy the data, spin it up.                           I have

24         no idea.

25                  Q.         Okay.      At -- at some point in


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1          time, you also obtained video Dropbox

2          strike that.

3                              At some point in time, OpSec

4          obtained Dropbox video from election

5          officials in Georgia; is that correct?

6                   A.         That is incorrect.                  We obtained

7          Dropbox video from True the Vote.

8                   Q.         From True the Vote.

9                              And is your understanding True

10         the Vote obtained it from election officials

11         in Georgia?

12                  A.         Yes.

13                  Q.         Okay.      And at some point did

14         did someone working with                 you attempt to

15         correlate the geospatial data with the

16         Dropbox video?

17                  A.         Yes.

18                  Q.         And who did that work?

19                  A.         There were a variety of people

20         involved in that.

21                  Q.         Okay.      Tell me everybody you

22         remember.

23                  A.         Red Metrics.

24                  Q.         Anybody else?

25                  A.         No.


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1                   Q.        There was nobody else or you

2          don't remember anybody else?

3                   A.        I don't remember.

4                   Q.        Okay.      And how much of that -

5          how many of the video came from Gwinnett

6          County?

7                   A.        No idea.

8                   Q.        Okay.      Do you know how much of

9          it was from the general election and how much

10         was from the runoff?

11                  A.        I don't.

12                  Q.        Okay.      Lets -- let's look at

13         the       your interrogatory responses, which we

14         marked as, I believe, Exhibit 5.

15                  A.        What number?

16                  Q.        Let me make sure I've given you

17         the right number.           Number 6.

18                            Okay.      Let's look at your

19         response to Interrogatory No. 4, which is on

20         page --

21                  A.        Wait.      Number 4?

22                  Q.        Yeah.

23                  A.        I thought you said 6.

24                  Q.        It's Exhibit 6, Interrogatory

25         No. 4, which is on Page 9 through 11 of that


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1          document.

2                   A.         Okay.

3                   Q.         And if you would look at                      why

4          don't you take a minute to review that, your

5          response.

6                   A.         Review what?

7                   Q.         The response -- your answer to

8          the interrogatory, which is on Page 10

9          through 11.

10                             MR. EVANS:          It's long, so take

11                  your time.

12                             MS. KUCK:          I assumed he's

13                  familiar with this, but go ahead.

14                  A.         I -- I -- I don't understand

15         what you're asking me to do.

16         (BY MS. KUCK)

17                  Q.         Okay.      I'm going to ask             you

18         some questions about your answers.                        If you

19         need to review it, let me know.

20                  A.         Yes, I need to review.

21                  Q.         Okay.      So go ahead.

22                  A.         So you're talking about Pages

23         10, 11 --

24                  Q.         And 12.

25                  A.         -- and 12?


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1                   Q.         You know what, I'm going to

2          strike that.         I'm sorry.

3                              Review -- can you go to

4          Page 18, your Interrogatory No. 9.                        And then

5          your answer is at 18 and 19.                     It's a little

6          bit shorter.

7                              And there's a statement in

8          there that says:           "As the film makes clear,

9          no individual phones were tied to any

10         identifiable individuals as part of the

11         filmmaking process."

12                             Can    you explain that sentence

13         to me?

14                  A.         Yes.     Geospatial analysis

15         analyzes the unique device IDs that are on

16         our cell phones.

17                  Q.         Okay.

18                  A.         And those unique device IDs are

19         associated with a number.

20                  Q.         Right.

21                  A.         A phone number.

22                  Q.         Uh-huh.

23                  A.         And then the carrier, who owns

24         the phone number, is the owner of the data,

25         who it is.


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1                   Q•        Okay.      Although, you told me at

2          some point there was an effort to link that

3          data.

4                   A.        No.

5                   Q.        There was no effort to link the

6          geospatial data to the video of people voting

7          at drop boxes?

8                   A.        It -- there was no effort to

9          link anything to any human being.

10                  Q.        Okay.      So I had asked you

11         earlier whether at some point someone working

12         with you attempted to correlate the data with

13         the Dropbox video.

14                  A.        But that's a different topic.

15                  Q.        How is that different?

16                  A.        That's not what you just asked

17         me to look at.

18                  Q.        Okay.

19                  A.        That's not what you were asking

20         me to respond to.

21                            You asked me to respond to this

22         answer.

23                  Q.        Right.

24                  A.        Number 9.

25                  Q.        Okay.


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1                   A.         How does that relate to this?

2                   Q•         Well, did someone -- did

3          someone try and correlate those things?

4                              Look at the geospatial data and

5          the Dropbox video and try and match them up.

6                   A.         Where do       you see that?

7                   Q.         I'm just -- that's a question.

8          We talked about this before.

9                              Somebody tried to correlate the

10         data          geospatial data with the Dropbox

11         video, correct?

12                  A.         Yes.

13                  Q.         Okay.      And when I say --

14         what -- correlate, what did they do?                         What

15         were they trying to do?

16                             MR. EVANS:          Objection; compound

17                  question.

18         (BY MS. KUCK)

19                  Q.         Explain to me what they were

20         doing comparing the geospatial data with the

21         Dropbox video.

22                  A.         Look, I'll just say again, I'm

23         not trying to be condescending but this has

24         nothing to do with what we're doing here.

25                  Q.         I understand your position.


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1                   A.           And so you're asking me to

2          respond to -- you're asking me to answer a

3          question as to what my contractors were

4          doing.

5                   Q.           Yeah.     I am.

6                   A.           What -- what -- okay.                Then ask

7          the question.           I don't understand it.

8                   Q.           Okay.     The question was:              Was

9          someone working with you attempt to correlate

10         the geospatial data with the Dropbox video?

11                  A.           Yes.

12                               MR. EVANS:         Objection; asked

13                  and answered.

14         (BY MS        KUCK)

15                  Q.           Okay.     And what were the

16         contractors doing?

17                               What instructions did you give

18         them in connection with that correlation?

19                  A.        I didn't give them any

20         instructions.

21                  Q.           Okay.     Why were they doing it?

22                  A.           Just to add to the file.                 I

23         mean, geospatial analysis by itself is -- is

24         interesting.           But activity-based

25         intelligence, which adds more to it, which


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1          would be video and other things, would -

2          would -- would build out the file more

3          completely.

4                    Q.        Okay.        So    you were trying to

5          build a more complete picture by matching

6          what you were seeing in the data with what

7          you were seeing from the drop boxes?

8                    A.        I wasn't, but our contractors

9          would have been, yes.

10                   Q.        And    you    were instructing them

11         to do that?

12                   A.        I probably wouldn't have

13         offered that specific of an instruction,

14         but.. .

15                   Q.        Okay.        But you were overseeing

16         the project?

17                   A.        Yes.

18                   Q.        And some -- at least some of

19         them -- you        were paying them to do certain

20         things?

21                   A.        I don't understand.

22                   Q.        You    were paying -- these were

23         people     you contracted             with so I'm assuming

24         you gave them instructions.

25                             MR. EVANS:            Objection; asked


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1                   and answered.

2          (BY MS. KUCK)

3                   Q.         You didn't -- did you -- you

4          didn't instruct anybody to try and correlate

5          the geospatial data with the Dropbox video?

6                   A.         I really don't think -- I

7          really don't think           you understand.

8                              What you asked me to review was

9          this --

10                  Q.         I am --

11                       (Speaking simultaneously.)

12                  A.         -- and this is irrelevant to

13         the topic.         It's not related.

14         (BY MS. KUCK)

15                  Q.         I understand what you're

16         saying.

17                  A.         So which do          you want me to

18         answer?        Do you want me to answer this or do

19         you want me to answer that?

20                             There's nothing -- there's

21         nothing in here that would --

22                             MR. EVANS:          So it would be -

23                  are    you talking about Interrogatory

24                  No. 9 or are you talking about

25                  something unrelated?


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1                             Because I -- we just want to

2                   make sure both of you guys are on the

3                   same page.

4          (BY MS. KUCK)

5                   Q.        Okay.      So in the film                you're

6          familiar with the film?

7                   A.        Yes.

8                   Q.        There is video --

9                   A.        Yes.

10                  Q.        -- correct?

11                            And in the film there is an

12         implication that the video lines up with what

13         is shown in the geospatial data.

14                            Am I right about that?

15                  A.        No.     We had no editorial

16         control.      Our -- our job was to provide raw

17         footage

18                  Q.        Uh-huh.

19                  A.              and some limited analysis.

20                  Q.        Okay.      What raw -- what

21         criteria did you use to give the raw footage?

22                  A.        I don't know that there was any

23         criteria.

24                  Q•        You just -- well, how much raw

25         footage did you provide to Mr. D'Souza?


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1                   A.        We originally -- I think we

2          originally provided 70 cuts of it.

3                   Q•        And how did you choose those

4          70?

5                   A.        I don't recall.               I didn't do

6          it.

7                   Q•        Who did it?

8                   A.        Red Metrics.

9                   Q•        Okay.      And did you give them

10         instructions?

11                            MR. EVANS:          Objection; asked

12                  and answered.

13                            MS. KUCK:         No, I don't think

14                  so.

15                  A.        No.

16         (BY MS. KUCK)

17                  Q.        Did you give them instructions

18         as to which -- how to choose the 70?

19                  A.        No.

20                  Q.        Okay.      So you just said, Give

21         me 70 cuts?

22                  A.        Right.       Later in the process,

23         there's an e-mail around that Mrs. D'Souza

24         asked for, I think, another thousand cuts or

25         something like that, to which I said it's out


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1          of scope.

2                   Q.         What do you mean "it's out of

3          scope"?

4                   A.        It was out of scope.                 It was

5          more than we had agreed to provide under the

6          terms of the agreement.

7                   Q.         Did you have more?

8                   A.         Oh, we had a lot more.

9                   Q.         Okay.     And when you say "the

10         terms of the agreement," what are you

11         referring to?

12                  A.         The agreement to provide

13         video         raw video to -- to Dinesh and Debbie

14         for the film.

15                  Q.         Okay.     And does the agreement

16         specify how much you were going to provide?

17                  A.         I wasn't a party to the

18         agreement.         I don't know.

19                  Q.         So you don't know what the

20         agreement says?

21                  A.         No.

22                  Q.         And did you -- did -- did you

23         provide video of more -- of any one person

24         going to more than one drop box?

25                  A.         I don't recall.


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1                   Q.         You have no idea?

2                   A.         No idea.

3                   Q.         Okay.

4                              MR. EVANS:           We've been going

5                   about an hour and a half.

6                              MS. KUCK:          Yeah, we can take a

7                   break.

8                              MR. EVANS:           Yeah.      Very brief

9                   break.

10                             THE VIDEOGRAPHER:               All parties

11                  in agreement with going off the

12                  record, we're going off the record at

13                  10:59 a.m.

14              (Break from 10:59 a.m. to 11:21 a.m.)

15                             THE VIDEOGRAPHER:               We are going

16                  back on the record at 11:21 a.m.

17         (BY MS. KUCK)

18                  Q.         Mr. Phillips, you and

19         Ms. Engelbrecht appeared on The Charlie Kirk

20         Show on April 8, 2022, to discuss the 2000

21         Mules project; is that correct?

22                  A.         Yes.

23                  Q.         And let me show              you a document

24         I've marked as Plaintiff's Deposition

25         Exhibit 10.        It bears the Bates


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1          Nos. DDR 00049450 through 4951.

2                             MR. EVANS:          This is 10?

3                             MS. KUCK:         Yep.

4                   (Marked Plaintiff Exhibit No. 10.)

5          (BY MS. KUCK)

6                    Q.       Okay.      Looking at the second

7          page, this appears to be a text chain between

8          Mr. D'Souza, Mrs. D'Souza, Ms. Engelbrecht,

9          and yourself.

10                            Do you see that?

11                   A.       I do.

12                   Q.       Okay.      In about the third entry

13         down, it appears that Ms. Engelbrecht says,

14         quote, Lastly, we did an interview with

15         Charlie yesterday.            He had the same videos

16         from the ad in Georgia, the ones we talked

17         about, and asked us to review them.                       He says

18         Salem knows, et cetera, but didn't want to

19         tell y'all.        It's supposed to air tomorrow.

20                            Do you see that?

21                   A.       I do.

22                   Q.       Is that referring to the

23         Charlie Kirk interview?

24                   A.       You know, I really don't know,

25         but I assume so.


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1                   Q.        Okay.      Do you know what is

2          referred to there by the videos from the ad

3          in Georgia?

4                   A.        I'm not familiar with any ad in

5          Georgia.

6                   Q.        Okay.      Do you -- do you recall

7          Mr. -- Mr. Kirk telling you and

8          Ms. Engelbrecht that he didn't want

9          Mr. D'Souza to know about your -- your

10         your interview on his show?

11                            It says:        "He says Salem knows,

12         et cetera, but didn't want to tell y'all."

13                            Does that ring any bells?

14                  A.        No.

15                  Q•        So I premarked -- you can put

16         that down.

17                            I premarked as Exhibit 1 the

18         video of the Charlie Kirk interview on

19         April 8, 2022, which has a run time of 1 hour

20         6 minutes and 59 seconds.                  And we'll provide

21         that to --

22                  A.        I don't have Exhibit 1.

23                  Q.        You won't have it.

24                  A.        Oh, sorry.

25                  Q•        It's a video.             I've marked it


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1          as a -- I've marked the entire interview as a

2          video [verbatim].           And just to orient

3          ourselves, we're going to start by looking at

4          a video clip --

5                              MS. KUCK:        Yeah, do you want to

6                    put...

7          (BY MS. KUCK)

8                    Q.        And we'll provide you with the

9          video so you can include it with the

10         transcript and we'll send it to Mr. Evans as

11         well.

12                        (Discussion off the record.)

13                             MS. KUCK:        Can     you see that,

14                   Mr. Evans?

15         (BY MS. KUCK)

16                   Q.        So I'm just going to start by

17         showing a video clip, which I've marked

18         Deposition Exhibit 1A, which is the first

19         45 seconds of the program to --

20                  (Marked Plaintiff Exhibit No. 1A.)

21                   A.        Hang on a second.

22                             MR. EVANS:         Yeah, take your

23                   time.

24                             THE WITNESS:           Okay.

25                             (Video playing.)


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1          (BY MS. KUCK)

2                    Q.       He talks about sharing the

3          episode on various social media platforms.

4                             Did you share it after -- after

5          the program?

6                    A.       I have no idea.

7                    Q.       Okay.      Do you know if TTV did?

8                    A.       I do not.

9                    Q.       So we're going to play another

10         clip running from 13:02 to 13:53 of the

11         interview, which I am marking as Deposition

12         Exhibit 1B, and then I'll ask you some

13         questions about it.

14                  (Marked Plaintiff Exhibit No. 1B.)

15                             (Video playing.)

16         (BY MS. KUCK)

17                   Q.       There's           you made a reference

18         in there to 12 analysts who worked 16 hours a

19         day for 15 months.

20                            Who are those 12 people?

21                   A.       Mostly was a reference to

22         everybody I could think about.                    It was an

23         estimate and us, you know, contractors for

24         OpSec.

25                   Q        Okay.      And you can't name any


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1          of the analysts?

2                   A.          Me.     Red Metrics.          I'm sure

3          there were others, loads of other people

4          involved.          I don't know.          It was -- it was an

5          estimate.

6                   Q.          So the 12 was an estimate.

7                               How do you know they were

8          working 16 hours a day?

9                   A.          Because everybody was working

10         like crazy trying to finish this.                        It was

11         hard.

12                  Q.         But, again, you weren't

13         personally involved in that, right, you were

14         using contractors to do it?

15                  A.          What we were trying to do --

16         and I think this is what you were trying to

17         ask me earlier.

18                             But what we were trying to do,

19         once the geospatial analysis was done and we

20         started getting chunks of video in, matching

21         that video back into the -- back into the

22         geospatial analysis was difficult and took a

23         lot of time.

24                  Q.          Okay.     So the 12 analysts

25         working 16 hours a day is an estimate based


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1          on   your involvement in the program?

2                   A.         Based on my understanding.

3                   Q.         Okay.      And who -- -- who at Red

4          Metrics was your contact person?

5                   A.         The two owners, Ben and Tim.

6                              MS. HYLAND:           Can    you say that

7                   again.

8                              THE WITNESS:            Ben and Tim.

9          (BY MS. KUCK)

10                  Q.         Is that Ben          Gerwing?

11                  A.         Yeah.

12                  Q.         I'm sorry, Tim Gerwing and Ben

13         Matthews.

14                  A.         Yep.     Sorry.

15                  Q.         And did      you have any other

16         contacts with anyone else at Red Metrics?

17                  A.         I did not.

18                             MS. KUCK:          Can I have

19                  TTV 008470?

20         (BY MS. KUCK)

21                  Q.         So I'm going to mark as

22         Exhibit 11.. .

23                       (Discussion off the record.)

24         (BY MS. KUCK)

25                  Q.         Does the name Rahlouni mean


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1          anything to you?

2                   A.        I'm sorry?

3                   Q.        The last name, Ralooney?

4                   A.        No.

5                   Q.        Was he one of your analysts?

6                   A.        Not for me.

7                   Q.        You don't know of any analysts

8          named Mr. Rahlouni?

9                   A.        I do not.

10                  Q.        You also in there talk about

11         doing the work at the High Performance

12         Computing Center on the campus of Starkville,

13         Mississippi?

14                  A.        Yeah.

15                  Q.        And that statement was -- was

16         then interpreted by people to mean the

17         Portera High Performance Computing Center,

18         right, and people asked you questions about

19         that?

20                  A.        Yeah.

21                  Q.        And, in fact, OpSec leased

22         space in a separate building on the same

23         research park.           Is that accurate?

24                  A.        Correct.

25                  Q.        Yeah.      Let's look at -- well,


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1          and at some point your lease there was

2          canceled, right?

3                   A.         On the day of the premiere of

4          the release.

5                   Q.         Okay.      And why was that?

6                              What's your understanding of

7          why it was canceled?

8                   A.         Because --

9                              MR. EVANS:          Objection; calls

10                  for speculation.

11                             MS. KUCK:          I'm just asking his

12                  understanding.

13                             MR. EVANS:           Two seconds.

14                             I'm just making a record.

15                             MS. KUCK:          Okay.

16         (BY MS. KUCK)

17                  Q.         What's your understanding of

18         why your lease was canceled?

19                  A.         The AP, Associated Press,

20         contacted the Mississippi State University,

21         the president's office, and -- and indicated

22         some things that simply weren't true.

23                             And rather than deal with it,

24         they terminated the lease on the spot.

25                  Q.         What -- what do              you mean


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1          they -- they indicated some things that

2          weren't true?

3                    A.        I don't know.             I wasn't part of

4          it.      That's just what I was told.

5                    Q.         You were told that by whom?

6                    A.        I don't recall.               Someone in

7          Mississippi.

8                    Q.         Let me mark as Exhibit 11 --

9          it's a many-page document bearing control

10         numbers DD 00087 through DD 000131.                        And this

11         is how it was produced to us.

12                             But I'm going to refer you to

13         Page 120.          So you can look through this.

14         I've opened it to the page I'm going to ask

15         you about.

16                  (Marked Plaintiff Exhibit No. 11.)

17                             MR. EVANS:          And is this 11?

18                             MS. KUCK:         Yes.

19                             MR. EVANS:          I don't know if we

20                   got a copy of that.

21                             MS. KUCK:         Oh.

22         (BY MS. KUCK)

23                   Q.        So when you have Page 120, let

24         me know.

25                   A.        Okay.


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1                    Q.        Up at the         top there appears to

2          be a     text from       you that says:             "First

3          casualty of the           movie is my data center at

4          Mississippi State           University.             It was

5          canceled today by MSU. III

6                    A.        Correct.

7                    Q •       You see       that?

8                              And    that's what we               just talked

9          about?

10                   A.        Yes.

11                   Q.        Okay.

12                             MS. HYLAND:             Can    you    tell me

13                   what page       we're on        again.

14                             MS. KUCK:           120.

15                             MS. HYLAND:             Thank       you.

16         (BY MS. KUCK)

17                   Q.        And    then further down,

18         Ms. Engelbrecht says:                 "We're      moving it all

19         offshore anyway."

20                             And    you    respond:          "Exactly."

21                             Do    you see that?

22                   A.        Yes.

23                   Q.        What --       what --         what were       you

24         talking about there?

25                  A.         The cold backup.


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1                   Q.         What do      you mean "the cold

2          backup"?

3                   A.         I believe for all of the video

4          we have -- we have -- when data is live in a

5          system, hot.

6                   Q.         Uh-huh.

7                   A.         And when it's not live or it's

8          not in storage in the system, it's a cold

9          store.

10                  Q•         Okay.      And did you move all the

11         data offshore?

12                  A.         We did.

13                  Q•         Where did you put it?

14                  A.         Norway and Germany.

15                  Q.         Is it still there?

16                  A.         Yes.

17                  Q.         And who has possession of it in

18         those countries?

19                  A.         A contractor.

20                  Q.         Do you know the name of the

21         contractor?

22                  A.        I don't have it right off the

23         top of my head, but I could get that.

24                  Q.         Okay.      And what -- what data is

25         that?


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1                              Is it the geospatial data or

2          what is it that's stored there?

3                    A.        I suspect it's mostly video.

4                    Q.        But you don't know?

5                    A.        I'm not 100 percent sure, but

6          I'm confident it's video.                   By this time this

7          was the day of the movie release.

8                    Q.        Uh-huh.

9                    A.        Is that right?               Yeah.     Okay.

10         Sorry.         I was trying to reorient myself time

11         wise.

12                   Q         Okay.

13                             MS. KUCK:          Thank      you.

14         (BY MS. KUCK)

15                   Q.        I'm going to mark as

16         exhibits           well, actually, while we're on

17         this topic.. .

18                             MS. KUCK:          Can you give me

19                   49423.

20         (BY MS. KUCK)

21                   Q.        I'm going to mark as Exhibit 12

22         a document bearing Bates Nos. DDR-00049422.

23                  (Marked Plaintiff Exhibit No. 12.)

24         (BY MS. KUCK)

25                   Q.        Which appears to be another


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1          another text chain involving you,

2          Ms. Engelbrecht, and Ms. D'Souza.

3                             Do you see that?

4                   A.        Are you talking to her or me?

5                   Q.        You.

6                   A.        Yeah, but I can only see part

7          of it.

8                             What's the context here?

9          What's above it and what's below it?                        Because

10         it cuts off at the bottom and cuts off at the

11         top.

12                  Q.        This is what -- this is how it

13         was produced to us.             But I would refer you to

14         the middle is where I'm going to ask a

15         question.

16                            And there's a text from you

17         that says:        "Guys, y'all may get a request

18         from our office on the campus of Mississippi

19         State University.           First, they canceled my

20         lease on the day the movie was released

21                            "The press is trying to say our

22         office is in an office building next to the

23         data center rather than in it, which is true.

24         Access to data centers is very limited, so

25         this is a common setup."
     l_
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1                             Do you see that?

2                   A.        Yeah.       But I still don't

3          understand the context.

4                             Is this related to the previous

5          text?

6                   Q.        This is how this was produced

7          to us.

8                   A.        Okay.       What's the question?

9                   Q.        Then    you go -- then two below

10         that you say:         "As a private aside, we use

11         this mostly for cold storage of the data and

12         to have a bit of a false flag in case

13         something like this occurred."

14                            What were you talking about

15         there?

16                  A.        You might imagine we're

17         attacked pretty regularly.

18                  Q•        Physically?            Your offices are

19         physically attacked regularly?

20                  A.        We've been physically attacked,

21         sure, but I'm talking about our -- I'm

22         talking about cyber attacks.

23                  Q.        Right.

24                  A.        That's the answer.

25                  Q.        Which -- but -- but that


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1          doesn't matter where an office is.                         That's

2          done virtually?

3                   A.        Sure it does.

4                   Q.        Okay.       So your offices have

5          physically been attacked?

6                   A.        We've had all manner of

7          attacks.

8                   Q.        Okay.       When      you say it was a

9          bit of a false flag, what did you mean by

10         that?

11                  A.        Well, we didn't store all of

12         the data there.

13                  Q•        Okay.       So you were trying to

14         mislead people as to where the data was in

15         case     you got attacked?

16                  A.        I wasn't trying to mislead

17         anybody.

18                  Q.        Well, isn't that --

19                  A.        This didn't come up -- this

20         didn't come up until the AP made it come up.

21                  Q.        Well, when you say "to have a

22         bit of a false flag," what do                    you mean by

23         that?

24                  A.        Just -

25                            MR. EVANS:           Objection; asked


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1                   and answered.

2          (BY MS. KUCK)

3                   Q.        By "a false flag," you mean                     you

4          misled people?

5                             You wanted to mislead people?

6                   A.        I didn't -- I didn't mislead a

7          soul.

8                   Q         Okay.

9                             MR. EVANS:           Objection;

10                  mischaracterizes his prior testimony.

11         (BY MS. KUCK)

12                  Q.        So when       you say "false flag,"

13         what do you mean by that?

14                            Just define the term --

15                            MR. EVANS:           Objection; asked

16                  and answered.

17         (BY MS. KUCK)

18                  Q.        Define the term for me, please.

19                  A.        If someone is going to do a

20         cyber attack on someone's systems --

21                  Q.        Uh-huh.

22                  A.        -- you would want to be certain

23         that you don't have all of your data in one

24         place.

25                  Q         Right.


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1                    A.       And that's this.

2                    Q.       Okay.       So the reason -- you're

3          saying the reason that you had data at the

4          University of Mississippi campus was to have

5          the        a cold storage in a place other than

6          your primary offices?

7                    A.       Yes.

8                    Q.       Did you use any -- did you do

9          any analysis in that office?

10                   A.       No.

11                   Q.       You didn't have any computers

12         there or did you?

13                   A.       Well --

14                   Q.       Did you have any computers at

15         that office?

16                   A.       Yes.

17                   Q.       Super computers?

18                   A.       No.

19                   Q.       Let's mark as Exhibit 13

20         TTV 0008486 through TTV 8493.

21                  (Marked Plaintiff Exhibit No. 13.)

22                            MR. EVANS:           13?

23                            MS. KUCK:           13, uh-huh.

24         (BY MS. KUCK)

25                   Q.       And this seems to be a text


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1          chain with someone by the name of Brian

2          Glicklich.

3                             Can you tell me who he is?

4                   A.       He's a contractor to True the

5          Vote.

6                   Q.       Okay.       And what -- what kind of

7          services did he provide?

8                   A.       I have no idea.                I'm not a --

9          I'm not part of the contract.

10                  Q•       Well, did you have

11         communications with him?

12                  A.       Limited.

13                  Q.       And what -- what type of

14         communications did you have with him?

15                  A.       I don't -- I don't remember.

16         Just friendly conversations.

17                  Q.       Okay.       And you don't know what

18         his -- what services he was providing to TTV?

19                  A.       I don't know exactly.                  You

20         would have to ask Mrs. Engelbrecht.

21                  Q.       Okay.       How about generally?

22                  A.       I don't -- I don't know what

23         you're talking about.

24                  Q•        You -- you have no idea what

25         his --


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1                    A.       Calls for speculation and I'm

2          not going to speculate.

3                    Q.       You can speculate.

4                    A.       I'm not going to speculate.

5                    Q.       Okay.       So you're not willing to

6          tell me generally what you understood his

7          his work for TTV to be?

8                             MR. EVANS:           Objection;

9                    mischaracterizes testimony.

10                   A.       I wasn't part of the contract.

11         (BY MS. KUCK)

12                   Q.       Right.        So are you willing to

13         tell me generally what you understood his

14         work to be for TTV?

15                   A.       No.

16                   Q•       Okay.       Let's -- let's go to

17         another clip of the video, which runs from

18         16:52 to 17:09, which I'm marking as

19         Deposition Exhibit 1E.                 And I will then ask

20         you some questions about it.

21                  (Marked Plaintiff Exhibit No. 1E.)

22                             (Video playing.)

23         (BY MS. KUCK)

24                   Q.       Okay.       What were the -- what

25         ten hubs in Atlanta were                 you referring to?


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1                   A.       I have no idea.                You're going

2          to have to show the whole video.                        I have no

3          idea what the context is.

4                   Q.        You don't remember?

5                   A.        No.    This was one of many.

6                   Q.       Okay.

7                   A.       And several years ago.

8                   Q.       And you don't remember there

9          being discussion about hubs in Atlanta where

10         ballots were picked up?

11                  A.       I don't recall calling them

12         hubs, but it -- that's not -- that's not what

13         you asked.

14                  Q.       Okay.       Do you remember

15         identifying locations in Atlanta where

16         ballots were being collected?

17                  A.        The geospatial analysis would

18         have -- would have rendered some of that.

19                  Q.       So you do remember that?

20                  A.       I don't remember them being

21         called "hubs."

22                  Q.       Although you just                     you did,

23         but you don't remember that, calling them

24         "hubs"?

25                           I mean, you called them "hubs"


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1          on the video.

2                    A.      I think Charlie called them

3          hubs and then I referenced it, but that's why

4          I said I don't know the context.

5                    Q.      Okay.       Did you ever use the

6          term "stash houses"?

7                    A.      Maybe.

8                    Q.      But you can't say it for

9          certain?

10                   A.       That I called something by a

11         stash house?

12                   Q.      Did you -- did you ever call

13         the places in Atlanta where ballots were

14         being collected "stash houses"?

15                   A.      I don't remember.

16                   Q.      Okay.       All right.           Let's go to

17         the next clip, which I've marked as

18         Deposition Exhibit 1C.               It runs from -- oh,

19         here it is.

20                           MS. KUCK:          Quinn.

21                  (Marked Plaintiff Exhibit No. 1C.)

22         (BY MS. KUCK)

23                   Q.      Before we do that, I'm going to

24         mark another document bearing the Bates

25         number of TTV 008427 through TTV _008430.                          I'm


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1          going to mark that as Exhibit 14 [verbatim].

2                             MS. KUCK:           Can we go off the

3                   record for a moment.

4                             THE VIDEOGRAPHER:                All parties

5                   in agreement with going off the

6                   record, we're going off the record at

7                   11:46 a.m.

8               (Break from 11:46 a.m. to 11:47 a.m.)

9                             THE VIDEOGRAPHER:                We are going

10                  back on the record at 11:47 a.m.

11         (BY MS. KUCK)

12                  Q.        Oh, okay.           This is another clip

13         running from 24:29 to 26:02, which I am

14         marking as Deposition Exhibit 1C.

15                             (Video playing.)

16         (BY MS. KUCK)

17                  Q.        Okay.       In that video that is an

18         unblurred video of the plaintiff,

19         Mr. Andrews, correct?

20                  A.        I couldn't see whether it was

21         blurred or not.          My eyes aren't good enough.

22         I'm sorry.

23                  Q.        Okay.       Well, can         you find your

24         answer in there?

25                  A.        Can I find my answer in where?


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1                   Q.        Yeah.      You admitted in your

2          answer to the complaint that these statements

3          were made on the show while there was

4          unblurred video of Mr. Andrews being shown.

5                            Do you have any reason to

6          dispute that?

7                   A.        No.     I just told you I couldn't

8          see it.

9                   Q.       Okay.

10                  A.       It was too far away.

11                  Q.       Okay.       Mr. Kirk says he is one

12         of the 2,000 you profiled --

13                  A.       Actually it sounded to me like

14         he asked a question.

15                  Q.       Okay.       He referred to 2,000 -

16                  A.        Uh-huh.

17                  Q.       -- people you profiled?

18                  A.        Uh-huh.

19                  Q.       Okay.       What did you understand

20         him to mean by that --

21                           MR. EVANS:           Objection;

22                  misstates the facts.

23                           MS. KUCK:          Okay.       We can play

24                  it again if we need to.

25         (BY MS. KUCK)
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1                   Q•        You referred to Mr. Andrews as

2          a "mule."

3                            Am I correct?

4                   A.       I said he was a voter and then

5          I said a mule.

6                   Q.       Right.

7                   A.        Yes.

8                   Q.       And when you said he was a

9          mule, what did you mean by that?

10                  A.        The law requires -- in Georgia

11         the law requires any -- any -- the law

12         requires signatures on the -- for assisters

13         on ballots as Catherine said in the latter

14         part of the clip.

15                           And we had asked -- True the

16         Vote had asked Gwinnett County for all their

17         assisters and they didn't have any.                        And

18         therefore he would meet the category of being

19         a mule.

20                  Q.       So to you a mule is anyone

21         who       who puts in more than one ballot?

22                  A.       I didn't say that.

23                  Q.       Okay.       So define a mule for me.

24                  A.       We already -- we did that

25         earlier.


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1                   Q.        Okay.       So you -- you are just

2          saying a mule, in your understanding, is just

3          anyone who submits a ballot illegally?

4                   A.         Yes.

5                   Q.        And Mr. Kirk says in there

6          that -- when you say it's highly illegal, he

7          says:    "...unless for one of your close

8          relatives."

9                             And you seem to acknowledge

10         that, right?

11                  A.         That's not at all what

12         happened.         Catherine answered the question

13         about -

14                  Q.        Okay.

15                  A.        -- about needing -- about

16         needing assister's signatures.

17                  Q.        Okay.       Is it your testimony

18         that in Georgia in order to -- in order to

19         deposit ballots of your close relatives you

20         need a signature to do that?

21                  A.         The assister's signature is

22         always required

23                  Q.        In order to -- even for

24         relatives?

25                  A.         Yes.


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1                   Q•       Okay.       When -- well, let's just

2          redo it again so we're not confused about the

3          2,000 number.

4                            MS. KUCK:          Can we replay it.

5                              (Video playing.)

6                            MS. KUCK:          You can stop this.

7          (BY MS. KUCK)

8                   Q.       Okay.       Mr.          Mr. Kirk says:

9          "This is the one of the 2,000 you profiled?"

10                           And Ms. Engelbrecht says:

11         "Yes."

12                           Did you just hear that?

13                  A.        Yeah, but I didn't say it.

14                  Q.       Okay.       Do you disagree with

15         that statement?

16                  A.        Yes.

17                  Q.       Why?

18                  A.        The -- the -- going back to the

19         matching of the video --

20                  Q.        Uh-huh.

21                  A.       -- to the thing, you took that

22         video completely out of context.

23                           What they're talking about

24         before and what they're talking about after

25         were something that we called the "Gwinnett


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1          anomaly. II

2                   Q.         Okay.

3                   A.         And so when the video was

4          brought up in Gwinnett, it was brought up in

5          the context of the Gwinnett anomaly.

6                   Q.         Tell me what the Gwinnett

7          anomaly is.

8                   A.        I'm going to mix up my dates

9          here, but on October -- excuse me.

10                             True the Vote submitted a

11         complaint to the state board of elections on

12         this.     You guys have all this.

13                             On or about the 11th of

14         October, there was a pick-up at that drop box

15         in the morning about 7:35 a.m. and there was

16         another pick-up the next day, Monday morning,

17         at about 8:30.          So about 25 hours.

18                            During that 25-hour period,

19         approximately 271 people approached the drop

20         box, placed about 400 ballots or so into the

21         drop box.         But on the chain of custody

22         document, it showed 1962 ballots.

23                             And, in fact, on the morning --

24         the Monday morning pick-up, the video with

25         that shows them getting thousands of -- of


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1          documents -- of ballots out and putting them

2          into a -- a black -- a black sort of carrying

3          pouch and then they walked off with it,

4          violating all sorts of terms of the rules of

5          engagement, the -- the chain of custody

6          documents were improperly done.

7                             They said they weren't turned

8          in until 11 o'clock that morning.                       There were

9          lots of problems with the Gwinnett anomaly.

10                           And -- and what was submitted

11         to the state board of elections, which they

12         never still to this moment have not ruled on,

13         is what was -- what was happening.                       What was

14         this all about.

15                           So what you just showed me from

16         Charlie was sandwiched in between the

17         discussion about the Gwinnett anomaly.                         So

18         when Charlie said, This is Gwinnett.

19                           It was said in that context.

20         That said, that's Charlie's show.                       We had no

21         editorial control whatsoever over what

22         Charlie says, does, or produces.

23                  Q.       Well you didn't -- before we go

24         to there, the complaint that you filed with

25         the board of elections, that's been


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1          withdrawn, right?

2                   A.        No.

3                   Q.       Okay.       Did you withdraw any

4          complaint with the Georgia board of

5          elections?

6                   A.       I don't think so.                I have no

7          idea.     I didn't submit them.                  True the Vote

8          did.

9                   Q.        That's a True the Vote

10         question?

11                  A.        Uh-huh.

12                  Q.       Did -- you're aware that the

13         State of Georgia subpoenaed True the Vote for

14         the information that they used in the

15         complaint?

16                  A.        That's false.

17                  Q.       It's false that they subpoenaed

18         the information?

19                  A.        They had nothing to do -- they

20         subpoenaed nothing about the Gwinnett

21         anomaly.

22                  Q•       Okay.       But they subpoenaed

23         certain information?

24                  A.        No.    They subpoenaed us.

25                  Q.       Right.
                                                                                      I
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1                   A.        It had nothing to do with this.

2                   Q•        But it was in connection with

3          that complaint?

4                   A.        No, it was not.

5                   Q.        It was a different complaint?

6                   A.        It wasn't in conjunction with

7          any complaint we made.                 They wanted the name

8          of someone that was a whistleblower in the

9          case.

10                  Q•        Okay.       And you -- a

11         whistleblower in the -- in the case that you

12         submitted to them --

13                  A.        No.

14                  Q•        -- in the complaint?

15                  A.        No.

16                  Q•        In what case?

17                  A.        In the -- in the -- the ballot

18         harvesting adventure.                All of it.

19                            Somebody came to us with some

20         information and they wanted -- they wanted

21         the person subpoenaed.

22                            They didn't care about the

23         complaint.        They never ruled on the

24         complaint.        They never did anything.                    They

25         never investigated the complaint.


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1                            In fact, when the state board

2          of elections had to hire some guy who

3          completely misspelled his -- his name, he

4          misspelled "secretary," he misspelled

5          everything, and we didn't even know if it was

6          real.

7                             The guy called Mrs. Engelbrecht

8          and said, I'm now an investigator for the

9          state board of elections.

10                           And excuse my language, but I

11         believe what he actually said was, We don't

12         give a shit what you submitted.                     We just want

13         the name of the whistleblower.

14                  Q.       But your testimony is that TTV

15         has never withdrawn any complaint that it

16         filed in Georgia?

17                  A.       We tried, one of them.                   There

18         were three submitted that day.

19                  Q.       Right.        And you tried -- so

20         there was one withdrawn?

21                  A.        No.    They wouldn't let us

22         withdraw it.

23                  Q.       Okay.       You tried to withdraw

24         one?

25                  A.       We tried.


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1                   Q.       Okay.

2                   A.       But they refused to

3          investigate.

4                   Q.       So going back to the -- the

5          2000 number that Mr. Kirk uses and

6          Ms. Engelbrecht says, Yes, do you understand

7          what he was referring to?

8                   A.       I would be speculating.

9                   Q•        You can speculate for purposes

10         of the deposition.

11                  A.       I'm not going to speculate.

12                  Q•       What was your understanding?

13                  A.       I don't have one.

14                  Q.       Okay.       So you have no idea what

15         he was talking about and what Ms. Engelbrecht

16         was talking about?

17                  A.        You would have known a lot more

18         had you not taken them out of context.                         So if

19         you want to watch it all in context, the

20         whole hour-long thing, I'm happy to do it.

21                  Q.       Okay.       But you can't tell me --

22         you have no understanding of what the 2000

23         reference is?

24                           MR. EVANS:           Objection; asked

25                  and answered.


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1                   Q         Okay.       Did you

2                             THE REPORTER:                 I'm sorry, I did

3                   not get an answer from him.

4                             MS. KUCK:           Oh, okay.

5          (BY MS. KUCK)

6                   Q.        You have no understanding --

7                   A.        No.

8                   Q.        -- what the 2000 referred to?

9                             Did you object at any time

10         during the taping that Mr. Kirk was using on

11         blurred video?

12                  A.        I didn't -- I didn't know.

13                  Q•        Even at the time                you didn't

14         know it was unblurred?

15                  A.        I didn't have my glasses on.

16                  Q.        So during the                   your testimony

17         is during this interview                 you did not

18         realize --

19                  A.        Watch it.           I don't have my

20         glasses on.

21                  Q.        Strike that.

22                            When -- at the time of the

23         interview --

24                  A.        Uh-huh.

25                  Q.        -- is it your testimony that at

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1          that time you didn't understand that the

2          video being played on the show was unblurred?

3                   A.        Yes.

4                   Q.        That is your testimony?

5                   A.        Yes.

6                            MR. EVANS:           Objection; asked

7                   and answered.

8          (BY MS. KUCK)

9                   Q.       Okay.       With respect to the --

10         the individual shown on the videotape that we

11         just watched, do you have any evidence that

12         that person was engaged in any ballot

13         harvesting?

14                  A.       What's ballot harvesting to

15         you?

16                  Q.       What is ballot harvesting?

17                  A.       He put more ballots -- the law

18         compels there to be assister signatures.

19                  Q.        Uh-huh.

20                  A.       He put five ballots in the drop

21         box.     He violated the law.                There are no

22         assister signatures in Gwinnett County.

23                  Q.       But do you -- do you

24         characterize that as ballot harvesting?

25                  A.       I didn't characterize that.


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1          You did.

2                   Q.        I'm ask             what do you

3          understand "ballot harvesting" to mean?

4                   A.        It's a nebulous term.                     Anybody

5          uses it.      It just doesn't mean anything.

6                   Q.        Not a term you've ever used?

7                   A.        Maybe.        No idea.

8                   Q.        You don't -- you don't have an

9          understanding of that term?

10                  A.        I don't know what your                       I

11         don't know what you're asking me.

12                  Q.        Okay.       Do you have any evidence

13         that that particular individual went to more

14         than one drop box?

15                  A.        No, but that wasn't the

16         question.

17                  Q.        That's my question now.

18                  A.        No.

19                  Q•        Okay.       Do you have any evidence

20         that that particular individual was paid to

21         deposit those ballots?

22                  A.        That's not what was asked.

23                  Q.        I'm asking you now.                  Do    you

24         have any evidence

25                  A.        No.


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1                   Q.       -- that that particular

2          evidence

3                   A.        No.

4                   Q.       -- that -- okay.

5                            Do you have any evidence that

6          that particular individual picked up ballots

7          from any nonprofit organization?

8                   A.       I have no idea.

9                   Q.       Okay.       And other than the --

10         the fact that he was putting in more than one

11         ballot, do you have any reason to allege that

12         he was doing anything illegal?

13                  A.        Yes.     There are no assister

14         signatures in Gwinnett County.

15                  Q.       Right.        So, therefore, you

16         contend that because he was putting in more

17         than one ballot it must have been illegal?

18                  A.        That's the law.

19                  Q.       Okay.       That's why you called

20         him a mule, you're saying?

21                           MR. EVANS:           Objection; asked

22                  and answered.

23         (BY MS. KUCK)

24                  Q.       Okay.       That's why you're

25         calling him a mule?


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1                    A.        I didn't call him a mule.

2                    Q.        You did on the video.

3                    A.        Whatever.         It was just a

4          passing thing.

5                    Q.        Okay.      But that -- when you

6          used the term "mule," is that what you meant?

7                    A.        Likely.

8                              But, again

9                              MR. EVANS:          There's no pending

10                   question.

11                             MS. KUCK:         No pending question.

12         (BY MS. KUCK)

13                   Q.        Let's -- let's mark as

14         Plaintiff's Deposition 14...

15                        (Discussion off the record.)

16         (BY MS. KUCK)

17                   Q.        Okay.      Let's mark as

18         Plaintiff's Deposition Exhibit 15 -- right,

19         this is the number -- a document bearing

20         Control No. TTV 008427 through TTV 008430.

21                  (Marked Plaintiff Exhibit No. 15.)

22         (BY MS. KUCK)

23                   Q.        This seems to be an e-mail

24         chain between        you and Mr. Glicklich.

25                             Do you see that?


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1                   A.       I do.

2                   Q.       Okay.       And we talked about

3          Mr. Glicklich before and you're not -- you

4          don't have a general understanding as to what

5          services he was providing for TTV?

6                   A.       I really don't.

7                   Q.       And why were you providing

8          information to him?

9                   A.       Likely Catherine asked me.

10                  Q.       And you didn't ask her who he

11         was or why you should provide the

12         information?

13                  A.       Above my pay grade.

14                  Q.       Okay.       If you turn to

15         Page 8429.

16                  A.       Okay.

17                  Q.       And he seems to be asking you a

18         number of questions in connection with an

19         article that Philip Bump of The Washington

20         Post was doing.

21                           Do you remember that?

22                  A.       Philip Bump wrote 27 articles

23         about us.

24                  Q.       Okay.

25                  A.       Hard to know which one.                   Can


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1          you read it?

2                   Q.       I'm not asking you about which

3          one.     I'm just saying you know who Philip

4          Bump is and you know he's a reporter?

5                   A.        Yeah.

6                   Q.       Okay.       And you were

7          corresponding with Mr. Glicklich about how to

8          respond to Mr. Bump, right?

9                   A.       Apparently.

10                  Q.       Okay.       If you look at -- on

11         8429 about halfway down, Mr. -- well, let's

12         start at the end, actually.

13                           On 8430, Mr. Bump sends you an

14         e-mail that says:           "Good afternoon.               Two

15         questions for a story I'm working on

16         currently."

17                           And the first question is:

18         "Can you explain the work of Azzedine

19         Rahlouni did on the data analysis used for

20         2000 Mules?"

21                           Do you see that?

22                  A.       I do.

23                  Q.       Okay.       And then Mr. Glicklich

24         asks you for a little more detail on these

25         answers?


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1                   A.        Can you tell me where?

2                   Q.       8429.       That's -- you say                  you

3          say:     "Guys, see Bump's questions below.

4          Time's up."

5                            And then he responds.

6                   A.       Who responds?

7                   Q.       Mr. Glicklich right in the

8          middle of the page where it says on July 18

9          at 1:05 p.m.?

10                  A.       Oh, I see.           I'm sorry, I missed

11         it.      Yes, I'm with you.

12                  Q.       He -- he -- and the second line

13         down, he asks the question:                      "Are we claiming

14         that Rahlouni never did any data analysis on

15         2000 Mules or are we claiming that any

16         analysis he reports to have is flawed?"

17                           Do you see that?

18                  A.        Yep.

19                  Q.       And then             and then in your

20         response, which is above, you say:                       "His name

21         is on the metadata of one of the files that

22         GBI was given access to by the FBI.                        He was

23         one of our analysts."

24                           Do you see that?

25                  A.       I do.


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1                   Q         Okay.       So I asked you earlier

2          if Mr.        if you knew Mr. Rahlouni and you

3          said no?

4                   A.        I didn't recognize his name.

5                   Q.        Okay.       So was he one of your

6          analysts?

7                   A.        He wasn't one of mine.                   He

8          worked for Red Metrics, apparently.

9                   Q.        So when       you said "our

10         analysts," you meant Red Metrics?

11                  A.        I guess.          I don't know.

12                  Q.        Okay.       And then why -- why

13         didn't you identify him when I asked you the

14         names of the analysts?

15                  A.        Because I didn't know who it

16         was.

17                  Q         You didn't know who it was

18         when?

19                  A.        I didn't recognize the name

20         when     you asked me for whatever his name is.

21         I can't even pronounce it.

22                  Q.        But in this e-mail you're --

23         you're acknowledging that he was one of the

24         analysts?

25                  A.        I -- apparently.


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1                    Q.        Any other analysts that you can

2          think of now that I've showed you the name of

3          at least one?

4                    A.        No.

5                              MS. KUCK:         Off the record for a

6                    second.

7                              THE VIDEOGRAPHER:               All parties

8                    in agreement with going off the

9                    record, we're going off the record at

10                   12:07 p.m.

11              (Break from 12:07 p.m. to 12:09 p.m.)

12                             THE VIDEOGRAPHER:               We are going

13                   back on the record at 12:09 p.m.

14         (BY MS. KUCK)

15                   Q.        I'm going to mark as

16         Plaintiff's Deposition Exhibit 16 a one-page

17         document bearing Bates No. TTV 007399.

18                  (Marked Plaintiff Exhibit No. 16.)

19                             MR. EVANS:          Are you good,

20                   Gregg, for a little bit longer?

21                             THE WITNESS:            Yeah.        Yeah.

22                             MS. KUCK:         Just 15 minutes

23                   maybe.     Maybe, if that.

24         (BY MS. KUCK)

25                   Q.        Okay.      So this is an e-mail


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1          from Jim Hoft to          you, Ms. Engelbrecht, and a

2          Patty McMurray, Re podcast invitation.

3                             Do you -- do            you recall him

4          being with Gateway Pundit?

5                   A.        Yes.

6                   Q.        And do you recall that you and

7          Ms. Engelbrecht appeared on that podcast?

8                   A.        I don't, but it doesn't

9          surprise me.

10                  Q.        Okay.       He says:          "We have a

11         couple clips of ballot traffickers you ran

12         during your Charlie Kirk interview.                         If you

13         have anything else, please send it to us by

14         the 4:00 p.m. ET interview."

15                            Do you see that?

16                  A.        I do.

17                  Q.        Okay.       And you -- you did

18         appear on that podcast, correct?

19                  A.        Which podcast?

20                  Q.        The one -- the Gateway one in

21         April.

22                  A.        I don't recall.

23                  Q.        Okay.       Do you have any reason

24         to believe you didn't?

25                  A.        No.


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1                   Q.        Okay.       Do you -- he says he has

2          a couple clips of ballot traffickers you ran

3          during the Charlie Kirk interview.

4                   A.        Uh-huh.

5                   Q•        Did you -- did you correct him

6          in any way and say, Oh, wait a minute, those

7          weren't ballot traffickers?

8                   A.        I -- I -- I don't know I -- I

9          don't even know if I even saw this.

10                  Q.        Okay.       It's sent to             you, but

11         you don't remember seeing it?

12                  A.        Didn't make any difference.

13                  Q.        What do       you mean it doesn't

14         make any difference?

15                  A.        We were busy.

16                  Q.        Okay.       Are you aware that the

17         unblurred footage of the plaintiff was run

18         again on the Gateway podcast?

19                  A.        I'll say yet again that we

20         didn't run anything.               We had no editorial

21         control over what Charlie ran.

22                  Q.        That's right.                 But he says he

23         has the clips from Charlie, although he says

24         you ran but --

25                  A.        That makes no sense.


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1                   Q•         Okay.      You didn't tell him

2          that, though.

3                              All right.          So you didn't

4          object to him using those clips as far as you

5          know, do you -- did you?

6                   A.        I didn't give him the clips.

7                   Q.         Right.       But he -- you were just

8          on The Charlie Kirk Show.                   You knew what

9          clips he had.

10                  A.        I had no idea.

11                  Q.         Okay.      And he -- are you aware

12         that during that podcast he ran again the

13         clip of the plaintiff unblurred?

14                  A.        I am not.

15                  Q.         Okay.

16                  A.        Didn't get it from me.

17                  Q.        I'm not asking if he got it

18         from you.         I'm asking you whether, when you

19         were on his program, he ran it.

20                  A.        I don't remember.

21                  Q.         Are you aware of any other

22         interviews where the unblurred footage of the

23         plaintiff was used?

24                  A.        I'm not even aware of those.                      I

25         wasn't aware on Charlie's.                    Wasn't -- no


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1          recollection of Hoft's.

2                   Q•        And your testimony is you

3          weren't aware on Charlie's because you didn't

4          have your glasses on?

5                   A.        We didn't give him the clip.

6          We weren't in charge of Charlie's program.

7                   Q.         No, but you were sitting with

8          Mr. Kirk looking at the footage on the

9          computer.         He was running the footage and you

10         were looking at it.

11                  A.         Yeah, that's exactly what I'm

12         saying.

13                  Q.        Right.

14                  A.        But my eyesight is bad.

15                  Q.        All right.

16                  A.         That's what I'm saying.

17                  Q.        All right.           Where did he get

18         that footage?

19                  A.        Who knows.

20                  Q.        Okay.

21                  A.         Not from us.

22                  Q.        How did it -- how did it come

23         to you that you and Ms. Engelbrecht were on

24         his program?

25                  A.        Don't recall.              We were out


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1          in -- about that time we were out in Phoenix

2          at a -- I think maybe speaking to a

3          legislative group or something.                         I don't

4          really recall.

5                   Q.         And he asked you to be on?

6                   A.         Uh-huh.        We're on a lot of

7          podcasts.         We do probably -- each, probably

8          ten a week.

9                   Q.        Right.        And how many of them

10         during this period of time were relating to

11         2000 Mules?

12                  A.         No idea.

13                  Q.         Okay.      Too many to remember?

14                  A.         Maybe.

15                  Q.         You don't remember?

16                  A.        I don't.

17                  Q.         And there were a lot of them?

18                             MR. EVANS:          Objection;

19                  misstates testimony.                    Asked and

20                  answered.

21         (BY MS. KUCK)

22                  Q.        During this period of time were

23         you on a lot of podcasts talking about the

24         2000 Mules project?

25                  A.        I wasn't on a lot, but I think


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1          Mrs. Engelbrecht was on a good bit more than

2          me.

3                   Q.        Right?

4                   A.        But I was on a few.

5                   Q.        Okay.       Do you remember how many

6          she was on?

7                   A.        No idea.          I'm not in charge of

8          her schedule.

9                   Q•        The Gateway Pundit -- well,

10         strike that.

11                            Do you know who Patricia

12         Jackson is?

13                  A.        Name rings a bell but I

14         don't -

15                  Q.        The publicist who worked with

16         Mr. D'Souza's company on 2000 Mules.

17                  A.        She didn't work with me.

18                  Q.        You had no contact with her?

19                  A.        I don't ever recall speaking

20         with her.

21                  Q.        Do you remember him having a

22         publicist?

23                  A.        I'm sure he did.

24                  Q.        Your testimony is you never

25         spoke to her?


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1                   A.        My testimony is I don't recall

2          ever speaking to her nor was I ever on a show

3          that she set me up on.

4                   Q.        Okay.      Do you remember speaking

5          to any publicist hired by Mr. D'Souza?

6                   A.        No.     We had a very limited

7          role.

8                   Q.       Did you coordinate the

9          publicity for 2000 Mules with Mr. D'Souza?

10                  A.        No.     It was out of the scope.

11         I was asked to provide some limited video and

12         some limited research.

13                  Q.        And your testimony is that's

14         all you did?

15                  A.        My testimony is that's all that

16         we were contracted to do.

17                  Q.        Okay.      What did you actually

18         do?

19                  A.        You know, we ended up on the

20         movie.        I guess you saw that.

21                  Q.       I did see that.

22                            So you gave interviews for the

23         movie?

24                  A.       I don't recall -- I gave a few,

25         but none through Dinesh's team.


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1                   Q.       Right.        Did you coordinate

2          publicity for the movie?

3                   A.       I've already answered this.

4          No.

5                   Q.        No, you did not?

6                   A.       I did not.

7                   Q.       Okay.       Did Ms. Engelbrecht?

8                   A.        No idea.         I'm not in control of

9          her calendar.

10                  Q.       And you were                   as you said,

11         you were in the 2000 Mules film, correct?

12                  A.       I was.

13                  Q.       Okay.       Did you --

14                  A.       I wasn't part of the contract,

15         though.       I was contracted to provide video

16         and some limited research.

17                  Q.       And what contract are you

18         referring to?

19                  A.       I can't remember what it was

20         called.       The agreement between -- between

21         Dinesh and          and True the Vote.

22                  Q.       But I believe you said earlier

23         you don't -- you've never seen a copy of that

24         contract?

25                  A.       I may have seen it but I wasn't


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1          party to it so it wasn't part of my -- my

2          world.

3                   Q.        How -- how long were                 you taped

4          in your interview -- strike that.

5                             There is footage of you in the

6          film 2000 Mules.

7                   A.        Uh-huh.

8                   Q.        How -- how long did you tape

9          interviews for that movie?

10                  A.        A few hours.

11                  Q.        Less than ten?

12                  A.        Yeah.

13                  Q.        Did all of the footage make it

14         into the movie?

15                  A.        No.     We had no editorial

16         control.

17                  Q.        Did you approve the trailer for

18         the movie?

19                  A.        Which trailer?

20                  Q.        Trailer for the 2000 Mules

21         movie?

22                  A.        Which trailer?

23                  Q.        Any trailer?

24                  A.        No.

25                            We had no editorial control.


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1                     Q        That wasn't my question.

2                              My question          was:      Did   you

3          approve any trailer for the movie?

4                              MR. EVANS:          Asked and answered;

5                     objection.

6          (BY MS. KUCK)

7                     Q.       I'm not asking about control

8          I'm just asking if you approved it or not

9                              MR. EVANS:           He just answered

10                    the question.         I'm reading the

11                    question and answer right here.

12         (BY MS. KUCK)

13                    Q.       And is the answer no?

14                    A.       You already know it's no.

15                    Q.       Okay.

16                             MS. KUCK:          I think that's

17                    probably a good spot to stop for

18                    lunch.

19                             THE VIDEOGRAPHER:               All parties

20                    in agreement with going off the

21                    record, we're going off the record at

22                    12:18 p.m.

23                  (Break from 12:18 p.m. to 1:32 P.m.)

24                             THE VIDEOGRAPHER:               We are going

25                    back on the record at 1:32 p.m.


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1          (BY MS. KUCK)

2                    Q.        Okay.     Mr. Phillips, you said

3          you don't have any position currently at True

4          the Vote; is that right?

5                    A.        Yes, ma'am.

6                    Q.        And the only position you ever

7          held was as a director for a limited period

8          of time?

9                    A.        As a board member.

10                   Q.        As a board member.              I'm sorry.

11                             Did you ever have a True the

12         Vote e-mail?

13                   A.        I don't know.            I don't think

14         so.      No idea.

15                   Q.        Okay.     Let's mark as

16         Plaintiff's Exhibit 17 a document bearing

17         Bates No. TTV 06 -- I'm sorry -- TTV_09860.

18                  (Marked Plaintiff Exhibit No. 17.)

19         (BY MS. KUCK)

20                   Q.        Let's see.         We talked this

21         morning a little bit about the meaning of

22         ballot harvesting, and you said it's a

23         nebulous term.

24                             Do you remember that?

25                   A.        Yeah, I think so.


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1                   Q.       Okay.       If -- if we -- this is

2          a -- a post by True the Vote.

3                            And they -- it says:                  "To

4          understand this quote" -- and there's a

5          quote -- but it says:               "You must first

6          understand ballot harvesting.                    This is when

7          absentee ballots are collected and taken to a

8          ballot box by someone who isn't a member of

9          your immediate family."

10                           Do you see that?

11                  A.        Uh-huh.

12                  Q.       If we use that definition for

13         ballot harvesting, do you have any evidence

14         that plaintiff, Mr. Andrews, was engaged in

15         ballots -- ballot harvesting?

16                  A.        That requires me to speculate.

17                  Q•       Do you have any evidence, was

18         my question?

19                           I'm not asking you whether he

20         was or he wasn't.           I'm asking if you have any

21         evidence that he was.

22                  A.        There was no evidence that

23         anyone signed as an assister on those

24         ballots.

25                  Q.       Right.


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1                   A.        That's the evidence.

2                   Q.       But do you have any evidence

3          that he collected ballots from anyone who was

4          not a member of his immediate family?

5                   A.        No.

6                   Q.       We also talked about the number

7          of persons in Atlanta that were included in

8          the analysis turned over to the FBI, and we

9          were talking about the 242 number.

10                  A.        Yes, ma'am.

11                  Q.       Do you remember that?

12                  A.       I do.

13                  Q.       Okay.       For purposes of that

14         analysis, to be included in the 242, what was

15         the criteria?

16                  A.       I think it was ten or more drop

17         boxes during the target period, and I think

18         maybe three NGOs or outside organizations.                           I

19         can't remember the final, but it was

20         something close to that.

21                  Q.       Okay.       And you would count

22         those 242 people as ballot traffickers,

23         right, the definition we used?

24                  A.        You know, again, I mean,

25         it's -- I mean, the -- the phrase --


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1          phraseology is in the eye of the beholder.                           I

2          don't know what I would call them.

3                     Q.     Okay.

4                     A.      They're persons of interests,

5          certainly.

6                     Q.     Would you call them mules?

7                     A.     I might.

8                     Q.     Okay.       Let me mark TTV 9858.

9                   (Marked Plaintiff Exhibit No. 18.)

10         (BY MS. KUCK)

11                    Q.     I'm marking as Plaintiff's

12         Exhibit 18 a document bearing the Bates

13         No. TTV 09858.         And the Bates number is very

14         tiny, but we did verify it.

15                           And this is a -- a post from

16         True the Vote from August 30, 2021.                        And you

17         see that, 242 Georgia ballot traffickers?

18                    A.     I do.

19                    Q.     Is that the reference to the

20         same 242 people you were talking about?

21                    A.     I don't know.              This isn't my

22         social media account.

23                    Q.     Okay.       Can you get -- pull out

24         Exhibit 6.

25                    A.     Okay.


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 1                   Q.       And I'm going to be asking you

 2          about your response to Interrogatory No. 7

 3                   A.       Okay.       What page is that on?

 4                   Q.       Page 17.

 5                            And in the second paragraph,

 6          the question I have for you is about the

 7          sentence that says:             "Because Gwinnett County

 8          didn't provide video until much later, True

 9          the Vote did not extend the Atlanta Metro

10          area geolocation pattern study to incorporate

11          when that county video."

12                             Can you explain that sentence

13          to me.

14                   A.       Sure.       In -- once -- once

15 I        you've identified -- or once we were able to

16          identify the 242, then we went through the

17          arduous process, then, of trying to figure

18          out was there a corresponding video that -

19          that might match that individual at that box

20          at that time.

21                            And that's where we came up

22          with the 70 or so videos and the 242 IMEIs

23          that we presented to the -- to the                          to

24          Dinesh and Debbie.

25                   Q.       Okay.


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1                   A.       Mr. and Mrs. D'Souza.                  Sorry.

2                   Q.        The -- but I guess I'm trying

3          to understand the link here.                     It said:      "We

4          didn't extend the geolocation pattern study

5          to incorporate Gwinnett County video."

6                            Are you saying you -- that --

7          was there a study done of the Atlanta Metro

8          area?

9                   A.        Yeah.      That's how we matched

10         the 70 that we were able to match.

11                  Q.       Okay.       But what does it mean

12         that True the Vote did not extend the pattern

13         study to incorporate Gwinnett County?

14                  A.       We didn't go back and then try

15         to figure out was there Gwinnett video that

16         matched any Gwinnett drop box visits.

17                  Q.       Okay.       So for purposes of

18         Gwinnett County, there was no matching done

19         between the geospatial location data and the

20         video?

21                  A.       Right.

22                  Q•       Because you got the video too

23         late?

24                  A.        That's right.

25                  Q.       So there -- so in the 70 video


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1          cuts that you provided --

2                   A.        Uh -huh.

3                   Q•       -- those would not have

4          included people in Gwinnett County?

5                   A.       Correct.

6                   Q.       And the 70 video cuts, were

7          they only people within the 242 that met your

8          criteria about going to ten drop boxes?

9                   A.        Yes, as best we could tell.

10                            The problem with the video

11         matching is there are                  any kind of

12         surveillance video is                  is subject to one's

13         ability to -- to access the correct viewing

14         software, right.

15                            There might be different

16         formats, in other words.

17                  Q.        Uh-huh, sure.

18                  A.       And -- and many, if not all, of

19         the cameras around -- and there weren't that

20         many, but the few cameras that were around,

21         many of them had different viewing software.

22         So even if we had it -

23                  Q.        Yeah.

24                  A.       -- it didn't always mean we

25         could see it —
                                                                                      I
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1                   Q.       Right.        Okay.

2                   A.       -- number one.

3                             Number two, the -- the -- the

4          positioning of the video was often not -- not

5          very clear.

6                   Q.       Okay.

7                   A.       So it might be                 you know, if

8          it was at night in the rain

9                   Q.       Right.

10                  A.       -- or whatever, I mean, these

11         cameras were not set up to be that way.

12                            That said, the law -- the law

13         compelled any county in Georgia that had drop

14         boxes to have surveillance video on them.

15                  Q.        Uh -huh.

16                  A.       And that was also false.                    They

17         did not.

18                  Q.        They didn't com- -- your -- you

19         found that they did not comply with the

20         requirement?

21                  A.        That's correct.

22                  Q.       Okay.

23                  A.       And so it left gaps.

24                  Q.       Right.        So any video in the

25         film that is of a Gwinnett County voter would


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1          not have been linked to your geospatial

2          analysis, right, because you didn't match

3          those two up?

4                   A.         That's correct.

5                   Q.         Okay.      And so for that reason,

6          you know you didn't match the plaintiff video

7          with the geospatial because he's in Gwinnett

8          County?

9                   A.        I think that's fair, yes.

10                  Q.         Yeah.      Okay.

11                             How many -- of the 70 that you

12         gave, how many of them had been linked and

13         how many of them hadn't?

14                  A.         All of them had been linked in

15         some way.         I mean, again, the challenge was

16         that -- that, you know, the -- the -- there

17         wasn't a hundred percent certainty, because

18         there were a lot of things going on that

19         can -- that can change, you know, like -- I

20         don't have a great example -- a time zone.

21                  Q.         Uh-huh.

22                  A.         You know, the time zones

23         weren't changed on the cameras -

24                  Q•         Right.       Right.           Sure.

25                  A.             or some of them didn't even


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1          have the -- the metadata in there

2                   Q.        Yes.

3                   A.       -- with the timing.

4                   Q.        Uh-huh.

5                   A.       So you would be unable to

6          actually review those.

7                            But -- but the answer is that

8          most -- all of the ones that we provided, we

9          did match to the best of our ability, but it

10         wasn't a hundred percent certain.

11                  Q.       But there are some Gwinnett

12         County videos, including of the plaintiff, in

13         the film?

14                  A.        Yes.     We -- we didn't provide

15         that in the initial 70.                What happened was

16         and you can see in some of the e-mails

17                  Q•        Uh -huh.

18                  A.       -- they were trying -- as I

19         recall, Mrs. D'Souza -- Mrs. D'Souza wrote

20         Cath- -- Mrs. Engelbrecht and -- and asked

21         for a -- more videos.

22                           I think -- I think she said, We

23         need thousands or something.                     And I may be

24         mischaracterizing that.                I don't recall where

25         I saw it, but it's in here somewhere.


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1                   Q.        Uh -huh.

2                   A.       And -- and I was in the thread

3          and sort of objected and said, I think that's

4          out of scope.

5                            We ended up sending more video,

6          but we had no control over what ended up

7          happening with it.            And it wasn't associated

8          with the 242 mules.

9                   Q.       Okay.

10                  A.       So -- so the way it was

11         described to us what was going to happen --

12         and I think you see it in -- maybe see it in

13         one of the trailers or something

14                  Q•        Uh -huh.

15                  A.       -- that they were -- what they

16         wanted from the -- the videos was the ability

17         to create -- there's like a matrix they

18         create --

19                  Q.       Sure.

20                  A.       -- that happens somewhere in

21         the video

22                  Q.        Yeah.

23                  A.       -- where it shows like a

24         thousand pictures.

25                  Q.       Right.


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1                   A.       And we were assured that

2          that -- you know, that those people would all

3          be blurred and, you know, whatever, because

4          we -- you know, we made it clear, we haven't

5          done -- you know, this is -- this is raw

6          video that's, you know, outside of the scope

7          of our contract and what we were to provide,

8          which was, you know, a limited set of video

9          and a limited set of research on -- on the

10         242 people.

11                  Q.       And so Mr. and Mrs. D'Souza

12         were aware that that additional video had not

13         been linked to the geospatial?

14                  A.       I -- I've only read that e-mail

15         one time, and so I'm only recalling from

16         memory.       I -- I would have to refer to the

17         e-mail.       And I don't know where it is.                    I

18         know it's in here somewhere, but...

19                  Q.       Okay.       But do you recall at any

20         point any conversation about there being

21         non-mules in the video -- in the film?

22                  A.        Non-mules?

23                  Q.        Yeah.

24                  A.       I don't know that there were

25         any non-mules in the film.


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1                             There were mules apparently

2          that didn't meet the standard of the 242, the

3          ten and three or whatever it was.

4                   Q.        Uh-huh.

5                   A.       But they would have met a

6          different -- you know, in our case and in the

7          case of the video we saw in The Charlie Kirk

8          Show, it would have -- it -- it would have

9          been that -- that video would have been

10         outside of the 242.

11                           Does that make sense?

12                  Q.       Right.        Because you're defining

13         mules to be something broader than the 242?

14                  A.       Best way I could describe it

15         would be mules with a small M, because mule

16         meaning these people were depositing ballots

17         beyond their own ballot not consistent with

18         the law.

19                  Q.       Because you're defining mule

20         not to have to meet the criteria of the ten

21         and the five.        You're defining mule much more

22         broadly.

23                           You're saying it's anybody that

24         put in a ballot and they shouldn't have?

25                  A.       Yes.


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1                    Q•       Okay.       And -- and what is your

2          understanding of how it was defined in the

3          film?

4                    A.       I don't recall.

5                             Are    you done with this one?

6                    Q.       For the time being.

7                    A.       6.

8                    Q.       Keep it handy for the time

9          being.

10                   A.       I'm trying to keep organized

11         over here.

12                   Q.       I know.         It gets to be a mess.

13         I'm sorry.

14                            Could we mark TTV 00145

15         through -- I'm sorry -- TTV 007145 through

16         7148.      And that is going to be

17                            MS. KUCK:           I'm out of stickers.

18                            Oh, you're too good.

19         (BY MS. KUCK)

20                   Q.       That's going to be No. 19.

21                  (Marked Plaintiff Exhibit No. 19.)

22         (BY MS. KUCK)

23                   Q.       And let me ask                you if you

24         recognize this document.

25                   A.       I don't recognize the cover


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1          page.

2                   Q.       Okay.       Do you recognize the

3          attachment?

4                   A.       I only recognize it in that I

5          assume it -- I mean, I can't assume.

6                            I think it's one of the

7          complaints that was made by True the Vote to

8          the state board of elections.

9                   Q.       And did you have any role in

10         preparing those complaints?

11                  A.        No.    I think I -- I think our

12         attorney did.

13                  Q.       And who worked with the

14         attorney to prepare them and give them the

15         information?

16                  A.       I don't recall.

17                  Q.       Do you recall if you provided

18         any information that the attorneys used in

19         the complaints?

20                  A.       I don't recall.

21                  Q.       Do you aware -- do you recall

22         being aware at any point of any inaccuracies

23         in any of the complaints that were filed with

24         Georgia?

25                  A.       I really don't remember.


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1                   Q.         There may have been

2          inaccuracies in them but you don't remember?

3                   A.        I didn't say that I don't

4          remember.         I'm not saying there may -- was or

5          wasn't; I'm just saying I don't remember.

6                   Q.         Okay.      If you turn to the

7          second page.

8                   A.        146.

9                   Q.        14- -- I'm sorry -- 147, the

10         second page of the complaint.

11                  A.        I see.        Okay.

12                  Q.         And there's a paragraph -- the

13         fourth paragraph down says:                       "During the

14         runoff election in six counties in and around

15         Atlanta, 552,987 cell phones came within a

16         narrowly defined distance of ballot drop

17         boxes during our study period.

18                            "However, 242 unique devices

19         made repeat trips to drop boxes, averaging 23

20         trips each.         These same 242 devices also went

21         repeatedly, averaging 8 trips each to

22         specific NGOs."

23                  A.         Okay.

24                  Q.         You see that?

25                            Is that the 242 we've been


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1          talking about?

2                   A.       Apparently, yes.

3                   Q•       And does this reflect your --

4          refresh your recollection that this was

5          during the runoff election period?

6                   A.       I don't know, because we                       we

7          looked all the way back to -- I think the

8          middle of September.              I know the paperwork

9          said middle or the first of October, but

10         we       we were looking at both.

11                  Q•       Right.        But you don't remember

12         where the 242 came from?

13                  A.       I don't.

14                  Q.       And it says:             "Averaging eight

15         trips each to specific NGOs."

16                            Can you identify those NGOs?

17                  A.        No.

18                  Q.       Why?

19                  A.       Because we were looking at

20         addresses and the NGOs were irrelevant to us.

21                  Q.       Well, this is TTV's complaint.

22                  A.        They were irrelevant to us.

23                            TTV was making a complaint

24         seeking the state board of election's and the

25         attorney general to actually review the


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1          complaints and make judgment on them.

2                             Us providing information

3          there's a chasm of difference -- not being

4          condescending, but there's a chasm of

5          difference between information, intelligence,

6          and evidence.

7                   Q.        Uh -huh.

8                   A.       And so when we turn information

9          over to any law enforcement or -- or anyone

10         in authority like the SPOE, we would expect

11         them to do the -- the law enforcement side of

12         the analysis that would allow them then to be

13         able to present this as evidence in court.

14                           It's not our job to present

15         evidence.

16                  Q.        Understood.           But -- and when

17         you say "we," who are you speaking?

18                  A.       Everybody involved in the

19         project.

20                  Q.       Including TTV?

21                  A.       Including TTV.                 Everybody.

22                  Q.       Okay.       But then this says

23         specific NGOs.         You've been saying I wasn't

24         focused on the NGOs, I was just focused on

25         the addresses.


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1                   A.         Right.        That could well say

2          eight specific addresses.

3                   4 •        Right.        But it doesn't.               It

4          says -

5                   A.         I didn't write it.

6                   Q.         Okay.       You would have said

7          eight specific addresses?

8                   A.         Possibly.

9                   Q.         Okay.       Can     you identify any of

10         the NGOs that are referenced?

11                  A.         No.

12                  Q.         Was there a point in                 time in

13         which    you could?

14                  A.         No, because           we never really

15         focused on it.            It wasn't -- it wasn't a

16         point of concern           to us.

17                  Q.         Again, are          you         when     you are

18         using "we" and "us," do                 you mean

19                  A.         Everyone.

20                  Q.         Everyone.           TTV as well?

21                  A.         Well, I can't speak for

22         Mrs. Engelbrecht, but -- but everyone

23         involved with this broad analysis.

24                  Q.         On    the OpSec said?

25                  A.         Everyone.


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1                   Q•       Everyone.          Even TTV?

2                   A.       I can't speak for them.

3                   Q.       Right.        So when you say "we,"

4          you're talking about your analysis at OpSec?

5                   A.       I -- I think you -- I think

6          you've mischaracterized all of it, but, okay,

7          if you want that to be right that's okay.

8                   Q.        No.    I'm just trying to get

9          your testimony as to...

10                  A.       It feels like you're altering

11         my testimony is what's happening.

12                  Q.       All right.           Well, I don't want

13         that to happen, so let's go back.

14                            This says two specific NGOs.

15                  A.       I said I don't know.

16                  Q.       Right.        You don't know.

17                  A.       And you kept pressing.

18                  Q.        Understood.           And I asked you

19         whether you ever knew.

20                  A.       Don't recall.

21                  Q.       Okay.

22                           MR. EVANS:           So what's the

23                  pending question?

24         (BY MS. KUCK)

25                  Q.       Who made the link between the


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1          addresses and the NGOs?

2                   A.        The analysts.

3                   Q.        The analysts who work for you?

4                   A.        I don't know who was doing this

5          particular piece of it.

6                             It could well have been us.

7                             It could have been Red Metrics.

8                             It could have been our pro bono

9          analysts.

10                            It could have been anyone.

11                  Q.        What about the -- did TTV have

12         analysts working on this?

13                  A.        I don't think so.

14                  Q.        Okay.       So someone who was

15         working on           one of the analysts working on

16         this project linked the addresses to certain

17         NGOs?

18                  A.        I think that would be True the

19         Vote.

20                  Q         Okay.       And who asked them to do

21         that?

22                  A.        I don't know.                 It wasn't a

23         point of focus.          We -- we weren't trying to

24         say the NGOs were doing something.

25                            We were simply saying that


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1          these people are depositing more ballots than

2          their own in a ballot drop box, and it's a

3          problem.      Somebody needs to look at this.

4                   Q.       Let's go back to Exhibit 6

5          again, which is the interrogatory responses.

6                            And just have that handy.                    I

7          don't -- before I ask you those questions, we

8          talked --

9                   A.       But you're done with 19?

10                  Q.       I'm done with 19.

11                  A.       Okay.

12                  Q.        There -- there came a point in

13         time when TTV promised that it was about to

14         pull the rip cord and release the raw data

15         supporting the research behind the

16         2000 Mules.

17                           Do you remember that?

18                  A.        The video.

19                  Q.       Well, I think the term used was

20         "raw data."

21                  A.       Okay.       Well, I remember the

22         video, so my mistake.

23                  Q•       Okay.       And there was a -- well,

24         was that ever done?

25                  A.        No.


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1                   Q.        Why not?

2                   A.        I couldn't afford it.

3                   Q.        And there was -- there was an

4          event in August of 2022 called The Pit.

5                             Do you remember that?

6                   A.        I do.

7                   Q.        And -- and there was -- there

8          was a -- leading up to that there was some

9          discussion that the data would be

10                  A.        By whom?          By whom?

11                  Q.        Well, strike that.

12                            Did you have any -- you

13         appeared at that event?

14                  A.        I did.

15                  Q.        And what was your understanding

16         as to what was             what was going to be done

17         at that event?

18                  A.        We had a number of speakers

19         come in.      We had people coming in and

20         offering suggestions to                     to citizen

21         researchers, which were the main people

22         attending the event.

23                            And giving them ideas at things

24         they could go look at and think about and

25         research and so on and so forth.


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1                   Q•       Do you recall the TTV promise

2          to release the data at that event?

3                   A.       I do not.

4                   Q.       Do you --

5                   A.       Either way, as I said, we

6          couldn't afford it.             Streaming 5 million

7          minutes of video wouldn't -- wouldn't be

8          something affordable by a nonprofit like

9          Catherine -- by Ms. Engelbrecht.                        Sorry.

10                  Q.       When did you reach that

11         conclusion?

12                  A.       I really don't recall.                   We had

13         a lot going on, but I assume sometime late

14         summer, early -- early fall.

15                  Q.       Of 2022?

16                  A.       Right.

17                  Q.       Do you recall that at The Pit

18         you announced the launch of the website

19         Open.Ink?

20                  A.       I do.

21                  Q.       And what -- what was that

22         website supposed to do?

23                  A.       Open.Ink was designed to give

24         people the place to -- think of it as sort of

25         a curated special collection library.


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1                            If you went to a library and

2          they have special collections where somebody

3          donates all their papers or -- or the like.

4                   Q.        Uh-huh.

5                   A.       We wanted              we wanted to give

6          researchers and others the ability to publish

7          information that they knew wouldn't --

8          wouldn't hold on Google and would be, you

9          know, taken off of Twitter and -- and so on

10         and so forth.        So that was that.

11                  Q.       Was the -- was the idea that

12         the TTV data would be                  would -- would be

13         posted there?

14                  A.       What TTV did.

15                  Q.       Well, I said the raw data and

16         you said it was video, but the data we've

17         been talking about, the video.

18                  A.       I mean, we               we've got           we

19         have lots of data in there.                      I'm not -- I'm

20         not sure what you're referring to.                       I think

21         we have 6 million documents or something like

22         that.

23                  Q•       Was the -- was the purpose of

24         0pen.Ink to give you a place to release the

25         data and video?


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1                   A.        This data and video?

2                   Q•        That related to the 2000 Mules.

3                   A.        No.     This          the concept for

4          Open.Ink was developed in 2016, well before

5          any concept of any movie was ever thought of.

6                   Q.        Okay.      But -- and then you

7          launched it in 2022?

8                   A.        We launched it a couple

9          different times over the years, but launched

10         it again in 2022 and then again in January of

11         2023.

12                  Q.        Okay.

13                  A.        We had lots of problems.

14                  Q•        What type of problems?

15                  A.        Chinese hackers breaking in ,

16         melting down our servers.                  Lots of

17         interesting things.             Made -- made reports of

18         that to the FBI.

19                            It was -- it was a challenging

20         project, but I think probably one of the most

21         worthwhile projects we've done.

22                  Q.        But you had backup of all the

23         material you had put in?

24                  A.        Oh, yeah.

25                       (Discussion off the record.)


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1          (BY MS. KUCK)

2                    Q.      Let's mark as Plaintiff's

3          Exhibit 20 a document bearing Bates

4          No. TTV 008970 through 8971.

5                   (Marked Plaintiff Exhibit No. 20.)

6          (BY MS. KUCK)

7                    Q.       This appears to be an e-mail

8          from Ms. Engelbrecht to you.

9                            Do you recall this?

10                   A.      I don't recall it.

11                   Q.      Okay.       This is October of 2022?

12                   A.       Yep.

13                   Q.      Do you have any reason to

14         believe you didn't receive it?

15                   A.      I have no idea.                We -- we were

16         falsely imprisoned a few days after this and

17         this would have fallen by the wayside.

18                   Q.      Okay.       But you did respond to

19         it?

20                   A.      I -- apparently I did.                   I

21         don't -- I don't know if we ever posted it or

22         not.

23                   Q•      Okay.       That was one of my

24         questions.

25                            You don't know if you ever


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1          post -- this was ever posted?

2                   A.       I don't think so.

3                   Q.       If you -- and you responded:

4          "I love this."

5                             You see that at the top?

6                            And then in the -- in the

7          document she's showing you below in the --

8          one, two, three, four, five -- sixth

9          paragraph, that long paragraph.

10                  A.        Yes.

11                  Q.       And it talks about the pulling

12         the rip cord?

13                  A.        Yes.

14                  Q.       And it says:             "We were planning

15         to pull the rip cord by releasing the data

16         and video used in the project"?

17                  A.        Uh-huh.

18                  Q.       And then further down, it says:

19         "That includes our own analysis of unique

20         devices listed by ID, which would appear to

21         be traveling to ballot drop boxes with

22         alarming frequency."

23                           Does that              does that refresh

24         your recollection that you were also going to

25         post the geospatial data?


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1                   A.        No, we couldn't do it.                   I told

2          you we couldn't afford it.

3                   Q.        You couldn't afford to post the

4          geospatial data?

5                   A.        This is an incredible amount of

6          data.     We're talking about close to 10

7          trillion pings.

8                   Q.        Right.

9                   A.        You can't just open it up on

10         your computer and make it go.                      This takes

11         some very heavy-duty horsepower to make it

12         go, not to mention the fact that the

13         bandwidth to run 5 million minutes of video

14         would be completely out of reach for

15         companies like ours.

16                  Q.        Right.        But I want to

17         distinguish between the video and the

18         geospatial data.

19                  A.        That's not -- you keep talking

20         about the rip cord.

21                  Q.        Right.

22                  A.        You keep trying to separate

23         them.

24                  Q.        The rip cord included both

25         video and the geospatial?


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1                   A.        I don't recall.               According to

2          this, yeah.

3                   Q.        Okay.

4                   A.        But we never posted this, nor

5          did we ever post the data.

6                   Q.        Right.

7                   A.        Okay.

8                   Q.        Did you             did you retain the

9          geospatial data?

10                  A.        I never actually have

11         possession of the geospatial data.

12                  Q.        Okay.       Who had possession of

13         it?

14                  A.        Red Metrics.

15                  Q.        And do you know what they did

16         with it?

17                  A.        I do not.

18                  Q.        Did you give them any

19         instructions?

20                  A.        No.     Once the project was done,

21         they did with it what they will.

22                  Q.        Okay.

23                  A.        Took it offline, I'm sure.                      It

24         cost them a lot of money to have it online

25         too.


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1                   Q.        Right.

2                   A.        We're talking about -- we're

3          talking about a huge, huge amount of data.

4                   Q.        Right.        And your testimony is

5          you never had the data?

6                   A.        No.

7                   Q.        So when       you were also -- when

8          you were talking about it being very

9          expensive, were you -- if we took out the

10         geospatial data and just did the video, are

11         you distinguishing between the -- when you

12         say "video," do you mean the election video

13         or which video are you referring to?

14                  A.        The certain --

15                            MR. EVANS:           Objection; compound

16                  question.

17         (BY MS. KUCK)

18                  Q.        Okay.       Which -- well, we've

19         been talking about video.

20                            What video were               you including

21         in that?

22                  A.        Surveillance video from the

23         2020-2021 elections.

24                  Q.        The Dropbox video?

25                  A.        Yes.


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1                   Q.       And you concluded that that

2          also was too expensive to post?

3                   A.       Especially that.

4                   Q.       And you don't recall when you

5          reached that conclusion?

6                   A.       I don't.          But it would have

7          been probably later in the year.

8                   Q.       How did it come about that you

9          worked with Mr. D'Souza to make the film?

10                  A.       Are you -- are you referring to

11         something?

12                  Q.       I'm done with that.                   No.

13                  A.       Okay.

14                  Q.       I'm just going to ask you --

15         I'm switching gears.              I'm just asking you a

16         question.

17                  A.       I think we covered this later

18         [verbatim].       Catherine introduced us at a

19         meeting at the D'Souzas' house and we

20         discussed it.

21                           And there were months' worth of

22         discussions after that, and it ultimately

23         resulted in a           in a deal to make the movie.

24                  Q.       Okay.       What was your objective

25         in participating in the making of the film?


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1                   A.        To bring light to the crimes

2          that were being committed with people

3          depositing more than one ballot in the drop

4          box inappropriately.

5                             We never would have made the

6          movie if law enforcement would have

7          investigated it.

8                   Q.        Did you personally enter into

9          any agreement with respect to the making of

10         the film?

11                  A.        No.

12                  Q.        You're listed as an executive

13         producer, correct?

14                  A.        That was listed without our

15         knowledge.        We didn't know about it until it

16         came out.

17                  Q.        You didn't know               you were going

18         to be listed as an executive

19                  A.        We had zero editorial control.

20                  Q.        When did you first find out you

21         were going to be listed as an executive

22         producer?

23                  A.        When the movie was released at

24         Mar-a-Lago, the premiere in front of 500

25         people.


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1                   Q.         Okay.      So other than in

2          connection with the OpSec work, were you

3          compensated for any work in connection with

4          the making of the film?

5                   A.         There was some money that --

6          that came back to us from it, but I don't

7          recall how much.

8                   Q.         And what do you mean "came back

9          to us"?

10                  A.         The agreement called for them

11         to pay us some -- I don't know how the splits

12         are made.         I'm not a moviemaker and that

13         stuff escapes me.

14                  Q.         Okay.      But          and you said

15         you -- you don't recall seeing the agreement

16         between TTV and the D'Souzas?

17                  A.        I may have seen it, but I

18         didn't pay attention to it.                       That wasn't what

19         we were trying to do.                We were trying to

20         bring -- you know, shed light on what we

21         considered to be an incredibly important

22         issue.

23                  Q•         Okay.      But your understanding

24         was that you were to be compensated under

25         that agreement?


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 1                   A.        Yes, but -- but, you know, we

 2          were compensated to some extent and not

 3          not -- not compensated consistent with the

 4          agreement.

 5                            So, you know, I -- you know,

 6          it's not -- it's not worth -

 7                        (Speaking simultaneously

 8          (BY MS. KUCK)

 9                   Q.       What do you mean you weren't

10          compensated?

11                            Oh, you mean because you had to

12          do more work you contend --

13                   A.        No.

14                   Q.       -- then what was provided in

15          the agreement?

16                   A.        No.    The agreement made certain

17          representations about closeouts and when

18          things would happen and who would be paid for

19          what, and only -- only a handful of those

20          payments were ever made.

21                   Q.       Did you -- were any of your

22          expenses covered in connection with the

23          movie?

24                   A.       I think we were given a

25          expense check on -- at some point during the


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1          process.         But -- but I'm -- I couldn't tell

2          you when it was.

3                              Sometime during the first half

4          of 2022, I would guess.

5                    Q•        All right.           Let's mark

6          TTV 007191.

7                              MS. KUCK:           Do   you need a break,

8                    Mr. Phillips?

9                              THE WITNESS:             In a little bit.

10                   Let's just try to make it through.

11                             MS. KUCK:           All right.

12                             THE WITNESS:             I don't want

13                   you-all to have to wait on me.

14                             MS. KUCK:           No, no.          If you need

15                   a break     we can take -

16                             THE WITNESS:             I may take        you up

17                   on that here in a bit.

18                        (Discussion off the record.)

19                  (Marked Plaintiff Exhibit No. 21.)

20         (BY MS. KUCK)

21                   Q.        I'm going to mark as Exhibit 21

22         a document that -- no, this is not the right

23         one.      Let's see.

24                        (Discussion off the record.)

25                             MS. KUCK:           You know         what, let's


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1                     take our break now, then.

2                              THE WITNESS:            That would be

3                     great.    Thank     you.

4                              THE VIDEOGRAPHER:               All parties

5                     in agreement with going off the

6                     record, we're going off the record at

7                     2:12 p.m.

8                   (Break from 2:12 p.m. to 2:27 p.m.)

9                              THE VIDEOGRAPHER:               We are going

10                    back on the record at 2:27 p.m.

11         (BY MS. KUCK)

12                    Q.       You -- am I correct that you

13         saw the first rough cut of the film at

14         Mr. D'Souza's house?

15                    A.       Are we looking at a document?

16                    Q.       No.

17                    A.       Okay.

18                    Q.       I'm just asking.

19                    A.       Sorry.

20                    Q.       Am I correct that you saw a

21         rough cut of the film at Mr. D'Souza's house

22         on April 2, 2021?

23                    A.       We saw a rough cut of the film,

24         but I don't recall when.

25                    Q.       Okay.      Was it at his house?


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1                    A.        Yes.

2                    Q.       And then after that, you went

3          to Mar-a-Lago to review another cut a couple

4          weeks later; is that correct?

5                    A.        Yes.

6                    Q.       Okay.       After watching either of

7          those versions, did you ever tell Mr. D'Souza

8          there was anything in the film that was

9          inaccurate?

10                   A.       It was out of the scope of -

11         of our role.         I mean, we had a very limited

12         role.      We were to provide video and we were

13         to provide some limited research.

14                            And, you know, how people make

15         movies is -- I -- it -- it's like magic to

16         me.      I mean, I -- I don't know how people do

17         it, but I -- I -- it wasn't -- it wasn't in

18         my scope.         That's not why we were there.

19                  Q.        Okay.       But so the answer is no,

20         you didn't tell him anything was in it?

21                   A.       I don't think so.

22                  Q.        Okay.

23                   A.       I mean, Mrs. Engelbrecht may

24         have, but I don't think I did.

25                   Q.       Okay.       Did you form a view that


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1          it misrepresented your research in any way?

2                    A.       I don't know if misrepresented

3          is the right word, but I think that -- that

4          through the month we had some concerns about

5          some of the decisions that were made about

6          how to, you know, represent certain things.

7                             But, again, I'm not a

8          moviemaker.        It was out of my scope.

9                    Q.       Okay.       Did you share any of

10         those concerns with Mr. D'Souza?

11                   A.       No.

12                   Q•       Let me mark the next exhibit -

13         and I'm going to mark this as 14 because

14         there was some confusion before.                        So 14 is

15         now DDR-00055904 through DDR-0055905.

16                  (Marked Plaintiff Exhibit No. 14.)

17         (BY MS. KUCK)

18                   Q.       And this appears to be a chat

19         that was produced by Mrs. D'Souza.                         This is

20         4/18/2022.        And partway down it says:                    "We

21         fly out later this afternoon and get into

22         Fort Lauderdale late."

23                            And then there's a reference to

24         noon at MAL.

25                            Do you recognize this as the


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1          day before you went to Mar-a-Lago for the

2          screening?

3                   A.        I assume that's what it is but,

4          again, I don't remember the dates.

5                   Q.        Okay.       But this would be about

6          the right time?

7                   A.        Yes.

8                   Q.        And Mr. D'Souza starts out by

9          saying:       "Hey, guys.          You ready to go over

10         marketing plan at noon in a few?"

11                            And then        you write back:

12         "We're both flying."

13                            Did you at some point review

14         with him the marketing plan for the film?

15                  A.        I -- I didn't.

16                  Q.        Okay.       And then the first -

17         the second chat with             your name on it, which

18         is the fifth one down, it says:                         "I called

19         the PR lady and left her a message."

20                            Does that refresh your memory

21         in any way of ever having spoken to Patricia

22         Jackson?

23                  A.        No, I don't think I ever spoke

24         to her.

25                  Q.        Okay.       Do you know why you


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1          called her?

2                   A.        No.

3                   Q.       What -- what role did you have

4          in the marketing of the film?

5                   A.        None.      I was -- I was to

6          provide limited research and video.                        That's

7          it.      There was my role.

8                   Q.       Let's mark TTV 977                    I'm

9          sorry         TTV 009770.         And we're up to 21.

10                  A.       I'll catch up in a minute here.

11                  Q.       It's okay.

12                            You said you didn't participate

13         in the marketing of the film.

14                            To your knowledge, did

15         Ms. Engelbrecht?

16                  A.        Can you define "marketing"?

17                  Q.       Well, Mr. D'Souza -- we were

18         looking at a text where he said the marketing

19         plan.

20                  A.       I -- I have -- I have no idea.

21                  Q.       Okay.       Do you know whether she

22         was involved in the promotion of the movie?

23                  A.       I'd be speculating, but broadly

24         we weren't -- we weren't hired to do that.

25                           We were subcontractors that


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1          were providing information -- research and

2          providing video.

3                   Q.       Okay.       So looking at the

4          document I just marked 9770, it -- this

5          appears to be a text exchange with Mr. and

6          Mrs. D'Souza and Mr. Schooley.

7                             You -- there's the first line

8          there, which is attributed to you, is:

9          "Trump message on 2000 Mules goes out this

10         morning.      Name checks, Dinesh and Catherine."

11                           Do you see that?

12                  A.        Yep.

13                  Q.       How did you know that Mr. Trump

14         was sending out a message?

15                  A.       I have no idea.                I have a lot

16         of contacts in my job.

17                  Q.       Did you communicate with

18         Mr. Trump at all during the filming of the --

19         the film?

20                  A.       During the filming?

21                  Q.        Yeah.

22                  A.        No.

23                  Q.       How about afterwards?

24                  A.       We were there for the -- the --

25         the --


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1                   Q.       Prescreening?

2                   A.       -- directors screening that was

3          referenced in the previous e-mail.

4                   Q.       Okay.        And then you were at the

5          premiere?

6                   A.       Correct.

7                   Q.       Any other context with

8          Mr. Trump?

9                   A.       I'm not at liberty to say that.

10                           I've had -- I've had contacts

11         with lots of people in my career, and I'm not

12         at liberty whether to say the -- whether the

13         President of the United States and I have had

14         a conversation.

15                  Q.       Okay.        Let me back up a minute.

16                           Have you had any contacts with

17         Mr. Trump, other than you've just testified

18         about, related to 2000 Mules or your research

19         that was used in the film?

20                  A.        Yes.

21                  Q•       And what -- what context on

22         those subjects have you had?

23                  A.       We         well, this goes back to

24         what I previously said.                 What exactly do you

25         want to know?


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1                            Have I ever talked to President

2          Trump outside of the Mules movie?

3                   Q.        No.    Did you talk to him

4          concerning the mules or your research that

5          was used in the film?

6                   A.       Oh, I see what you're saying.

7                            Not outside of those three

8          meetings.

9                   Q.       Okay.       And you don't recall

10         what you were referring to in the document we

11         just looked at?

12                  A.        No.

13                  Q.        You said you did -- you did

14         attend the premiere?

15                  A.        Yes, ma'am.

16                  Q.        There were about 500 people

17         there?

18                  A.        That's my guess.

19                  Q.       Okay.       It's your testimony that

20         until that time             until you saw the movie

21         there you didn't know you were being listed

22         as an executive producer?

23                  A.        Not that I recall.

24                           MR. EVANS:           Objection; asked

25                  and answered.


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1                             THE WITNESS:            Oh, sorry.

2          (BY MS. KUCK)

3                    Q.      And you actually -- and you

4          spoke at the premiere as well, right?

5                    A.      We were offered an opportunity

6          to speak for a few minutes.

7                    Q.      Okay.       And you did speak?

8                    A.       Yes.

9                    Q.      Okay.       Having seen the final

10         version, did you ever tell anyone that you

11         disagreed with anything in the film?

12                   A.      It wasn't my place.

13                   Q.      So that's no?

14                   A.       Yes.

15                   Q.      All right.           Let's mark as 22

16         DDR-00049429.

17                   A.       You done with 21?

18                   Q.       Yep.

19                  (Marked Plaintiff Exhibit No. 22.)

20         (BY MS. KUCK)

21                   Q.      Okay.       This appears to be

22         another set of texts with Ms. Engelbrecht and

23         Mrs. D'Souza.        And you say:                "Our biggest

24         issue right now is money.                  True the Vote is

25         teetering on the edge.               Don't be shocked if


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1          we have to close the door in a few months.

2          Sad, but true."

3                              Do you see that?

4                   A.        I do.

5                   Q.         What -- what was your basis for

6          saying that?

7                              How did you know that?

8                   A.         When was this?

9                   Q•         May, looks like May 7 or around

10         May 7.

11                  A.        I'm not sure what you -- what's

12         the question?

13                  Q.         How did you know that True the

14         Vote was teetering on the edge?

15                  A.         Ms. Engelbrecht and I had

16         discussed.

17                  Q•        In what context?

18                  A.         The lack of money at True the

19         Vote.

20                  Q.         Okay.      And then you say:

21         "We're going to keep Catherine in front of

22         the media as long as we can.                      I think it's

23         important to consolidate the number of people

24         speaking.         It's getting confusing.                 I did a

25         study on this issue in 2012.                      Two is the max


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1          in political environments.                   Also, as I wrote

2          earlier, C and E and Dinesh are killing the

3          message right now.            Secretly kind of happy

4          that fewer hosts tonight."

5                            Does that at all refresh your

6          recollection that Ms. Engelbrecht was

7          involved in promoting the film

8                   A.        No.

9                   Q.       -- in the media?

10                  A.        That's not what -- that is not

11         what this is about at all.

12                  Q.       Okay.       Can you tell me what it

13         is about?

14                  A.        Yeah.      It's about the -- the

15         import of the message of -- of 2000 Mules was

16         to heighten America's awareness of election

17         integrity issues about which Catherine is the

18         most knowledgeable person in America.

19                           And to -- there were -- there

20         were press conferences and all sorts of

21         things being -- being done and said that I

22         felt like was diminishing the import of what

23         mules should have been all about.

24                            That's it.

25                  Q        And that's what you were


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1          referring to when you said, "We're going to

2          get Catherine in front of the media as long

3          as we can"?

4                              MR. EVANS:           Objection; asked

5                   and answered.

6                   A.          Yes.

7          (BY MS. KUCK)

8                   Q.         Okay.       The complaint, which

9          you're welcome to look at -- I think it's

10         number -- it's the very first thing we marked

11         this morning.

12                  A.          This one.

13                  Q.         It's that big fat thing, yeah.

14         Uh-huh.       If you turn to 135, Paragraph 135.

15                  A.         I'm not much of a lawyer.                    All

16         right.        Go.

17                  Q.         It says:          "Between May 24 and

18         July 17, 2022, Defendant Phillips promoted

19         2000 Mules in at least 23 different posts on

20         Truth Social, including posts where you

21         can -- where you continued to claim the film

22         was factually accurate and exposes the

23         cheat."

24                             Do you see that?

25                  A.          Yes.


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1                   Q.        And you admitted in your answer

2          that was true?

3                   A.         Yes.

4                   Q.         That is true?

5                   A.        I don't understand the

6          question.         What is the question?

7                   Q.         That statement in 135 is

8          accurate.

9                   A.        Where are you are reading?

10                  Q.        Paragraph 135.                 Am I reading it

11         wrong?

12                  A.        I seriously doubt if I spoke to

13         The Washington Post, so I would say the whole

14         thing is false.

15                  Q.        Let me make sure I'm reading

16         the right paragraph.

17                            MS. HYLAND:            I have 135 as

18                  you're reading it.               I'm wondering --

19                            MS. KUCK:          Okay.

20                            MS. HYLAND:            -- what

21                  Mr. Phillips is looking at.

22                            MS. KUCK:          It's on page

23                            MS. HYLAND:            58.

24                            MS. KUCK:          58.

25         (BY MS. KUCK)
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1                   Q.        And it's the second sentence

2          and third sentence.

3                   A.        What's the question?

4                   Q.        That's correct -- that

5          statement -- those two statements are

6          accurate, right?

7                   A.        You said the second sentence

8          and the third sentence, but there's -- on 135

9          there's only one sentence.

10                  Q.        Paragraph 135 on the bottom of

11         Page 58?

12                  A.        Yes.

13                            MR. EVANS:          You might be

14                  looking at the wrong thing.

15                            MS. KUCK:         Is he looking at

16                  footnotes instead of...

17                            THE WITNESS:            No.     135, it's

18                  only one sentence.

19                            MS. KUCK:         Is it the wrong

20                  document?

21                       (Discussion off the record.)

22                            MR. EVANS:          So read it -- read

23                  the 135 that you have.

24                            MS. KUCK:         I have three

25                  sentences.


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1                             THE WITNESS:            On that same

2                   page?     There's only one on that page

3                   on 135.

4                             MS. KUCK:         What are -- what are

5                   you looking at?

6          (BY MS. KUCK)

7                   Q.        Okay.      So I'm referring to the

8          second sentence here that starts "Between..."

9                   A.        Oh, so it's on two pages.                   I

10         got it.

11                  Q.        It's one paragraph, two pages.

12                            Okay.      "Between May 24 and

13         July 17, 2022, Defendant Phillips promoted

14         2000 Mules in at least 23 different posts on

15         Truth Social.        This included posts where he

16         continued to claim the film was factually

17         accurate and exposes the cheat."

18                  A.        Whose -- whose quotes are

19         those?

20                  Q•        They're quotes from Truth

21         Social.

22                            But you -- and you admitted in

23         your answer that this was true.

24                  A.        I guess it is.                I don't know.

25                  Q.        Okay.


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1                     A.      I thought you were                     I

2          misunderstood the question.

3                     Q•      It's okay.

4                             Do we have that other

5                     A.      Can    you tell me that page

6          again, please.

7                     Q.      58.

8                             MR. EVANS:            Yeah.      58.

9                   (Marked Plaintiff Exhibit No. 23.)

10         (BY MS. KUCK)

11                    Q.      Okay.       Let's mark as

12         Plaintiff's Deposition Exhibit 23.                            It's

13         going to be TTV 007191 through 7198.

14                            And this is from Bruce

15         Schooley.

16                            Who is he?

17                            Who is Mr. Schooley?

18                    A.      I have no idea what his title

19         is.       I mean, I would say director.

20                    Q.      Okay.       What -- what does he do?

21                    A.      He works with Dinesh.

22                    Q.      He works with Dinesh.

23                            And he worked on the film?

24                    A.      As far as we know.                   We had

25         no -- no interest or control in any of that.


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1                   Q.        Okay.

2                   A.        He was one of the ones creating

3          the magic as far as we were concerned.

4                   Q.        All right.           And this --

5                   A.        This isn't even about the Mules

6          movie.        This is about One-Party America.

7                   Q.        This is not about the mules

8          movie?

9                   A.        Read the title.               Read the title

10         of the attachment.

11                  Q.        Yeah.

12                  A.        Yeah.       It says "One Party

13         America film."

14                  Q.        Right.        One-Party America was

15         the entity that Mr. D'Souza created to make

16         the film?

17                  A.        No.     I think One Party America

18         was his film -- the name of the film they

19         were going to do.

20                  Q.        Okay.       Do    you see that you're

21         copied on this?

22                  A.        Yes.

23                  Q.        Well why would he be copying

24         you?

25                  A.        I have no idea.


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1                   Q.       Okay.       So let's look at TTV

2          007194.       It says election film beat sheet.

3                   A.       I have no idea what any of this

4          is.

5                   Q.       Okay so you were copied on it

6          but you don't remember getting it?

7                   A.        Nope.

8                   Q.       Do you recall any discussions

9          with anybody about it?

10                  A.       I don't recall any discussions

11         with anyone about woman doing the lord's work

12         no.

13                  Q.       Okay.       So?

14                  A.       We were hired on a limited role

15         sorry to keep saying it but it's True the

16         Vote.     We were hired to provide limited

17         research and video.

18                  Q.       Okay.       Did you have any

19         understanding -- well, you don't remember

20         this document, right?

21                  A.        No.

22                  Q•       So you can't tell me why

23         Mr. Schooley might have been sending it to

24         you?

25                  A.        No.


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1                   Q.       Is it your understanding that

2          the film purports to be a                        a documentary?

3                   A.        No.

4                   Q.       It does not purport to be a

5          documentary?

6                   A.        No.

7                   Q•       Okay.       Does it purport to be a

8          work of fiction?

9                   A.       I think -- I think the way they

10         described it -- and this is out of my league.

11         I think they have it described as a

12         docudrama, but I may be mistaken.

13                  Q.       And your understanding of that

14         term is what?

15                  A.       It's none.           I have no

16         understanding of it.              I know nothing about

17         movies.       I've never made a movie.                  I know

18         nothing about them.

19                  Q.       Okay.       You watched this one,

20         though, right?

21                  A.       I can't say I've ever watched

22         all of it.

23                  Q.       Even at Mar-a-Lago, the

24         premiere?

25                  A.       Even at Mar-a-Lago.


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1                     4.        Did you leave in the middle?

2                     A.        No, but I wasn't really paying

3          attention.          I was on the phone.

4                     Q.        Okay.       All right.           Let's go to

5          TTV 007720.

6                   (Marked Plaintiff Exhibit No. 24.)

7          (BY MS. KUCK)

8                     Q.        Okay.       We'll mark as Exhibit 24

9          TTV 007720 through TTV 007726.

10                         (Discussion off the record.)

11         (BY MS. KUCK)

12                    Q.        Do you see that this is an

13         e-mail chain between               you and someone named

14         Mark Davis?

15                    A.        Yes.

16                    Q.        Who is Mr. Davis?

17                    A.        A citizen researcher person in

18         Georgia.

19                    Q.        Okay.       And it appears he's

20         reaching out to you about a question

21         concerning a copy of a ballot form provided

22         in the film.

23                              Do you see that?

24                    A.        I do, but yeah.               I guess I said

25         what I said.


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1                   Q         Do you have any recollection of

2          this?

3                   A.        I don't.

4                   Q.        Do you have any recollection

5          that there was a               a form used in the film

6          which was alleged to have been fabricated?

7                   A.        Out of my -- above my pay

8          grade.

9                             We had nothing to do with this.

10                            We didn't provide forms.

11                            We didn't provide anything.

12                            We provided research and

13         limited video.

14                  Q.        But my question is were                   you --

15         do you recall being aware of the allegation

16         that he's giving --

17                  A.        I -- no.          Mark Davis is

18         irrelevant to me.            I mean, he wasn't part of

19         the contract.         He wasn't part of the deal.

20         He wasn't part of anything.

21                  Q.        But     you responded to him?

22         You went back and forth?

23                  A.        Well, I said it's similar to

24         the pixelation of the dog where he's making

25         all these decisions.
                                                                                      I
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1                         (Discussion off the record.)

2                              THE VIDEOGRAPHER:               All parties

3                    in agreement with going off the

4                    record, we're going off the record at

5                    2:51 p.m.

6                   (Break from 2:51 p.m. to 2:58 p.m.)

7                              THE VIDEOGRAPHER:               We are going

8                    back on the record at 2:58 p.m.

9          (BY MS. KUCK)

10                   Q.        Okay.      So when we broke, we

11         were talking about Exhibit 24, which is the

12         e-mails between you and Mr. Davis.

13                   A.        Yep.

14                   Q.        And you said he's a citizen

15         researcher, correct?

16                   A.        That's all I know about him.

17                   Q.        Okay.      But you responded to his

18         inquiry, yes?

19                   A.        Yes, I did.

20                   Q.        And I think we were starting to

21         discuss your response, in which you said:

22         "It's similar to the pixilation of the dog,

23         lawyers make all these decisions, we provided

24         all the" -

25                   A.        Detail.


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1                   Q.       -- "detail.            What they chose to

2          share is completely out of our hands,

3          interests, or control."

4                   A.        That's right.

5                   Q.       Okay.

6                   A.       We had no editorial control

7          whatsoever.       If you look -- if you look

8          further into it, what he's actually talking

9          about, if you look in here

10                  Q.        Uh-huh.

11                  A.       -- on the second page where he

12         says:     Good morning and congrats on the

13         success of the film.              A democrat lawyer named

14         Loren Collins posted this and voted GA

15         10 hours ago.        Can either of you help me with

16         a response?

17                           Midway through -- the Mule

18         Dinesh puts a document on the screen.                         As

19         Gregg Phillips says, there's one box in

20         Gwinnett County that is a chain of custody

21                            This is the Gwinnett anomaly

22         that I talked to you about earlier.

23                  Q.       Right.

24                  A.       And if you look, what he's

25         referring to on Page 3              --


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1                   Q.        Uh-huh.

2                   A.        -- that looks to me like what

3          they put on the movie.

4                   Q.        Yeah.

5                   A.        But what we gave them was on

6          the last page.

7                   Q.        Right.        So what they put in the

8          movie    you're saying is not what you gave

9          them?

10                  A.        Correct.

11                            We had no editorial control.

12         Period.

13                  Q.        Did you raise this issue with

14         Mr. D'Souza?

15                  A.        I -- this is after the movie

16         was out.      There was -- I haven't talked to

17         Dinesh since the movie came out.

18                  Q.        Okay.       When      you saw the movie

19         did you --

20                  A.        I didn't notice it.

21                  Q.        You didn't notice it?

22                  A.        Huh-uh.

23                  Q.        Okay.

24                  A.        I think everybody in the

25         theater noticed that they pixilated the dog,


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1          though.

2                   Q.       Right?

3                   A.        They noticed it because it was

4          a little comical, you know, but...

5                   Q•        You said lawyers make all these

6          decisions.

7                            What were you referring to?

8                   A.       I guess -- I was talking about

9          the pixilation because again

10                  Q.       Oh, about the dog?

11                  A.        Yeah.      I know nothing about

12         making movies.         I don't know who makes what

13         decisions about what.               All I know is we made

14         no decisions.

15                           We provided limited research

16         and limited video.            And if you look at the --

17         again, if you look at the last page, I guess

18         it wasn't the last page.                 I'm sorry.         It's

19         the second to last page in this exhibit.

20                  Q.        Uh-huh.

21                  A.        That is what we provided.                   That

22         is the actual chain of custody document.                          If

23         you look on there, you see where it says:

24         "Number of absentee ballots"?

25                  Q.        Uh—huh.


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1                   A.       "352 plus 6 applications, total

2          1692."

3                   Q.        Yep.

4                   A.        That's what we provided them.

5                            And this is what I was

6          suggesting earlier needed investigation.

7                             This was what one of our three

8          complaints to the state board of elections

9          this particular document is what we were

10         talking about.

11                  Q.       But Mr. D'Souza seems to have

12         altered it when he put it into the film?

13                  A.       I don't know.              We had no

14         control.      I don't know who did it.

15                  Q.       But it was altered in the film.

16         Is there

17                  A.       According to Davis, yeah.                    And

18         I assume -- I mean, I don't know.                       I mean,

19         I -- like I said, I haven't -- I haven't

20         talked to Dinesh since the movie

21                  Q.       Okay.

22                  A.       Ever since the premiere.

23                  Q.       And why not?

24                  A.        Just no reason.               Everybody is

25         getting back to work.               Dinesh is making


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1          movies and we're doing our thing.

2                   Q.       Okay.

3                   A.        No point.

4                   Q.       Mr. D'Souza also later in the

5          summer came out with a book from the 2000

6          Mules.

7                            Do you know anything about

8          that?

9                   A.       I don't know anything about the

10         book.

11                  Q        But you know that there was a

12         book?

13                  A.       I only know that there was a

14         book.

15                  Q.       Okay.

16                  A.       I've never seen it.                   I've never

17         read it.      I was never asked to comment on it.

18         I never had any communications whatsoever

19         with anybody about that book.

20                  Q.       All right.           Do you            has

21         anybody ever           well, strike that.

22                           Have you and Ms. Engelbrecht

23         discussed the book?

24                  A.       Have we ever discussed it?

25                  Q.       Yeah.


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1                    A.      Maybe.

2                    4 •     Do you recall anything about

3          those discussions?

4                    A.       Not really.

5                    Q.      Did she tell you that some of

6          the interview material that you gave for the

7          film ended up in the book?

8                    A.      She did not.              But as I said, we

9          had no -- even in the book we had no

10         editorial control.

11                   Q.      All right.           So

12                   A.      We were just -- we were just

13         bit players.        We were just a subcontractor.

14                   Q.      And executive producer.

15                           MR. EVANS:           No pending

16                   question.

17         (BY MS. KUCK)

18                   Q.      Let's mark DDR-00049441

19         [verbatim] as Exhibit 25.

20                  (Marked Plaintiff Exhibit No. 25.)

21                   A.      Is this the new one?

22         (BY MS. KUCK)

23                   Q.       Uh-huh.        Okay.          This appears to

24         be another text exchange between Ms. D'Souza,

25         Ms. Engelbrecht, and yourself.


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1                             Do you see that?

2                   A.        I do.

3                   Q.        How often were you texting with

4          Mrs. D'Souza at this point in time?

5                   A.        Me?     Very limited.

6                   Q.        Okay.       And did you have

7          conversations with Ms. Engelbrecht about the

8          filming of the movie while it was going on?

9                             By which, I mean, you know, you

10         signed the agreement and then we've got

11         this -- you saw the rough cut?

12                            What discussions in that period

13         of time did you have with Ms. Engelbrecht

14         about the film?

15                  A.        I don't have any recollection

16         of any -- I mean, I'm sure we talked often

17         about it, but I have no idea what.

18                  Q.        Okay.       So in the third text

19         here --

20                  A.        Uh-huh.

21                  Q.        -- it says under your name:

22         "According to my notes, there are between 10

23         and 23 percent of all mules identified in

24         five jurisdictions are also on the ACLED

25         list."


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1                   A.        Yes.     Yep.

2                   Q.       What were you referring to

3          there?

4                   A.        That was part of some of the

5          limited research we provided.                    ACLED is an

6          online service that tracks violent protests

7          around the world.

8                   Q.       Okay.       When you said                when

9          you say "10 to 23 percent of all mules" -

10         and when you said "mules" there, is this

11         where you're -- are you referring to the 242

12         people or the broader group of mules?

13                  A.       All mules in our -- look, the

14         242 only applied to Atlanta.

15                  Q.       Okay.       I guess what I'm getting

16         at is when you're using "mules" here, is that

17         limited to your criteria of having five drop

18         boxes and three NGOs or is it some broader

19         concept of mule?

20                  A.       I don't recall.

21                  Q.       Okay.       So when you say 10 to

22         20 percent of the mules were identified on

23         the ACLED list, what list are you referring

24         to?

25                  A.       ACLED produces a list of all of


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1          the -- and maps of all of the violent

2          protests in the world.

3                             The few that we were able to

4          identify specifically going back into 2020,

5          when all of the Antifa protests and BLM

6          protests, et cetera, et cetera, had turned

7          violent, they were creating a sort of a map,

8          if you will, a guide to the geofencing.

9                             And so the way to -- the way

10         one would compare those is you geofence

11         around the -- the -- the geography of the

12         violent protest and you compare that to the

13         mules that were approaching the drop boxes.

14         And it's in that marriage that you find what

15         you want.

16                  Q.        But ACLED doesn't keep any list

17         of any particular cell phone

18                  A.        No one -- no one ever said that

19         they did.

20                  Q.        I'm just asking you:                  They

21         didn't?

22                  A.        No.

23                  Q.        Okay.

24                  A.        We would go and buy the cell

25         phones at the violent protests -- buy the --


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1          buy the list of the cell phones that were at

2          the violent protests and then compare that to

3          our other list.

4                   Q.        Okay.      And where did you get

5          the list of cell phones at the violent

6          protests?

7                   A.        The same place you get all the

8          other ones, you buy them.

9                   Q.        From whom?

10                  A.        From the data brokers that --

11         that we bought all the other ones from.

12                  Q.        Can you identify who those

13         brokers were?

14                  A.        I think there's a pretty

15         comprehensive list in The Wall Street Journal

16         somewhere.        I'll try to find that.

17                  Q.        Nobody comes to mind off top of

18         your head?

19                  A.        Red Metrics was doing the

20         purchasing and they have a very significant

21         and detailed purchase methodology.                       So I have

22         no -- no way of knowing which one they used

23         for this particular.

24                  Q.        Okay.      But when you say the

25         ACLED list, you're


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1                   A.        The ACLED list --

2                   Q.        The list being?

3                   A.        We've been through this.

4                   Q.        Right.

5                   A.        I know -- I know it's

6          confusing.        I know it's difficult.                 But the

7          way one would do this is let's say                          let's

8          say that this paper was the violent

9          protest --

10                  Q.        Yep.

11                  A.        -- right down the road down

12         here, right.

13                  Q.        Yeah.

14                  A.        We would geofence around

15         that -

16                  Q.        Yeah.

17                  A.        -- and get all the cell phone

18         IMEI numbers out of that.

19                  Q.        Right.

20                  A.        Right?

21                  Q.        Yep.

22                  A.        Then we would take the list

23         that we were -- or the purchase we were

24         building for the drop box -- they didn't have

25         drop boxes here, but for the sake of this


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1          discussion, let's assume they did.

2                             We would take all the list of

3          all of the cell phone IMEI codes that were

4          emerging from the drop box analysis --

5                   Q.        Right.

6                   A.              and then compare them to the

7          codes that were at the violent protest.

8                   Q.        But those -- the -- the list of

9          phones that was at the protest didn't come

10         from ACLED?

11                  A.        No.

12                  Q.        Okay.

13                  A.        No one ever said they did,

14         except Philip Bump.              You can ask Philip what

15         his -- what his confusion was, but it wasn't

16         mine.

17                  Q.        Okay.       Are you aware that Salem

18         ultimately entered into a settlement with

19         ACLED about statements made in the book?

20                  A.        No.     Knew nothing about the

21         book.

22                  Q.        Other than it existed?

23                  A.        Only that it existed.

24                  Q.        All right.

25                       (Discussion off the record.)


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1          (BY MS. KUCK)

2                   Q•        And your testimony is you

3          never         well, strike that.

4                             Did you ever have any

5          discussion with Mr. D'Souza about ACLED?

6                   A.        Only in the context of the

7          limited research that we would have provided

8          for the movie.

9                   Q.        Okay.       And did you make it

10         clear to him that you weren't using cell

11         phone data from ACLED?

12                  A.        Yes.

13                  Q.        So he understood that?

14                  A.        I believe he did.

15                  Q.        Okay.

16                  A.        This is a very complex topic.

17         Geospatial analysis is not simple.

18                  Q.        All right             Let's go back to

19         Exhibit 6.

20                            In Interrogatory 10 asks that

21         you state the amount of revenue that you

22         received from 2000 Mules.                   I'm on Page 20.

23                  A.        20?

24                  Q.        Uh-huh.

25                  A.        Okay.       I see it.


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1                   Q        And it says -- your answer

2          says:    "Phillips states he will search for

3          and produce nonprivileged documents (e.g.,

4          tax forms) showing revenues he, along with

5          Engelbrecht, received through a limited

6          liability company jointly owned by them in

7          connection with the 2000 Mules film."

8                            Do you see that?

9                   A.        Yes.

10                  Q.       What limited liability company

11         was that?

12                  A.       I don't really recall.

13         Ms. Engelbrecht might -- might know.                        I don't

14         know the name of it right off the top of my

15         head.

16                  Q•       Does Shadow Beach ring a bell?

17                  A.        Could be.

18                  Q•       Okay.       What happened to that

19         LLC?

20                  A.       What do you mean what happened

21         to it?

22                  Q•       I asked you earlier at the

23         beginning whether there were any LLCs that

24         you --

25                  A.       I said -- I said I couldn't


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 1          recall anymore.            Maybe if that still exists,

 2          that is one.

 3                   Q.         Okay.      You don't know what

 4          happened to it, if it went elsewhere?

 5                   A.         I don't.

 6                   Q•         And why was that -- why was the

 7          payment being made to that entity?

 8                   A.         That was what was in the

 9          contract.         I don't know.           I wasn't party to

10          the contract.

11                   Q.         When    you say "in the contract,"

12          which contract?

13                   A.         We've been over this.

14                   Q.         Okay.      This is the contract

15          between TTV and -- and the D'Souzas?

16                   A.         Yes.

17                   Q.         How much did TTV get in

18          connection with the film?

19                   A.         To my knowledge, that                      is

20          the full amount for everybody.

21                   Q.         For everybody.

22                              How much of it went to TTV?

23                   A.         Half, I guess.               I -- I don't

24          know how -- I don't -- I'm not part of TTV.

25          I don't know where the books are.


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1                    Q•        Well, where did it go after it

2          went to Shadow Beach?

3                    A.        I don't know the answer to

4          that.

5                    Q.        Okay.       Who would know that?

6                    A.        Maybe Mrs. Engelbrecht.

7                    Q•        We talked this morning about

8          OpSec receiving                         from the -- from the

9          TTV arrangement for the geospatial project?

10                   A.        For the work.

11                   Q.        For the work?

12                   A.        Uh-huh.

13                   Q.        Did OpSec receive any

14         additional funds in connection with the

15         2000 Mules project?

16                   A.        Not that I recall.

17                   Q         Okay.       Let's mark TTV 009760.

18                        (Discussion off the record.)

19         (BY MS. KUCK)

20                   Q.        Exhibit 26 is TTV 009760.

21                  (Marked Plaintiff Exhibit No. 26.)

22         (BY MS. KUCK)

23                   Q.        And this appears to be a

24         Form 990 from One Party America.

25                             Do you see that?


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1                   A.         I do.

2                   Q.         Does that refresh               your

3          recollection that One Party America                         was the

4          corporate vehicle that Mr. D'Souza used for

5          this project?

6                   A.         It does, but I had no

7          involvement in any of that, as I've said

8          multiple times.

9                   Q.         Right.        But it refreshes your

10         memory that that's where one party

11                  A.         First time I've ever known it.

12                  Q.         Okay.

13                  A.         All I knew is the original

14         movie     was supposed to be One Party America.

15         That's all I knew.

16                  Q.         And    what do        you mean       the

17         original movie?

18                  A.         We    were told that when               we -

19         when     we went to visit with them about the

20         movie in the beginning, that they were

21         already working on a movie called One Party

22         America.

23                  Q.         That had to do with the

24         election?

25                  A.         I don't know            that we even knew


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 1          that.

 2                   Q.       Okay.       And there's               the top

 3          copy seems to be the                             payment to

 4          Shadow Beach, LLC.

 5                   A.       It does.

 6                   Q.       And then there's a payment to

 7          you for

 8                   A.        That I referenced earlier as an

 9          expense payment.

10                   Q.       Okay.       And that was -- what

11          were those expenses?

12                   A.       I have no idea.                 Travel.

13                   Q.        Travel?

14                   A.        Travel to do the filming.

15          Travel to Mar-a-Lago.               I don't recall what

16          the exact expenses were.

17                   Q.       Okay.       And you don't recall

18          individually having any arrangement -- any

19          strike that -- any contract with Mr. D'Souza

20          to get paid for your expenses?

21                   A.       I don't.

22                   Q.       Okay.       These are all -- all

23          these entities are listed at the same address

24          in Cat Spring, Texas.

25                            Is that your address or is your


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1          address in Alabama?

2                    A.      My address is in Alabama.

3                    Q.      And do you know why this is

4          made out the way it is?

5                    A.      Many of our businesses are

6          listed at that address.

7                    Q.      Okay.       And when you say "many

8          of our businesses," are you able to remember

9          any        any other than the ones you identified

10         for me earlier today?

11                   A.       No.

12                   Q.      Let's mark as Exhibit 27

13         TTV 8858 through TTV 0082 -- 8923.

14                  (Marked Plaintiff Exhibit No. 27.)

15         (BY MS. KUCK)

16                   Q.      Do you see this appears to be a

17         document -- well, it seems to be an e-mail

18         from Ms. Engelbrecht to you with an

19         attachment.

20                   A.       Yep.

21                   Q.      Did you receive this?

22                   A.      I don't recall.                This was an

23         incredibly busy time for us.

24                   Q.      Okay.       Do you have any reason

25         to believe you didn't receive it?


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1                   A.        No.

2                   Q.       Do you recall receiving a

3          letter from Mr. Andrews' attorneys requesting

4          a retraction of certain things about

5          Mr. Andrews?

6                   A.       I don't know who Mr. Andrews

7          is.

8                   Q•        The plaintiff in this case.

9                   A.       I don't know him.

10                  Q•       Okay.       Do you remember --

11                  A.       I have no connection to him.

12         We've never identified him.                      Nothing.

13                  Q.       My question is:                Do you

14         remember receiving --

15                  A.        No.

16                  Q.       Okay.       So you don't know that

17         you got a cease and desist letter in

18         connection, this cease and desist letter?

19                  A.       I didn't receive it.

20                  Q.       Do you remember anybody telling

21         you about it?

22                  A.       We had a lot going on.

23                  Q.       So you don't?

24                  A.       I don't.

25                  Q.       Okay.       So did you take any


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1          action -- I take it you didn't take any

2          action in response to the letter?

3                   A.       I would assume Mrs. Engelbrecht

4          would have handled this with Brock Akers, one

5          of the lawyers.

6                   Q.       Okay.       Did you            if you look

7          at the page that says 8874, it's a litigation

8          hold notice and document preservation

9          request.

10                  A.       8874?

11                  Q.        Yeah.      The last three pages.

12                  A.       Okay.

13                  Q.       Do you -- did you put any -- in

14         place at this time any measures to preserve

15         any -- any documents as requested here?

16                  A.       I wouldn't have had to have put

17         anything in place.            I mean, anything -- I

18         wouldn't delete anything.                  If it was there,

19         it was still there.

20                  Q.       So you -- you didn't take

21         special precautions to preserve anything?

22                  A.       I -- I don't even recall ever

23         seeing this, so no.

24                           MR. EVANS:           Objection;

25                  mischaracterizes testimony.


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1          (BY MS. KUCK)

2                   Q•        All right.           Do you remember

3          anybody asking you to preserve records at

4          about this point in time in connection with

5          allegations that one of the people featured

6          in the film was making?

7                   A.        One of the people featured in

8          the film?

9                   Q.        2000 Mules?

10                  A.        What do       you mean one of the

11         people featured?           Me?

12                  Q.        One of the people in the video

13         in 2000 Mules.

14                  A.        I don't know what you're

15         talking about.

16                  Q.        Okay.       Let me back up a minute.

17                            At some point in time you

18         became aware of the case that we're talking

19         about right now?

20                  A.        Right.

21                  Q•        The reason we're here?

22                  A.        Right.

23                  Q•        And is it your understanding

24         that in that -- in this case, Mr                        Andrews,

25         who is the plaintiff, makes an allegation


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1          about video shown of him in the film 2000

2          Mules?

3                   A.        We never identified him.                     I had

4          nothing to preserve.

5                   Q.        My question is:                You

6          understand, though, that at the heart of the

7          case is an allegation by Mr. Andrews about

8          videos shown of him during the 2000 Mules?

9                             That's the basis of the

10         lawsuit.

11                  A.        How would I even know who that

12         was?

13                  Q.        I'm not asking whether you knew

14         who he was or not.             I'm asking you:              Do you

15         understand that the lawsuit is based on an

16         allegation from Mr. Andrews concerning video

17         that he says of him was shown in 2000 Mules?

18                  A.        I -- I do now.                I don't know

19         how to answer your question.

20                            Did I know then?               I don't know.

21                  Q         No.     When did you -- right.

22                            You understand, though, as

23         we're sitting here today, that's what this

24         lawsuit is about?

25                            That's why I'm asking you


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1          questions.

2                   A.        Well, we had no editorial

3          control over what went in that movie.

4          Period.

5                   Q.        I understand that's your

6          position.

7                             But you understand that why

8          we're         you understand what the nature of

9          the allegation in the lawsuit that we're

10         talking about today is?

11                  A.        Until this exact moment, I

12         believe it's the first time Mark Andrews has

13         been mentioned at all.

14                  Q.        I guess I'm a little confused,

15         but let's back up a minute.

16                            You         you knew at some point

17         in time there was a lawsuit brought against

18         you by Mark Andrews?

19                  A.        Yes.

20                  Q.        And were        you -- and how did you

21         learn that?

22                  A.        I don't recall.

23                  Q.        Okay.       And are you aware that

24         prior to that time

25                  A.        I'm sure the AJC told us.


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1                   Q•        You don't remember?

2                   A.       I don't know.

3                   Q.       Prior to that time, were you

4          aware that there was a cease and desist

5          letter sent by Mr. Andrews' attorneys to you?

6                   A.        To -- to me about what?

7                   Q.       About video that was featured

8          in 2000 Mules about the -- the letter that

9          we're looking at right now.

10                  A.        The video -- you're -- you're

11         confused on your dates.

12                            The video was out in May.

13                  Q.       Right.

14                  A.        This seems to be dated in

15         October.

16                  Q.        That's right.

17                  A.       What is it you wanted me to do

18         about a video that I had no editorial control

19         over?

20                  Q.       My question is simply:                   Were

21         you aware that this letter was sent?

22                  A.       I -- I have no --

23                           MR. EVANS:           Objection; asked

24                  and answered.

25                  A.       I have no              no recollection of


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1          a letter.

2                             MR. EVANS:            To try to

3                   streamline, I think she's asking:                         You

4                   didn't delete any documents

5                             THE WITNESS:             No.

6                             MR. EVANS:           -- related to this

7                   case?

8                             THE WITNESS:             No.

9                             MR. EVANS:           Okay.

10         (BY MS. KUCK)

11                  Q.        I just want to make sure we all

12         understand what this case is.                      That's why I

13         was asking those questions.

14                            And we'll show one more video.

15                            MR. EVANS:            You need a break?

16                            THE WITNESS:             No, let's just do

17                  it.

18                            MS. KUCK:           Okay.

19         (BY MS. KUCK)

20                  Q.        There's -- if you look at

21         Exhibit 6 again, that's the interrogatories.

22                  A.        What page?

23                  Q.        24.

24                  A.        Okay.

25                  Q.        There's a reference there under


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1          Interrogatory No. 15 about an interview you

2          gave on CrossPolitic on July 28, 2023.

3                              Do you see that?

4                    A.        I do.

5                    Q.        And then you gave us an -- we

6          asked a question, which was:                      State all facts

7          about a statement you made during that, and

8          then there's your answer.

9                              We're going to just play a clip

10         from that interview, and then I have a couple

11         questions.         And I've marked this as

12         deposition exhibit                 Plaintiff's Deposition

13         Exhibit 2.

14                        (Discussion off the record.)

15                              (Video playing.)

16                  (Marked Plaintiff Exhibit No. 2A.)

17         (BY MS. KUCK)

18                   Q.        So in that interview you say

19         that you were interviewed for about 30 hours.

20         Is that accurate?

21                   A.        Probably exaggerated a little

22         bit.

23                   Q.        You think it was something less

24         than 30?

25                   A.        I really don't know.


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1                   Q.       All right.           And you say there

2          was a lot of left on the cutting room floor

3          that would have explained things.

4                            What -- what was left out of

5          the movie that you think would have explained

6          more?

7                   A.       It -- it's none of my business.

8                            We were -- we were -- we

9          contracted subcontracted to provide a handful

10         of videos, 70 videos, and the analysis on

11         in the case in Georgia's case 242 videos --

12         or 242 voters and provided that.

13                           What happened to it after that

14         is none of our -- it was out of our control.

15         We had no edit control.                We had no nothing.

16                           We didn't -- we didn't

17         manufacture documents.               We did not

18         manufacture graphics.               We didn't manufacture

19         any of it.

20                           We provided the data and what

21         happened happened.

22                  Q.       I understand that's your

23         position.

24                           What was it that was left on

25         the cutting room floor that you were


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1          referring to?

2                            MR. EVANS:           Objection; asked

3                    and answered.

4          (BY MS. KUCK)

5                    Q.       Can you tell me what you were

6          referring to as to what was left behind?

7                            MR. EVANS:           Objection; asked

8                    and answered.

9          (BY MS. KUCK)

10                   Q.       You can answer.

11                   A.      I can't give you a specific.

12         How about that?

13                           We know one thing now, that

14         there was at least one graphic that was made

15         up.      So the original was left on the cutting

16         room floor.

17                   Q.      And when you --

18                   A.      We know that, right?

19                   Q.      And you're talking about the

20         graphic showing the mule transporting ballots

21         around Atlanta?

22                   A.       No.    Well, that one, too, but,

23         no, I was referring to the -- the one -- the

24         Mark Davis graphic.

25                   Q.      Oh, the ballot.                Yes.


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1                   A.         That wasn't a ballot.

2                   Q•         Well, the -- I'm sorry, the

3          form.

4                   A.        Right.        The chain of custody

5          document.

6                   Q.        Right.

7                   A.         That's an example of what was

8          left on the cutting room floor, the original

9          document was left on the cutting room floor.

10                  Q.         All right.          And there was also

11         a graphic of an alleged ballot mule traveling

12         around Atlanta?

13                  A.         Uh-huh.

14                  Q.         That was also fabricated in the

15         movie?

16                  A.         Yes.

17                  Q•         Okay.      And the movie also

18         has --

19                  A.        It was a docudrama.

20                  Q.         The movie also has a map of

21         Russia in the film purporting to be Atlanta,

22         correct?

23                  A.        I understand that that

24         happened.         I have not -- have an independent

25         verification, but I do understand that


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1          happened.

2                   Q.       Okay.       And did you provide

3          graphics for use in the film?

4                   A.       We provided limited graphics.

5                            We provided the chain of

6          custody document in that one case and may

7          have provided a handful of others, but -- but

8          I don't think any of them made the movie.

9                   Q.       Okay.       The -- the graphic that

10         I was referring to about the ballot mule

11         traveling around Atlanta, you know what I'm

12         talking about?

13                  A.       I do.

14                  Q.       In the film you're interviewed

15         while that is shown?

16                  A.        That's not what happened.

17                  Q.       Okay.

18                  A.       We -- we --

19                  Q.        Tell me what happened.

20                  A.       During the interviews we were

21         in a studio and every screen in that studio

22         was a blue screen.

23                  Q.       Okay.

24                  A.       Meaning that everything was

25         inserted after the shoot.


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1                            So what I was responding to was

2          nothing.

3                   Q.       So when you talk about in the

4          film, though, the graphics showing something,

5          what were you looking at?

6                   A.       It was Dinesh                  you're taking

7          it all out of context.

8                   Q.       Okay.

9                   A.       But Dinesh's description to us

10         in the video -- or excuse me -- in the

11         interview --

12                  Q.       Right.

13                  A.       -- which may or may not have

14         made it on -- into the movie.

15                           I mean, let's just say for the

16         sake of this discussion they interviewed us

17         for 20 hours.        I think we were in there for

18         21 minutes or something.

19                           So you want to know what's

20         left, I mean, you're going to have to get

21         with Mr. D'Souza.           I don't know.

22                  Q.       Okay.       And your testimony is

23         that even -- that you did not see the

24         graphics as you were speaking in the film?

25                  A.        That's correct.


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1                   Q.        And am I correct that you told

2          Mr. Bump of The Wall Street Journal -- or of

3          The Washington Post that the movie graphics

4          are not literal interpretations of our data?

5                   A.        No.

6                   Q.        You didn't tell him that?

7                   A.        I've never talked to Bump

8          before.

9                   Q.        Did you say that in an e-mail?

10                  A.        He's a lying piece of shit.

11         I've never talked to him.

12                  Q.        Have    you e-mailed with him?

13                  A.        I've never talked to him.

14                  Q.        Okay.       Have      you ever e-mailed

15         with him?

16                  A.        I don't know.

17                  Q•        And you -- let's look at

18         TTV 008185.

19                            All right.            We'll mark this as

20         Deposition Exhibit 28.                 It bears Bates

21         Nos. TTV 008185 through 86.

22                            This appears to be a chain of

23         e-mails between you and Mr. Bump.

24                            Does this refresh your

25         recollection that you --


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1                   (Marked Plaintiff Exhibit No. 28.)

2                     A.     Don't remember it at all, but

3          it is on my e-mail.             So yeah.

4          (BY MS. KUCK)

5                     Q.     Okay.       But you have no

6          recollection of ever e-mailing with him?

7                     A.      No.

8                     Q.     And you say the second one

9          down, quote, The movie graphics are not

10         literal interpretations of our data.

11                    A.     Right.

12                    Q.     But you don't remember saying

13         that to him?

14                    A.      No.

15                    Q.      That statement is accurate,

16         though?

17                    A.      Yes.

18                    Q.     Okay.       And did you ever discuss

19         that issue with Mr. D'Souza?

20                    A.      No.     We were subcontractors

21         hired to provide some limited video and some

22         limited research.           They were the moviemakers.

23         We don't make movies.

24                           MS. KUCK:          Why don't we take a

25                    break and I'll see --


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1                            MR. EVANS:            Yeah.       I've got to

2                     do a restroom break myself, so --

3                             THE VIDEOGRAPHER:                All parties

4                    in agreement with going off the

5                     record, we're going off the record at

6                     3:37 p.m.

7                   (Break from 3:37 p.m. to 3:52 p.m.)

8                             THE VIDEOGRAPHER:                We are going

9                     back on the record at 3:52 p.m.

10         (BY MS. KUCK)

11                    Q.     Let's just -- since you have

12         Exhibit 6 in front of you, let's just finish

13         up the conversation about the CrossPolitic

14         interview.

15                    A.     Okay.

16                    Q.     And we'll go to Page 25.                     24

17         and 25, which is where that question is.

18                           And we asked in the

19         interrogatory about the statement you made

20         that, quote, There's a lot more to that story

21         than just what they published here.

22                    A.     Right.

23                    Q•     And then one of the things you

24         said in response is:              "Phillips further

25         states that he was referring to the fact that


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1          the complaint mischaracterizes certain key

2          facts regarding the TTV defendants' research

3          findings that were incorporated into the 2000

4          Mules film."

5                             Can you -- can you tell me what

6          facts you were referring to?

7                   A.       Well, I mean, I don't know

8          specifically, but I'll try.

9                   Q.       Okay.

10                  A.       I think I was specifically

11         referring to things like the -- the graphics

12         and things that we had put in there like

13         this -- the Moscow graphic.

14                           And I have to admit there was a

15         time when I first heard it, I thought, well,

16         that's kind of funny, Moscow mule.

17                           But, you know, in retrospect,

18         you know, a film that                  that should have

19         been, you know, a little more buttoned up in

20         terms of, you know, its accuracy and

21         precision, probably -- probably would have

22         done better with our graphics.

23                           But as I said, I mean, we --

24         that wasn't my job.             The -- the -- the people

25         making the movie -- excuse me.


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1                             THE WITNESS:            Oh, wonderful.

2                   That's perfect.

3                   A.        The people making the movie,

4          you know -- and, again, I don't know anything

5          about making movies.

6                            And so them taking our -- our

7          research and graphics and turning them into

8          something else seemed, you know                         I had done

9          my job.       Bottom line.

10                           And -- and I didn't feel like

11         it was in my place to -- to question them, to

12         question Dinesh and -- and Bruce.

13                           And they're a really great team

14         and -- but, you know, it just wasn't my job.

15         (BY MS. KUCK)

16                  Q.       Okay.

17                  A.       And so I think that's mostly

18         what I was referring to.                 I don't really

19         recall why I started talking about the

20         Philadelphia piece of it.

21                  Q.        Uh-huh.

22                  A.       And I don't really have any

23         opinion about why I said that.

24                  Q.       Okay.

25                  A.        There may have been something


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1          before that that made me think, Oh, well

2          we're talking about Philadelphia.                       But, you

3          know, most of the -- most of the -- the

4          graphics we created -- excuse me -- and

5          shared with them because Atlanta was first.

6                   Q.        Yeah.

7                   A.        There were more of those kind

8          of things that we could -- plus that -- the

9          one that I keep referring to, that chain of

10         custody document.

11                  Q•        Uh -huh.

12                  A.        You know, I think that the --

13         the -- the -- you know, kind of -- I didn't

14         read all the way through it, but I think Mark

15         Davis even says in there, you know, it would

16         have been better with the original document.

17                           And, again -- but the reason I

18         don't think I objected to any of it was just

19         simply I'm not a moviemaker.

20                           I don't know how you do this.

21                            You know, I don't know -- you

22         know, I don't know what their thought process

23         was to make this graphic or that graphic or

24         whatever.

25                            You know, my job as a -- as


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1          a -- as an analyst is -- is really built

2          around accuracy and precision.

3                             And so, you know, it's one of

4          the reasons I get frustrated with Philip

5          Bump, right, because I'm wanting to be

6          specific and accurate and let's talk about

7          the exact -- you know, nobody -- nobody make

8          anything up.         Let's talk about exactly what

9          happened.

10                            And I think probably some of my

11         frustration           well, certainly a few minutes

12         ago it boiled up, but -- but the frustration

13         that I feel about the whole thing was -- was

14         more just about, you know, my unlearned

15         belief that we would have been better with

16         precision and accuracy.

17                            Maybe           you know, maybe even

18         consulting with us to say, Hey, does this

19         represent kind of what you were thinking,

20         that kind of thing.

21                            But -- but, again, it -- it -

22         it wasn't my job.            It wasn't

23         Mrs. Engelbrecht's job.                  We were hired to do

24         something specific and we did it.

25                  Q.        When    you describe the


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1          interviews, you said, you know, you might

2          have been talking about a graphic but it

3          wasn't actually going on behind your head.

4                   A.        Uh-huh.

5                   Q.        What -- so what happened in

6          those interviews?

7                             You were sitting in a room that

8          was totally blank?

9                   A.        Yeah.

10                  Q.        Okay.

11                  A.        It was a studio.

12                  Q.        Right.

13                  A.        Dinesh's studio up in The

14         Woodlands.        And what happens -- and I didn't

15         know this either.            This is news to me.

16                  Q.        Yeah.

17                  A.        So like if -- like if -- if

18         they were shooting us in here and this was

19         part of a movie

20                  Q.        Uh-huh.

21                  A.        -- and there was ultimately

22         going to be something up on the screen

23                  Q.        Yeah.

24                  A.        -- that's added post

25         production.
     l_
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1                   Q.       Okay.

2                   A.       So all that's on the screens

3          are blue screens.

4                   Q.       Right.

5                   A.       And so you don't really see

6          anything you're talking about.                     You're

7          talking to air.         And -- and, you know, little

8          disconcerting because I had never been there

9          before and never done anything like that.

10                           But, you know, I mean, all in

11         all, you know, I think that -- that raising

12         the awareness of some of the election

13         challenges that America faces was still the

14         right thing to do.

15                  Q.       So you did those interviews in

16         Woodlands and then you went out to                          you

17         went out to California?

18                  A.        Yeah.      Yeah.

19                  Q.       And had more filming out there?

20                  A.       Well, a little bit more.

21         The -- the part of the movie where the

22         where the Salem hosts --

23                  Q.        Uh -huh.

24                  A.       -- are -- are sitting around --

25                  Q•        Yeah.      Yeah.


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1                   A.       -- that was filmed in

2          California.       And we were originally not

3          scheduled to be part of that.                    Actually, we

4          were originally not even scheduled to be part

5          of any of it.

6                            And then kind of at the last

7          minute, I think -- I think they realized, you

8          know, they needed maybe a little bit more of

9          our awareness of the topics or something.

10         I'm not -- I'm not sure.                 Dinesh could --

11         could share with that.

12                           But -- but then when the --

13         the       the second day of filming -- that's

14         not quite true.         The next morning -- so there

15         was a day of filming.

16                  Q.        Uh-huh.

17                  A.       We got there in the morning and

18         left at night.

19                  Q.       In California or?

20                  A.       Here.

21                  Q.       Here.       Okay.

22                  A.       And then the next morning there

23         was like a half a day

24                  Q.        Uh-huh.

25                  A.       -- where it was just shooting


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1          B-roll, you know, like us walking in and out

2          of the room.

3                   Q.       Right.

4                   A.       And just, you know, standing in

5          the parking lot.           And I think there was just

6          a lot of -- a lot of shoots going on.

7                            And I -- I don't think -- I

8          think it was after -- and Ms. Engelbrecht

9          maybe can answer this tomorrow.                     I just don't

10         recall.

11                           But I think we were -- we

12         weren't even invited to come to California

13         until the          which was like two days after

14                  Q         Uh-huh.

15                  A.       -- that B-roll shoot.

16                  Q         Yep.

17                  A.       I don't think we were invited

18         until the B-roll day, and it was just to come

19         and provide information.                 It wasn't to be on

20         camera.

21                  Q.       Okay.

22                  A.       And then when we got there and

23         they kind of set the thing up, I think they

24         realized that -- that the host really needed

25         more -- more detail.


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1                             And so we kind of sat around

2          a -- you know, wasn't quite like this.

3                             It was like in a -- in an empty

4          hotel bar that they cleaned out to make a

5          little studio.          And -- and -- and then we

6          talked for a few minutes, some of which got

7          in the movie.

8                   Q.        Uh -huh.

9                   A.        I don't know if we were -- I

10         don't know if our part was in the movie.                            I

11         know the host part was in the movie.

12                  Q.        The host part was in there.

13                  A.        Yeah, but I don't know if our

14         part was.

15                            But we came in and just kind of

16         briefed them a little bit.

17                  Q.        Yep.

18                  A.        And then             and then left.             And

19         that was it.

20                  Q.        Okay.

21                  A.        So we didn't have any more

22         any more really involvement after that.

23                  Q.        Okay.       We talked earlier

24         about --

25                       (Discussion off the record.)


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1           (BY MS. KUCK)

2                      Q.       We talked earlier about family

3           members dropping off ballots for other family

4           members.

5                      A.       Yes.

6                      Q.       And then we talked about the

7           issue of assisters.

8                               Is it your testimony that your

9           understanding is that in Georgia, for a

10          family member to drop off another family

11          member's ballot, they must file an assister

12          certificate?

13                              MR. EVANS:            Objection; asked

14                     and answered.

15                     A.       Yes.

16          (BY MS. KUCK)

17                     Q.       And what is that understanding

18          based on?

19                              MR. EVANS:            Objection; asked

20                     and   answered.

21                     A.       The law.

22          (BY MS. KUCK)

23                     Q.       Your understanding of the law,

24          as   you    read   it,    or   someone        gave    you    an

25          understanding?
                                                                                           I
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1                            MR. EVANS:           Objection; asked

2                   and answered.

3          (BY MS. KUCK)

4                   Q.       Let me            let me rephrase that.

5          I don't think this has been asked.

6                            Did you get legal advice on

7          that question from a lawyer?

8                   A.        No.     This was widely known that

9          assister signatures are needed.                     The law is

10         very clear if you don't have them it's not

11         only a felony but $100,000 fine, ten years in

12         prison and $100,000 fine.

13                  Q.       Even if you're dropping off a

14         ballot of a family member in your household?

15                           MR. EVANS:           Objection; asked

16                  and answered.

17                            This is at least the third

18                  time.

19         (BY MS. KUCK)

20                  Q.        You can answer.

21                  A.        Yes.

22                           It's my belief then and it is

23         my belief today.

24                  Q.       I think that that's all I have.

25         I believe Ms. Hyland may have a few


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1          questions.

2                             MS. HYLAND:            Yes.

3                        (Discussion off the record.)

4                            EXAMINATION

5          BY MS. HYLAND:

6                   Q.        I just have

7                             MS. KUCK:           Yeah.      I'm going to

8                   take mine off.

9                             MS. HYLAND:            Yeah.

10                            THE WITNESS:             And do I need

11                  my -- these documents?

12                            MS. HYLAND:            I would keep them

13                  there.      I'm not planning on going back

14                  to them.

15                            THE WITNESS:             Okay.        Good.

16                            MS. HYLAND:            Yeah.         Don't need

17                  to worry about that.

18         (BY MS. HYLAND)

19                  Q.        So I just want to revisit a few

20         of the things that you talked about earlier

21         today.        And I -- I think it's like ten

22         minutes, really quick.

23                            I wanted to go back                  to   your

24         initial first meeting with Mr. and Mrs.

25         D'Souza.


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1                             I think you said it was at

2          their home.        Is that right?

3                   A.        I think so, yes.

4                   Q.        Do you remember roughly when

5          that occurred?          Season and year, kind of..

6                   A.        I -- I'm going to say the

7          summer of 2021.          Maybe late summer, like

8          August or something.

9                   Q.        And what was your understanding

10         of the purpose of that meeting?

11                  A.         To share -- we -- we -- the

12         reason we did the research -- or the reason

13         we did all of this in the first place was we

14         wanted -- we wanted -- we wanted -- you know,

15         every -- I say everybody.

16                            Many, many, many millions of

17         Americans believed something was wrong,

18         right.        And -- and we believed we had at

19         least part of a key to maybe what had gone

20         wrong.

21                            And -- and our initial

22         desires           and I took it to the FBI on

23         March 25.         And then I took it to Governor

24         Kemp and all of his team a month or so after.

25                            And all through that summer,


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1          all that we really wanted was for law

2          enforcement or someone of competent

3          jurisdiction to pick this stuff up and review

4          it and say, Hey, yeah, that -- you know, they

5          may be, right.

6                             But, you know, we kept getting

7          pushed off and shoved aside and told, you

8          know, we          it didn't meet some, you know,

9          standard or something like that.

10                            But all the while, you know,

11         the -- the -- the FBI was sort of encouraging

12         us.      They were encouraging us to give them

13         the data and to let them share the data with

14         their people.

15         (BY MS. HYLAND)

16                  Q•        Who is "them"?

17                  A.        I'm sorry?

18                  Q•        The FBI was encouraging you to

19         share the data with -

20                  A.        With the FBI.

21                  Q.        With the FBI.

22                  A.        I'm sorry.          I'm sorry.          Yeah,

23         that was confusing.

24                            And -- and all that we really

25         wanted, we never -- truth be told, we never


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1          would have gone to Dinesh.                   We never would

2          have gone to anyone.

3                            We didn't know anything about

4          making movies.         But -- when we sort of in

5          exasperation, like, okay.                  Well, we'll

6          just -- we'll -- we'll -- Catherine is like,

7          well, I know Debbie.              And, you know, that's

8          the way the thing kind of unfolded.

9                            And there may have been

10         other -- you know, Catherine may have had --

11         or Ms. Engelbrecht may have had, you know,

12         other conversations with other people about

13         it all, you know, or them or further or

14         something.

15                           But I think we jointly -- I'll

16         speak for me.

17                           I believed at that point that

18         it was the best opportunity to get all of

19         this information out so that the people could

20         decide.

21                           It was still our hope even --

22         even as the -- even as the movie came out

23         that you know somebody, some -- some law

24         enforcement officer somewhere would pick this

25         thing up.


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1                            And -- and while we had a lot

2          of -- you know, a lot of invites to come

3          speak at this or talk to that or, you know,

4          talk to sheriffs or this or that or the

5          other, you know, it just -- it just never

6          really came to pass.

7                            And then we had -- you know,

8          then from there it was just -- just, you

9          know, total chaos.            I mean, I was sick.

10                           And Catherine -- Catherine got

11         poisoned.

12                           And -- and just everything that

13         happened in those sort of that -- that --

14         that weird six-month period between the

15         movie's release and, you know, say,

16         Thanksgiving was just total chaos.

17                           But the only other thing -- I'm

18         sure Jake is going to not be super happy

19         about me blathering on.

20                           But I believe that the movie

21         for      for all of the challenges, for all of

22         the       you know, my frustration about the

23         graphics and not accepting just my videos or,

24         you know, or -- or the work that we had done,

25         I believe in the end -- and -- and it's


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1          because people come up and talk to me about

2          it.

3                             The reason I believe -- and I

4          know that's a little anecdotal.

5                            But I believe in the end that

6          the movie served its purpose, that it gave

7          those that were willing to listen an

8          opportunity to say, Hey, you know what, I

9          think something was wrong.

10                           And in the end, that -- that I

11         think is -- is all that I wanted.

12                           And y'all can ask Catherine

13         tomorrow, but -- or Ms. Engelbrecht tomorrow,

14         but I think that we -- I think that we

15         accomplished that goal, you know, were

16         there -- were there things -- again, things I

17         didn't care for?          Sure.

18                            You know, this -- this Russia

19         thing and, you know, graphics that weren't

20         right or chain of custody documents that were

21         changed.

22                           But -- but as you see in my --

23         my note with Mark Davis, you know, I think

24         the lawyers make all these decisions.

25                           And the reason I even said


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1          that, in reference that the pixilation of the

2          dog, none of us had ever seen the movie at

3          that point that, you know, fully -- whatever

4          you call it -- produced.

5                            And so -- and so in this room

6          with -- I don't know how many people were at

7          the premiere.        I'm going to say 500.                  I have

8          no idea.      The entire room was full, I know

9          that.

10                           But when that picture of that

11         pixilated -- that video of that pixilated dog

12         came up, I mean, people absolutely burst out

13         laughing about it.

14                           And, you know, not that -- and

15         then when you think about it, it's like oh, I

16         guess they had to do that.                   I'm not sure.

17                           But I'm sure there were a

18         zillion of those things that lawyers made

19         decisions on or that Dinesh and Bruce made

20         decisions on that we don't know anything

21         about.

22                           But in the end, the movie

23         served my personal hope and -- and aspiration

24         that -- that it would give Americans willing

25         to listen an opportunity to hear it.


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1                             MS. HYLAND:            Okay.         Well, I may

2                   have to retract my ten minutes.                        I may

3                   go a little bit longer.

4          (BY MS. HYLAND)

5                   Q.        And I'm going to go back to

6          the -- the meeting at Mr. D'Souza's home.

7                             Who all was in attendance at

8          that that meeting?

9                   A.        Mr. D'Souza, Mrs. D'Souza,

10         Mrs. Engelbrecht, and me.

11                  Q•        And nobody else?

12                  A.        Right.

13                  Q•        And what was your role in that

14         meeting, from your understanding?

15                            Why did you think               you were

16         there?

17                  A.        Well, just to be able to

18         answer, you know, what I ended up doing,

19         right.

20                            Answer technical questions.

21                            Maybe show them some of the

22         research, you know, and some of the -- I

23         don't know if we had video then or not.

24                            But it was just kind of be a

25         support for Mrs. Engelbrecht.


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1                   Q.       And -- and you said show them

2          some of the research.

3                            Did you bring any of your

4          research with you to that meeting?

5                   A.       I don't really remember.

6                   Q.       Do you remember making any kind

7          of presentation or doing any kind of showing

8          of data at the meeting?

9                   A.       I don't, but we may have.                    I

10         just don't remember.

11                  Q.       When the meeting was over, was

12         there any consensus on what was going to

13         happen next?

14                  A.        Not that involved me.                 I mean,

15         I think there was a lot of other discussions.

16         They still had to -- you know, I don't

17         know -- whatever the business of making a

18         movie happen happen.

19                            That still had to happen.

20         And -- and so there were several months

21         before we got together with them again.

22                  Q.       And the data and analytics that

23         ultimately -- the geotracking and -- and all

24         of that, that data that went into the film,

25         had that already been done by the time you


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1          had this meeting with the Dinesh -- with

2          Dinesh D'Souza or Debbie D'Souza or was the

3          research and analytics process on that data

4          ongoing after you had started talking about

5          doing a film?

6                   A.       Much of it was done.                  I think

7          Georgia was done for sure.                   I think that

8          possibly Arizona was done.

9                            But I just -- I don't -- I

10         don't recall, because a lot of it went on and

11         we were starting to get a video in and things

12         like that.

13                           So there was -- it was -- the

14         geospatial side, while it may have been

15         happening or           or been completed, I -- I

16         don't remember.         We still would have had to

17         have looked at all the video from all the

18         states.

19                  Q.       But -- and so when you had that

20         meeting in the summer of 2022, you had

21         already started collecting video as well?

22                  A.       We would have asked for it.                     I

23         don't know if any of it had come in yet.

24                  Q•       And when you asked for it, was

25         that open records request?


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1                   A.        Yes.

2                   Q.       Okay.       And I think you had

3          mentioned about 242 videos where you were

4          able to link the video to the data that

5          you --

6                   A.       Seventy videos of 242 people.

7                   Q.       242 people, 70 videos.                   Okay.

8                   A.        Uh-huh.        In Atlanta.

9                   Q.       Specifically in Atlanta?

10                  A.        Uh-huh.

11                  Q.       And -- and I think you also

12         mentioned -- and I've seen an e-mail -- where

13         Ms. D'Souza had wanted a thousand videos.

14                  A.        Yeah.      I think that was much

15         later in the thing, and that was related, as

16         we understood it, to a -- their desire to

17         create some kind of a -- like a -- I don't

18         know what you call it.               Like a --

19                  Q.       Collage?

20                  A.       Collage.          Thank you.

21                  Q.       And -- and was your                    you

22         know, was OpSec and its contractors able to

23         find a thousand videos for Ms. D'Souza?

24                           Did that actually happen?

25                  A.        No, I don't think so.                 I think


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1          what happened was they didn't realize that

2          what we had given them actually had 70 of

3          them in there.

4                            And I don't -- I -- I know it

5          was way out of the scope and we encouraged

6          them to make do with what they had.                        I don't

7          know if we ever actually gave them anything

8          new or not.       We may have.             I don't -- I don't

9          recall.

10                  Q.       And do you know if the video

11         containing the image of Mr. Andrews would

12         have been in the videos they already had?

13                  A.        No, because we didn't get -- we

14         didn't get Gwinnett video until way late in

15         the game.

16                  Q.       Okay.       And I think you

17         mentioned earlier that you actually objected

18         to using additional videos.                      I'm not sure if

19         you meant that literally or more

20         colloquially.

21                           Did you actually put something

22         in writing that you objected to the use of

23         any additional videos?

24                  A.       I don't think so.                 In part,

25         again, because it just wasn't what we were


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1          hired to do.        I was hired to give them some

2          video, give them some research, and that was

3          it.

4                            So I -- I wouldn't have been

5          comfortable, nor believed it in my scope of

6          my little subcontract, to -- to question

7          someone like Dinesh.

8                   Q.       And do you remember having any

9          specific concerns about the video containing

10         Mr. Andrews' image?

11                           Obviously you didn't know it

12         was Mr. Andrews at the time but...

13                  A.       I -- I don't because, you know,

14         again, I mean, the -- the -- the definition

15         of the mules for the movie's purpose was

16         different than sort of -- you know, I'll just

17         said those are mules with a big M.

18                           And the mules for, you know, a

19         normal purpose, not tied to the geospatial

20         analysis, would have been more related to

21         something else that made it inappropriate or

22         improper to          to -- for those ballots to

23         be -- to be pushed into the                      into there.

24                  Q.       And do you remember any

25         discussion happening with anyone around that


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1          particular video footage in terms of why it

2          was chosen or why it went in the film or if

3          somebody thought it shouldn't go in the film?

4                            Was there any attention paid to

5          that?

6                   A.        No, but I don't think it would

7          have been -- I think in hindsight probably

8          what they were trying to do on that

9          particular camera, that -- that took that

10         identify video at the -- at the -- what I

11         call Gwinnett Central Count -- I don't think

12         that's the official name of the building, but

13         that video at Central Count -- I'm sorry --

14         that camera at Central Count, we knew about

15         it and its resolution was much better than --

16         than a lot of others.

17                           And we knew that because we had

18         watched the full 25 hours of video from -- on

19         that Gwinnett anomaly from that same camera

20         the previous Sunday.

21                           So from Sunday morning to

22         Monday morning we watched the full 25 hours.

23         But, believe me, that's a mind-numbing

24         process because you can't really speed it up.

25         You really have to sit there and wait for


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1          somebody new to come.

2                            But we knew that that -- that

3          that setup -- and I don't know -- there at

4          at Gwinnett was a really good setup.

5                             And in retrospect I think

6          probably what they were looking for in that

7          collage was a -- was a clearer set of video.

8                             And I think -- I don't know if

9          that's a 4G camera or not, but it was pretty

10         darn clear.

11                            And so my -- my suspicion is

12         that, you know, now looking back at it,

13         that -- that, you know, that -- that -- that

14         had -- you know, that video had emerged and,

15         you know          and it -- and it would have fit

16         well into a collage.

17                            You know, been pretty and nice

18         and you wouldn't be able to see it, you know,

19         because it was too far out.

20                            How it went from there had

21         nothing to do with us.

22                            And how it got into a bigger --

23         you know, bigger one second or three seconds,

24         whatever that was in the movie.

25                            And, you know, I -- just think


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1          that -- I just think that -- that's just my

2          opinion.      I don't know.

3                   Q.       I'm still trying to understand,

4          though, how we get from -- I know there's an

5          open records request at some point for the

6          footage from that particular camera.

7                   A.        Uh-huh.

8                   Q.       And then eventually this clip

9          of Mr. Andrews goes into the film

10                  A.        Yeah.      We're not -

11                  Q.       -- how it made it from -- like

12         what -- what was the path?

13                  A.       We're not sure either.                   We

14         didn't -- we didn't identify the film at all.

15         Mark -- no, there's somebody else.

16                           Some other person made a

17         complaint to the state board of elections.

18         And you --

19                  Q.       Is that David Cross?

20                  A.       David Cross.             I'm sorry.           Thank

21         you.

22                           David Cross made a complaint to

23         the state board of elections and -- and I

24         believe used that video                    they used that

25         video.


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1                            And, in fact, the first time

2          that Mark -- as far as I'm aware, the first

3          time Mark Andrews -- and I wouldn't know who

4          he is if he walked in here -- that was the --

5          the State themselves were the people who

6          outed Mark Andrews.

7                            It wasn't -- it wasn't us.

8                            It wasn't Dinesh.

9                            It wasn't -- it wasn't anyone.

10                           It was the State.                And they

11         said they did it in the name of trying to,

12         you know, prove all this thing up.

13                           And -- you know, and then, you

14         know, what happened from there, you know, I

15         don't know.

16                  Q.       And you don't know Mr. Cross?

17                  A.       I don't.

18                  Q.       Have you ever spoken with him?

19                  A.       Probably have once or twice,

20         but back then when we were doing the movie,

21         everybody wanted to talk to us.                     And so I --

22         I'm just not really like that kind of people

23         person so I wouldn't remember.

24                  Q.       Okay.       And -- but you don't

25         know who, either on your team or on the


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1          D'Souza media team, was actually tasked with

2          choosing the video?

3                   A.       I don't.

4                   Q.       Okay.

5                   A.       I'd be shocked if it was

6          someone on our team because we got it so

7          late.

8                            My guess is that we -- once it

9          started going around on social media and the

10         whole thing with the Georgia SBOE came about

11         and all of that in that -- the video became a

12         little more -- a little more popular, I think

13         people probably just thought, Well, the State

14         is the one who outed this guy.                     I mean, this

15         is not -- this isn't our problem.

16                            We wouldn't have done that, but

17         I'm -- I bet you that something like that

18         happened and that's how it emerged.                        But I

19         have          I mean, we wouldn't have done it just

20         because we wouldn't have gone through the

21         video.

22                           As far as I'm aware, the only

23         Gwinnett video we went through was the

24         25 hours the Sunday before to the -- Sunday

25         morning to Monday morning.                   We watched that


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1          entire 25-hour thing.

2                             There is some other stuff on

3          the end of that video of inside Central Count

4          that we became aware of way after the movie.

5          In other words, they gave us a disk with all

6          the video on it.

7                            And then that -- that Central

8          Count thing was on there.                  And as far as I'm

9          aware, that's the only time we went back in

10         to look and see, was that really there?

11                           And it was, but we didn't do

12         anything with the -- with it or have never

13         even looked at it again.

14                  Q.       Okay.       My last question:               Have

15         you ever reached out to any journalists or

16         any member of the media in order to try to

17         get any kind of coverage or story about Mark

18         Andrews?

19                  A.       About Mark Andrews?

20                  Q.        Uh-huh.

21                  A.        No.

22                  Q.       Okay.

23                  A.       I don't -- I don't know Mark

24         Andrews.      I wouldn't -- I wouldn't have done

25         that.


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1                    Q         All right.

2                              MS. HYLAND:           That's all I've

3                    got.

4                              MS. KUCK:         Okay.       I just have a

5                    couple follow-up.

6                         (Discussion off the record.)

7                              MS. KUCK:         Okay.       Just a couple

8                    questions.       And before I ask those, I

9                    just want to clarify one thing on the

10                   record.

11                             We showed a clip from

12                   CrossPolitic that we have designated

13                   as Exhibit 2A.           The full interview

14                   will be Exhibit 2.

15                             And I just want to clarify that

16                   on the record.           And we'll provide both

17                   of those to the court reporter and to

18                   the -- to other counsel.

19                  (Marked Plaintiff Exhibit No. 2.)

20                  FURTHER             EXAMINATION

21         BY MS. KUCK:

22                   Q.        Mr. Phillips, can you tell me

23         how many of the videos that actually appeared

24         in the film were of the people in the

25         original 70 who were linked with the


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1          geospatial location data?

2                   A.        I couldn't.             I would say a

3          handful, maybe.

4                   Q.        And your testimony is that

5          Mr. D'Souza was aware that the second batch

6          of video that you provided were videos that

7          had not been geospatially linked?

8                   A.        I don't know if Mr. D'Souza

9          had.

10                  Q.        Okay.

11                  A.        But Mrs. Engelbrecht's

12         communication with Mrs. D'Souza indicated

13         that pretty clearly.

14                  Q.        Okay.

15                  A.        And then my intervening

16         response saying, This is way out of context,

17         guys.

18                  Q.        And what do            you mean it was

19         "way out of context"?

20                            MR. EVANS:            Scope.          I think    you

21                  mean scope.

22                  A.        Scope.         Scope.          Not context.

23         Sorry.        Scope.

24         (BY MS. KUCK)

25                  Q.        You mean scope meaning your


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1          contract scope?

2                            What did you mean by "scope"?

3                    A.      Scope of what we were called to

4          provide for the movie.               We were called to

5          provide a limited set of video and a set of

6          our -- some of our analysis.                     And that was

7          it.

8                    Q•      Okay.       Because Mr. Cross's

9          complaint just came up, I just want to show

10         you -- I'm going to mark it as Plaintiff's

11         Deposition Exhibit 29.               I would just want to

12         have you take a look at the complaint that he

13         filed that you referred to.

14                   A.       Yes, ma'am.

15                   Q•      So what I'm marking is

16         TTV 008228 through 008284.                   And -- and the

17         page I'm going to refer you to is 8233.

18                  (Marked Plaintiff Exhibit No. 29.)

19                   A.      8233?

20         (BY MS. KUCK)

21                   Q.       Yeah.

22                   A.      Okay.

23                   Q.      Okay.       And do you see that

24         that's Mr. Cross's complaint there?

25                   A.      I do.


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1                   Q.        All right.            And the second

2          bullet in the complaint, he says, quote, A

3          private investigative organization, True the

4          Vote, purchased billions of cell phone pings

5          and they identified this individual

6          underlined --

7                   A.        That's false.

8                   Q.        Let me finish.                And that's

9          going to be my question.

10                            -- by tracking his cell phone

11         pings to multiple ballot drop boxes.

12                  A.        That's false.

13                  Q•        Okay.       And where would he have

14         gotten that idea?

15                  A.        No idea.          Not from me.

16                  Q.        And do you know any                     do you

17         know of anyone who -- well, did you have any

18         conversations with Mrs. -- Ms. Engelbrecht

19         about his complaint, Mr. Cross's complaint?

20                  A.        We may have had some at some

21         point.        I don't recall.           I mean, this was --

22         these were not our complaints, so

23                  Q•        Right.

24                  A.        -- we weren't interested in

25         these.


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1                             We were interested in ours.

2                             They never acted on ours.

3                             They acted on this.

4                   Q•        But the -- the statement in

5          there is          is a statement about your

6          research, and that's why I'm asking whether

7          or not -

8                   A.        I'm saying it's categorically

9          false.

10                            MR. EVANS:           Objection;

11                  misstates -- hold on.                    Hold on.

12                            MS. KUCK:           Okay.

13                            MR. EVANS:           Objection;

14                  misstates testimony.                    Assumes facts

15                  not in evidence.

16         (BY MS. KUCK)

17                  Q.        Okay.       Just to clear it up from

18         the objection, are                 Mr. Phillips, we're in

19         agreement that the second bullet point on

20         8233 is false?

21                  A.        Yes.

22                  Q.        Okay.       And are you aware of

23         anyone reaching out to Mr. Cross to tell him

24         that was false?

25                  A.        Well, I -- we would had to have


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1          known about it to -- to do it.                     It wasn't us.

2          We had no knowledge.

3                   Q.       Right.        But you had his

4          complaint?

5                   A.       How?

6                   Q.       Well, if you look at the cover

7          page of this exhibit -

8                   A.        Uh -huh.

9                   Q•       -- and you also reference it in

10         your interrogatories -- there was a request

11         made by TTV for the complaint?

12                  A.        That's an open records request.

13                  Q.       Right.

14                  A.       Right.        But we had no knowledge

15         of it when he submitted it.

16                  Q.        You -- right.             But you had

17         knowledge of it at -- as of May 26, 2022.

18                  A.        Yeah.      What we were to have

19         done about that?           It's not our complaint.                  We

20         had our own complaints we were hoping them to

21         act -- they would act on.

22                  Q.       But my question is:                   Did anyone

23         straighten Mr. Cross out so that he knew that

24         he was making a false

25                  A.       I didn't -- I didn't -


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1                   Q.       Wait.       Can I finish?             Let me

2          finish my question.

3                   A.        Yeah.      Sorry.

4                   Q.       Did anyone straighten out

5          Mr. Cross so that he was aware he had been

6          making a false statement to the SEB in

7          Georgia?

8                   A.       I believe Ms. Engelbrecht did,

9          but you would have to ask her.

10                  Q.       Okay.       And you believe she told

11         him that he had misrepresented your research?

12                  A.        Yes.

13                  Q.       Okay.       Do you know where

14         Mr. Cross got the video?

15                  A.       I assume open records.                   That's

16         the only -- or that's the only way I think he

17         can get it.

18                  Q.       It's possible he got it from

19         TTV?

20                  A.        No.

21                  Q.       Why?

22                  A.       Because            well, two things.

23                            First is he apparently had it

24         before we did -

25                  Q.       Okay.


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1                   A.       -- number one.

2                             Number two, we had been, I want

3          to say, sequestered.              Mr. Schooley made it

4          abundantly clear that we were to sequester

5          all video and -- and nothing could be given

6          to anyone except for -- except for them until

7          the movie was out and then I think a year

8          afterwards or something like that.

9                   Q.       Although we looked at your

10         interview on Charlie Kirk -

11                  A.       We didn't -

12                  Q.       -- which was April --

13                  A.       We didn't give Charlie a video.

14                  Q.       Which was on April 8?

15                  A.        Yeah.

16                  Q.       And you don't know where he got

17         it either?

18                  A.        No, I don't.

19                  Q.       Okay.       And is it your testimony

20         that you didn't know what video he was going

21         to be showing you until you showed up for the

22         interview?

23                  A.        That's correct.               We thought it

24         was going to be a radio interview.                       Look at

25         how we're dressed.            We were pretty rough.


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1                    Q.        And it's        your testimony that

2          after     the -- well, strike               that.

3                              And    did    you     have any

4          conversations with              him, then, about, you

5          know, where       did     you    get this video?

6                    A.        No.

7                    Q.        Okay.

8                              MS. KUCK:           Okay.        I have

9                    nothing further.

10                             MR. EVANS:            All right.

11                             MS. KUCK:           Thank       you,

12                   Mr. Phillips.

13                             THE    WITNESS:              Thank    you.

14                   Again, I apologize about my outburst

15                   earlier to everybody.

16                             THE    VIDEOGRAPHER:                 All parties

17                   in agreement with going off the

18                   record, this concludes the deposition

19                   of Gregg Phillips on                   Tuesday,

20                   September 17, 2024.

21                             We're going off the record at

22                   4:29 p.m.

23            (The    deposition concluded at 4:29 p.m.)

24

25


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1                  WITNESS CORRECTIONS AND SIGNATURE
2               Please indicate changes on this sheet
          of paper, giving the change, page number,
3         line number and reason for the change.
          Please sign each page of changes.
4
          PAGE/LINE          CORRECTION           REASON FOR CHANGE
5

6

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22

23

24                     GREGG PHILLIPS
25


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1               SIGNATURE                       OF           WITNESS
2
3                   I, GREGG PHILLIPS, solemnly swear or
4          affirm under the pains and penalties of
5          perjury that the foregoing pages contain a
6          true and correct transcript of the testimony
7          given by me at the time and place stated with
8          the corrections, if any, and the reasons
9          therefor noted on the foregoing correction
10         page(s) , and that I am signing this before a
11         Notary Public.
12


13                           GREGG PHILLIPS
14         STATE OF                             *

           COUNTY OF                            *

15
16                            SUBSCRIBED AND SWORN TO BEFORE
           ME BY GREGG PHILLIPS on this, the                                day
17         of            , 2024.
18


19                                 Notary Public, State of
20
           My Commission Expires:
21
22
23
           Job NY 6909303
24
25


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1                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
2                              ATLANTA DIVISION
3       MARK ANDREWS,


4        Plaintiff,
                                               Case No.
5       V.                                I    1:22-cv-04259-SDG


6       DINESH D'SOUZA, et
        al.,
7
         Defendants.
8


9            THE STATE OF
             COUNTY     OF
10
11                    I, MENDY A. SCHNEIDER, a Certified
12           Shorthand Reporter in and for the State of
13           Texas, do hereby certify that the facts as
14           stated by me in the caption hereto are true;
15           that the above and foregoing answers of the
16           witness, GREGG PHILLIPS, to the
17           interrogatories as indicated were made before
18           me by the said witness after being first duly
19           sworn to testify the truth, and same were
20           reduced to typewriting under my direction;
21           that the above and foregoing deposition as
22           set forth in typewriting is a full, true, and
23           correct transcript of the proceedings had at
24           the time of taking of said deposition.
25                    I further certify that I am not, in any


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1          capacity, a regular employee of the party in

2          whose behalf this deposition is taken, nor in

3          the regular employ of this attorney; and I

4          certify that I am not interested in the

5          cause, nor of kin or counsel to either of the

6          parties.

7                            That the amount of time used by

8          each party at the deposition is as follows:

9                   MS. KUCK - 04:13:20

10                  MS. HYLAND - 00:18:42

11

12

                    GIVEN UNDER MY HAND AND SEAL OF OFFICE,

13         on this, the 27th of September, 2024.

14
                                     Wilk Opt?               tit ilLad 1 4 "


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                                   MENDY A. SCHNEIDER, CSR, RPR

16                                 Certification No.:                  7761

                                   Expiration Date:                 1-31-2025

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                                  Veritext Legal Solutions
     212-267-6868                   www.veritext.com                           516-608-2400
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                    Federal Rules of Civil Procedure

                                     Rule 30




       (e)   Review By the Witness; Changes.

       (1)   Review; Statement of Changes. On request by the

       deponent or a party before the deposition is

       completed, the deponent must be allowed 30 days

       after being notified by the officer that the

       transcript or recording        is available       in which:

       (A)   to review    the transcript or recording; and

       (B)   if there are changes in form or substance, to

       sign a statement listing the changes and the

       reasons for making them.

       (2)   Changes Indicated in the        Officer's Certificate.

       The officer must note in the certificate prescribed

       by Rule 30(f) (1) whether a review was requested

       and, if so, must attach any changes the deponent

       makes during the 30-day period.




       DISCLAIMER:       THE FOREGOING FEDERAL PROCEDURE RULES

       ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

       THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

       2019.   PLEASE REFER TO THE APPLICABLE FEDERAL RULES

       OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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                    VERITEXT LEGAL SOLUTIONS


        COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

  Veritext Legal Solutions represents that the

  foregoing transcript is a true, correct and complete

  transcript of the colloquies, questions and answers

  as submitted by the court reporter. Veritext Legal

  Solutions further represents that the attached

  exhibits, if any, are true, correct and complete

  documents as submitted by the court reporter and/or

  attorneys in relation to this deposition and that

  the documents were processed in accordance with

  our litigation support and production standards.


  Veritext Legal Solutions is committed to maintaining

  the confidentiality of client and witness information,

  in accordance with the regulations promulgated under

  the Health Insurance Portability and Accountability

  Act (HIPAA), as amended with respect to protected

  health information and the Gramm-Leach-Bliley Act, as

  amended, with respect to Personally Identifiable

  Information (PII). Physical transcripts and exhibits

  are managed under strict facility and personnel access

  controls. Electronic files of documents are stored

  in encrypted form and are transmitted in an encrypted
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  fashion to authenticated parties who are permitted to

  access the material. Our data is hosted in a Tier 4

  SSAE 16 certified facility.


  Veritext Legal Solutions complies with all federal and

  State regulations with respect to the provision of

  court reporting services, and maintains its neutrality

  and independence regardless of relationship or the

  financial outcome of any litigation. Veritext requires

  adherence to the foregoing professional and ethical

  standards from all of its subcontractors in their

  independent contractor agreements.



  Inquiries about Veritext Legal Solutions'

  confidentiality and security policies and practices

  should be directed to Veritext's Client Services

  Associates indicated on the cover of this document or

  at www.veritext.com.
